Case 2:11-cr-00070-RAJ Document 427-16 Filed 09/08/16 Page 1 of 41




                                                                      DEFENDANT'S
                                                                          EXHIBIT



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                                                         A                                                 8                                                    c
1    Name                                                                        Accessed                                             Modified
2    e1db71ea-4ce6-4d8d·ad66-7897e47bf86b_S·1·5-18 5.rslc                        8/1/2014 9:48:46 PM {2014-08-01 21:48:46 UTC)        8/1/2014 9:48:46 PM (2014-08-Ql 21:48:46 UTC}
3    Configurations.xml                                                          8/1/2014 9:48:46 PM {2014-o8-0l 21;48:46 UTC)        8/l/2014 9:48:46 PM (2014-08..()121:48:46 UTC.I
4    e1db7lea-4ce6-4d8d-ad66-7897e47bf86b_S-l-5·18 l .rslc                       8/1/2014 9:48:46 PM (2014..()8.()1 21:48:46 UTC)     8/1/2014 9:48:46 PM {2014-08-01 21~48:46 UTC)
s    StateData                                                                   7/14/2014 U:36:23AM (2014-o7-14 00:36:23 UTC}        7/9/20144:38:57 PM (2014-07-Q916:38:S7 UTC)
6    Sl30                                                                        7/14/201412:36:23 AM (2014-Q7-l4 00:36:23 UTC}       7/9/20144:38:57 PM (2014-Q7-Q916:38:57 UTC)
7    dumpfve.sys                                                                 7/14/201412:36:22 AM (2014-07-14 00:36:22 UTC}       3/1S/201410:09:12 AM (2014-Q3.18 10:09:12 UTC)
8    dumpfve.sys                                                                 7/14/201.412:36:22 AM (2014..()7-1400:36:22 UTC)     3/18/201410:09:12 AM (2014..()3-1810:09:12 UTC)
9    storahci.sys                                                                7/14/2014ll:36:22 AM (2014-07-14 00:36:22 UTC}       8/22/2013 12:43:31 PM (2013..()8-22 12:43:31 UTC}
10   dumpfve.sys                                                                 7/14/201412:36:22 AM (2014..()7-14 00:36:22 UTC}     3/18/201410:09:12 AM (2014-03·1810:09:12 UTC)
11   bootstat.dat                                                                7/14/201412:36:22 AM (2014-07-14 00:36:22 UTC}       7/14/201412:36:22 AM (2014..()7-14 00:36:22 UTC)
12   Dlskdump.sys                                                                7/14/201412:36:22 AM (2014..()7-1400:36:22 UTC}      8/22/2013 12:43:40 PM (2013..()8..2212:43:40 UTC)
13   Dlskdump.sys                                                                7/14/201.4 12:36:22 AM (2014..()7·14 00:36:22 UTC)   8/22/201312:43:40 PM {2013-()8..22 12:43:40 UTC)
14   McSvHost002..1og                                                            7/14/2014 12:35:52 AM (2014-07-14 00:35:52 UTC)      7/14/201412:35:52 AM (2014-07·14 00:35:52 UTC)
15   MC:SvHost                                                                   7/14/201412:35:52 AM (2014..()7-14 00:35:52 UTC)     5/16/20141:07:26 PM (2014-05-1613:07:26 UTC)
16   Sl30                                                                        7/14/2014 12:35:52 AM (2014..()7-14 00:35:52 UTC)    5/16/2014 1.07:26 PM (2014..()5-1613:07:26 UTC)
17   log.lnl                                                                     7/14/201412:35:52 AM (2014..()7-14 00:35:52 UTC)     7/5{2014 2:24:49 AM (2014-07..()5 02:24:49 UTC}
18   McSvHostOOO.Iog                                                             7/14/201412:35:52 AM (2014-07-1400:35:52 UTC)        7/14/201412:35:52 AM (2014-Q7-14 00:35:52 UTC)
19   pots.dll                                                                    7/14/201412:35;47 AM (2014-07-14 00:35:47 UTC)       8/22/2013 10:00:51 AM (2{)13..()8..22 10:00:51 UTC)
20   dlagperf.dll                                                                7/14/201412:35:47 AM (2014-07·14 00:35:47 UTC)       8/22/2013 10:49:41 AM (2013..()8-22 10:49:41 UTC)
21   pots.dll                                                                    7/14/201412:35:47 AM (2014..()7-14 00:35:47 UTC)     8/22/2013 10:00:51 AM (2013..()8..22 10:00:51 UTC)
22 dlagperf.dll                                                                  7/14/201412:35:47 AM (2014..()7-14 00;35:47 UTC)     8/22/201310:49:41 AM (2013-Q8-22 10:49:41 UTC}
23 Sens.dll                                                                      7/lA/201412:35;46 AM (2014-07-14 00:35:46 UTC)       8/22/2013 9:53:05 AM (2013..()8.22 09:53:05 UTC)
24 5ens.dll                                                                      7/14/201/o 12:35:46 AM (2014-07·1400:35:46 UTC)      8/22/2013 9:53:05 AM (2013-08-22 09:53:05 UTC)
25 stdole2.tlb                                                                   7/14/2014 12:35;46 AM (2014..()7-14 00:35:46 UTC)    8{22/201311;44~37 AM (2013..()8.22 11:44:37 UTC)
26 es.dll                                                                        7/14/201412:35:46 AM (2014·07-14 00:35:46 UTC)       8/22/2013 9:40:30 AM (2013..()8..22 09:40:30 UTC)
27 es.dll                                                                        7/14/2014 12:35:46 AM (2014..()7-14 00:35:46 UTC)    8/22/2013 9:40:30 AM (2013-Q8-22 09:40:30 UTC)
28 stdole2.tlb                                                                   7/14/201412:35:46 AM {2014·07-14 00:35:46 UTC)       8/22/201311:44:37 AM (2013-Q8-2211:44:37 UTC)
29 log.lnl                                                                       7/14/201412:26:54 AM (2014..()7-1400:26:54 UTC)      7/13/2014 2:05:33 PM (2014..()7-1314:05:33 UTC)
30 kernel.appcore.dll                                                            7/14/201412:23:54 AM (2014-07-1400:23:54 UTC)        8/22/2013 5:31:40 AM (2013..()8..22 05:31:40 UTC)
31 kernel.appcore.dll                                                            7/14/201412:23:54 AM (2014..()7-14 00:23:54 UTC)     8/22/2013 5:31:40 AM (2013..()8.22 05:31:40 UTC)
32 version.dll                                                                   7/14/201412:23:54 AM (2014..()7-14 00:23:54 UTC)     8/22/2013 5:25:38 AM (2013..()8-22 05:25:38 UTC)
33 ntmarta.dll                                                                   7/14/2014 12:23:54 AM (2014..()7-14 00:23:54 UTC}    8/22/2013 5:29:29 AM (2013..()8..22 05:29:29 UTC}
34 cscapl.dll                                                                    7/14/201412:23:54 AM (2014..()7-14 00:23:54 UTC)     8/22/2013 2:52:25 AM (2013-Q8·22 02:52:25 UTC)
35 dbghelp.dn                                                                    7/14/201412:23:54 AM (2014..()7-14 00:23:54 UTC)     3/18/201410:09:12 AM (2014-03-1810:09:12 UTC)
36 verslon.dll                                                                   7/14/2014 12:23:54 AM {2014..()7-14 00:23:54 UTC}    8/2212013 5:25:38 AM (2013-Q8-22 05:25:38 UTC)
37 ntmarta.dfl                                                                   7/14/2014 12:23:54 AM (2014..()7·14 00:23:54 UTC)    8/22/201?. 5:29:29 AM {2013-()8..22 05:29:29 UTC)
38 dbghelp.dJI                                                                   7/14/2014 12:23:54 AM (2014..()7-14 00:23:54 UTC)    3/18/201410:0!!:12 AM (2014..()3-1810:09:12 UTC)
39 cscapl.dll                                                                    7/14/201412:23:54 AM (2014..()7-14 00:23:54 UTC}     8/22/2013 2:52:25 AM (201.3-08-22 02:52:25 UTC)
40 CrashReports                                                                  7/14/201412:23:54 AM (2014-07-14 00:23:54 UTC)       6{22/2014 5:05:29 PM (2014-06-2217:05:29 UTC)
41 WlndowsShell.Manlfest                                                         7/14/201412:23:54AM (2014-07-14 00:23:54 UTC)        6/18/2013 3:00:L6PM (2013-06-1815:00:46 UTC)
42 ler1utll.dll                                                                  7/14/201412:23:54 AM {2014-07-14 00:23:54 UTC)       5/30/2014 8:38:34 AM (2014-05-3008:38:34 UTC}
43 S'TXF DATA                                                                    7/14/201412:23:54 AM (2014..()7-14 00:23:54 UTC)     5/30/2014 8:38:34 AM (2014..()5-30 08:38:34 UTC)
44 wlnlnet.dll                                                                   7/14/2014 12:23:54 AM (2014-07-14 00:23:54 UTC)      5/30/2014 7:21:10 AM (201<H>s-30 07:2L'10 UTC)
45 $T)(F_DATA                                                                    7/14/201412:23:54 AM (2014..()7-14 00:23:54 UTC)     5/30/2014 7:21:10 AM (2014..()5-30 07:21:10 UTC)
46 WindowsSheD.Manifest                                                          7/14/201412:23:54 AM (2014..()7,14 00:23:54 UTC)     6/18/2013 3:00:46 PM (2013-o6-1815:00:46 UTC)
47   userenv.dll                                                                 7/14/201412:23:54 AM {2014..()7-14 00:23:54 UTC}     5/15/2014 8:56:35 PM (2014..()5-15 20:56:35 UTC)
48   WindowsSheti.Manlfest                                                       7/14/201412:23:54 AM (2014-07-14 00:23:54 UTC)       6/18/2013 3:00:46 PM (2013-<>6-18 15:00:46 UTC}
49   Windows5heii.Manifest                                                       7/14/2014 12:23:54 AM (2014-07-14 00:23:54 UTC)      6/18/2013 3:00:46 PM (20l3-Q6.1815:00:46 UTC)
50   wkscll.dll                                                                  7/14/201412:23:54 AM (2014..()7-14 00:23:54 UTC)     8/22/2013 5:29:34 AM (2013-08-22 05:29:34 UTC}
51   srvdl.dll                                                                   7/14/2014 12:23:54 AM (2014..()7-14 00:23:54 UTC)    8/22/2013 5:29:31 AM (2013-08-22 05:29:31 UTC)
                                         Case 2:11-cr-00070-RAJ Document 427-16 Filed 09/08/16 Page 3 of 41


netutils.dll                                                               7/14/201412:23:54 AM (201'1-07-14 00:23:54 UTC)    8/22/2013 5:29:29 AM (2013-08-22 05:29:29 UTC)
uxtherne.dll                                                               7/14/2014 12:23:54 AM (2014-07-14 00:23:54 UTC)    3/18/201410:08:50 AM (2014-03·18 10:08:50 UTC)
wlnnsi.dll                                                                 7/14/201412:23:54AM (2014-07-14 00:23:54 UTC)      8/22/20131:25:36 PM (2013-08-2213:25:36 UTC)
WlndowsShell.Manifeil                                                      7/14/201412:23:54 AM (2014-07-14 00:23:54 UTC)     6/18/2013 3:00:46 PM (2013-06·1&15:00:46 UTC)
iertutll.dll                                                               7/14/201412:23:54 AM [2014-07·14 00:23:54 UTC)     5/30/2014 8:38:34 AM (2014-05-30 08:38:34 UTC)
STXF_DATA                                                                  7/14/2014 12.:23:54 AM (2014-07-14 00:23:54 UTC)   5/30/2014 8:38:34 AM (2014-05-30 08:38:34 UTC)
wininet.dll                                                                7/14/201412:23:54 AM (2014-07-14 00:23:54 UTC)     5/30/2014 7:21:10 AM (2014-05--30 07:21.110 UTC)
$Tl(f_DATA                                                                 7/14/2014 12:23:54 AM (2014-07-14 00:23:54 UTC)    5/30/2014 7:21:10 AM (2014-05-30 07:21:10 UTC)
userenv.dll                                                                7/14/2014 12:23:54 AM (2014-07-14 00:23:54 UTC)    5/15/2014 8:56:35 PM (2014-05-15 20:56:35 UTC)
wk.scll.dll                                                                7/14/201412:23:54 AM (2014-07-14 00:23:54 UTC)     8/22/2013 5:29:34 AM (2013-08-22 05:29:34 UTC)
uxtherne.dll                                                               7/14/201412:23:54 AM (2014-07-14 00:23:54 UTC)     3/18/2014 10.08:50 AM {2014-03·18 10:08:50 UTC)
srvcll.dll                                                                 7/14/201412:23:54 AM (2014-07-14 00:23:54 UTC)     8/22/201'3 5:29:31 AM (2013-08· 22 05:29:31 UTC)
profapi.dll                                                                7/14/201412:23:54 AM (2014-07-14 00:23:54 UTC)     8/22/2013 5:17:53 AM (2013-08-22 05:17:53 UTC)
netutlls.dll                                                               7/14/2014 12:23:54 AM (2014-0/-14 00:23:54 UTC)    8/22/2013 5:29:29 AM (2013-08-22 05:29:29 UTC)
winnsi.dll                                                                 7/14/201.412:23:54 AM (2014-07·14 00:23:54 UTC)    8/22/20131:25:36 PM (2013-08-2213:25:36 UTC)
cornctl32.dll                                                              7/14/2014 12:23:54 AM (2014-0?-14 00:23:54 UTC}    3/18/201410:08:50 AM (2014-03-18 10:08:50 UTC)
IPHLPAPI.Oll                                                               7/14/2014 12.:23:54 AM (2014-07-14 00:23:54 UTC}   8/22/2013 5:17:53 AM (2013-08-22 05:17:53 UTC)
SHCore.dll                                                                 7/14/201412:23:54AM (2014-07-14 00:23:54 UTC}      3/18/201410:08:50 AM (2014-03-1810:08:50 UTC)
netapi32.dll                                                               7/14/201412:23:54 AM (2014-07-14 00:23:54 UTC)     8/22/2013 5:29:29 AM (2013~8-12 05:29:29 UTC)
mslmg32.dll                                                                7/14/2014 U:.23:54 AM (2014-07-14 00:23:54 UTC)    8/22/2013 2:55:04 AM {2013-08-22 02:55:04 UTC)
rnsJ.dll                                                                   7/14/201412:23:54 AM {2014-07-14 00:23:54 UTC)     8/22/2013 3:39:45 AM {2013-08-22 03:39:45 UTC)
SHCore.dll                                                                 7/14/201412:23:54 AM (2014-07-14 00:23:54 UTC)     3/18/2014 10:08:50 AM (2014-03-18 10:08:50 UTC)
nelapl32.dll                                                               7/14/201412:23:54 AM (2014-07-14 00:23:54 UTC}     8/22/2013 5:29:29 AM (2013-08·22 05:29:29 UTC)
mslmg32.dll                                                                7/14/2014 12:23:54 AM (2014-07-14 00:23:54 UTC)    8/22/2013 2:55:04 AM (2013-08-22 02:55:04 UTC)
msl.dll                                                                    7/14/2014 U :23:54 AM (2014-07-14 00:23:54 UTC)    8/22/2013 3:39:45 AM (2013-08-22 03:39:45 UTC)
IPHLPAPI.DU                                                                7/14/2014 12:23:54 AM (2014-07-14 00:23:54 UTC)    8/22/2013 5:17:53 AM (2013-08-22 05:17:53 UTC)
goopdate.dll                                                               7/14/2014 12:23:54 AM (2014-07-14 00:23:54 UTC)    6/22)2014 5:05:29 PM (2014-06-2217:05:29 UTC)
sechost.dll                                                                7/14/201412:23:54 AM (2014-07·14 00:23:54 UTC)     8/22/2013 5:17:54 AM (2013-08-22 05:17:54 UTC)
combase.dll                                                                7/14/2014 12:23:54 AM {2014-07-14 00:23:54 VTC)    3/18/201410:08:52 AM (2014-03-1810:08:52 UTC)
wow64.dll                                                                  7/14/2014 12:23:54 AM (2014-07-14 00:23:54 UTC)    8/22/2013 11:40:53 AM (2013-08-22 11:40:53 UTC)
sechost.dll                                                                7/14/2014 12:23:54 AM (2014-07-14 00:23:54 UTC)    8/22/2013 5:17:54 AM (2013-08-22 05;17:54 UTC)
combase.dll                                                                7/14/2014 12:23:54 AM (2014-07-14 00:23:54 UTC)    3/18/201410:08:52 AM (2014-03-1810:08:52 UTC)
wow64 .dll                                                                 7/14/201412:23:54AM (2014-07-14 00:23:54 VTC)      8/22/201311:40:53 AM (201~08-22 11:40:53 UTC)
GoogleUpdateTaskMachir.eUA.job                                             7/14/2014 12:23:54 AM (2014-07-14 00:23:54 UTC)    6/27/2014 11:10:00 AM (2014-06-27 11:10:00 UTC)
Googl eUpdate.e~e                                                          7/14/201412:23:54 AM (2014-07·14 00:23:54 UTC)     6/22/2014 5:05:29 PM (2014-06-2217:05:29 lJTC)
lastaliveO.dat                                                             7/14/201412:14:54AM (2014-07· 14 00:14:54 UTC)     7/14/201412:14:54 AM {2014-07-14 00:14:54 UTC)
SRUtmp.log                                                                 7/14/201412:12:53 AM (2014-07-14 00:12:53 UTC)     7/13/2014 8:12:29 PM (2014-07-13 20;12:29 UTC)
SRU.Iog                                                                    7/14/2014 12:12:53 AM [2014-07-14 00:12:53 UTC)    7/14/2014 12:12:53 AM {2014-07·14 00:12:53 UTC)
SRU.chk                                                                    7/14/2014 12:12:53 AM (2014-07-14 00:1.2:53 UTC)   7/14/201412:12:53 AM {2014-07-14 00:12:53 UTC)
SRUOB.dat                                                                  7/14/201412:12:53 AM (2014-07-14 00:12:53 UTC)     7/14/201412:12:53 AM (2014-07-14 00:12:53 UTC)
sru                                                                        7/14/201412:10:53 AM (2014-07-14 00:10:53 UTC)     7/14/201412:10:53 AM {2014-07-14 00:10:53 UTC)
$130                                                                       7/14/201412:10:53 AM (2014-07-14 00:10:53 UTC)     7/14/201412.:10:53 AM (2014-07-1400:10:53 UTC)
SRU00492.1og                                                               7/14/2014 12:10:53 AM (2014-07-14 00:10:53 UTC)    7/14/201412:10:53 AM (2014-07-14 00:1.0:53 UTC)
McSitHost                                                                  7/14/2014 12:06:52 AM (2014-07-14 00:06:52 UTC)    5/15/201411:01:07 AM (2014-05-1511:01:07 UTC)
$1.30                                                                      7/14/201412:06:52 AM (2014-07-14 00:06:52 UTC)     5/15/201411:01:07 AM {2014-05-15 11:01:07 UTC)
wlnhttp.dll                                                                7/13/2014 11:55:52 PM (2014-07-13 23:55:52 UTC)    8/22/2013 9:41:49 AM (2013-08-22 09:41:49 UTC)
w1nhttp.dll                                                                7/13/2014 11:55;52 PM (2014-07-13 23:55:52 UTC}    8/22/2013 9:41:49 AM (2013-08-22 09:41:49 UTC)
lastalivel.dat                                                             7/13/2014 11:49:52 PM (2014-07-13 23:49:52 UTC)    7/13/201411:49:52 PM (2014-07-13 23:49:52 UTC)
wdl                                                                        7/13/201411:35:51 PM (2014-07-13 23:35:51 UTC)     5/17/2014 4:20:0'7 PM (2014-05-1716:20:07 UTC)
$130                                                                       7/13/201411:35:51 PM (2014-07-13 23:35:51 UTC)     5/1'7/2014 4;20:07 PM {2014-05·1716:20:07 UTC)
{9f418l1a-0429-42aa-81b7-cfd4d968411f}                                     7/13/201411:35:51 PM (2014-07-13 23:35:51 UTC)     6/21/201412:31:24 AM (2014-06-21 00:31:24 UTC)
$130                                                                       7/13/2014 11:35:51 PM (201-4-07-13 23:35:51 UTC)   6/21/2014 12:31:24 AM {2014-06-21 00:31:24 UTC}
                                           Case 2:11-cr-00070-RAJ Document 427-16 Filed 09/08/16 Page 4 of 41



(45blbc49-18Sl-4937-a324-68694ea6b143}                                      7/13/201411:35:51 PM (2014·07-13 23:35:51 UTC)     6/21/2.01412:31:24 AM (2014-06·21 00:31:24 UTC}
{40dbc020-932c-4e20.9b98· 760cbbb76b10}                                     7/13/2014 11:35:51 PM (2014-07-13 23:35:51 UTC)    6/19/2014 4:17:01 PM {2014-06-19 16:17:01 UTC)
(dd3caaa2-e7e8-4024-84dd-55f3ac66e7a7)                                      7/13/201411:35:51 PM {2014..07-13 23:35:51 UTC)    7/2/20143:49.10 PM (2014-07·0215:49:10 UTC)
(f937e3e2-4ab1-4eec-bae5-67ecba39ab47}                                      7/13/201411:35:51 PM (2014-07-13 23:35:51 UTC)     7/1/2014 4:23 .11 PM (2014-0].()116:23:11 UTC)
{d17bb81b-ba8b-4b54-b4be-e7f4c3335a62)                                      7/13/2014 11:35:51 PM {2014-07-13 23:35:51 UTC)    7/1/201410:13:19 AM (2014-07..0110:13:19 UTC)
(f886def7-7c69-4f80-aadd-3fbced3b7cc8}                                      7/13/2014 11:35:51 PM {2014-07-13 23:35:51 UTC}    7/5/2014 6:26:07 PM {2014-07--Q5 18:26:07 UTC)
{e467328c-7c8c-4d53·8097-e32d84a364eaJ                                      7/13/2014 11:35:51 PM {2014-07-13 23:35:51 UTC)    7/8/2014 8:58:26 PM (2014.07..08 20:58:26 UTC)
(ffc42108-4920-4acf-a4fc-8abdcc68ada4)                                      7/13/201411:35:51 PM (2014-07-13 2:l:35:S1 UTC)    7/7/2014 7:46:55 PM {201.4-07..07 19:46:55 UTC}
$130                                                                        7/13/201411:35:51 PM (2014-07-13 23:35:51 UTC)     7{1/2014 7:46:55 PM (2014-07..0719:46:55 UTC)
(7753b47&9d4a-4439·984b-4d104b26c4abl                                       7/13/201411:35:51 PM {2014-07-13 23;35:51 UTC)     6/21/2014 4:45:53 PM (2014-06-2116:45:53 UTC)
(c22de388·ee30-4831•be7d-ff3cl68c8318}                                      7/13/201411:35:51 PM (2014-07-13 23:35:51 UTC)     7/7/201-4 7:46:55 PM {2014-07·0719:46:55 UTC)
(94426ScS-634f-4d3f·91e7·2e8c073b4a19}                                      7/13/2014 11:35:51 PM {2014-07·13 23:35:51 UTC)    7{1/201412:45:21 AM (2014-07..07 00:45:21 UTC}
(7dOldb03-DOf8-4794-a20a·a73f7cb2786a}                                      7/13/201411:35:51 PM (2014-07·13 23:35:51 UTC)     7/7/201412:2G:54AM (2014.()7-07 00:26:54 UTC)
(50c80545-299S-4910•9f33·c07f62019c2c}                                      7/13/201411:35:51 PM (2014-07-13 23:35:51 UTC}     7/6/201411:55:49 PM (2014-07.06 23:55:49 UTC)
(ae906688-b 7f0.4799-9d04·619bfe7 eflba}                                    7/13/201411:35:51 PM (2014-07-13 23:35:51 UTC)     7/6/201411:33:48 PM (2014-07-D6 23:33:48 UTC)
{6e3fbcSd-a20c-4ad6-a3d3-2eS4ed780987)                                      7/13/201411:35:51 PM (2014-07·13 23:35:51 UTC)     7/6/201411:07:11 PM (2014-07·06 23:07!11 UTC)
(2fa4Gc63.-9f9f-4751-a23d-8baflcc30591}                                     7/13/2014 11:35:51 PM (2014-07-13 23:35:51 UTC)    7/5/2014 5:37:21 PM (2014-07.()5 17:37:21 UTC}
{Sa603939·e5f7-491c-a449-ea57f17af4e0}                                      7/13/201411:35:51 PM (2014-07-13 23:35:51 UTC)     6/21/201412:29:37 AM (2014-06·21 00:29:37 UTC)
{f89S6724-c8eS-418b·80de-4de09a5593fd)                                      7/13/201411:35:51 PM {2014-07-13 23:35:51 UTC)     6/19/201412:16:19 PM (2014-0&1912:16:19 UTC)
(86432a0b·3c7d·4ddf-a89c-172faa90485d}                                      7/13/201411:35:51 PM (2014-07-13 23:35:51 UTC)     7/11/201411:31:33 PM (2014-07-1123:31:33 UTC)
$130                                                                        7/13/201411:35:51 PM {2014-07-13 23;35:51 UTC)     7/11/201411:31:33 PM (2014-07·1123:31:33 UTC)
{6db2f48d-Ofdd-4b37-aea6-7c73b4f542c5}                                      7/13/201411:35:51 PM (2014-07-13 23:35:51 UTC)     6/18/201411:28:33 AM {2014-06-1811:28:33 UTC)
f671A4949·5132-4859·803&a737b43825d8}                                       7/13/2014 11:35:51 PM (2014-07-13 23:35:51 UTC)    6/27/201-411:34:15 AM (2014-0&2711:34:15 IJTC}
$130                                                                        7/13/201411:35:51 PM (2014-07-13 23:35:51 UTC)     6/27/201411:34:15 AM (2014-06-2711:34:15 UTC)
(8588cf15·be55-48fb·b915-Qia4d8e97ac7J                                      7/13/2014 11:35:51 PM {2014-07-13 23:35:51 UTC)    6/27/201411:34;15 AM {2014.()6-27 11:34:15 UTC)
{965d6b3f-a595-4fae-a82d-149dcbb1d769}                                      7/13/201411:35:51 PM (2014.07-13 23:35:511JTC)     7/13/2014 8:45·42 PM (2014-07-13 20:45:42 UTC}
$130                                                                        7/13/201411:35:51 PM (2014-07-13 23:35:51 UTC)     7/13/2014 8:45:42 PM (2014-07-13 20:45:42 UTC)
{88140fb3-dd62·4b40-899f·95e8c4c40201}                                      7/13/201411:35:51 PM (2014-07-13 23:35:51 UTC)     7/3/2014 3:54:10 PM (2014-07.()3 15:54:20 UTCJ
{6c71640f-ebe7-4c17·83e9-cd87ce9c3a7c)                                      7/13/2014 11:35:51 PM {2014-07-13 23:35:51 UTC)    7/3/201410:31:03 AM (2014-07..0310:31:03 UTC)
(3883c57c·2el9-4c03· bfd8-6f44ab2d6e2a}                                     7/13/201411:35:51 PM (2014-07-13 23:35:51 UTC)     7/2/201410:19!47 AM (2014-07·0210:19:47 UTC)
(ae8cf33c-e70e-46Gf-8937-49fa68586f6c}                                      7/13/2014 11:35:51 PM (2014-07-13 23:35:51 UTC)    7/1/2014 7:46:48 AM (2014..07.()1 07:46:48 UTC)
(c003715c-aa0a-421c-b99c-2fedbde2S601}                                      7/13/201411:35:51 PM (2014-07-13 23:35:51 UTC}     6/30/2014 3:38~4 PM (2014-06-30 15:38:04 UTC)
{6e6ff718-1a61-4660·b2df-e0484726deaf}                                      7/13/201411:35:51 PM {2014-07-13 23:35:51 UTC)     6/30/2014 2:15:31 PM (2014·06·30 14:15:31 UTC)
{4cb8f2fb-8b78-4b0c-9bca-effd5be9df94}                                      7/13/201411:35:51 PM {2014-07·13 23:35;51 UTC)     6/30/2014 9:45:36 AM {2014-06-30 09:45:36 UTC)
{9712b692-3ef5-452f-893b-dd7422ef3066}                                      7/13/201411:35:51 PM (2014-07-13 23:35:51 UTC}     7/4/2014 4:07:24 PM {2014-07-0416:07:24 UTC)
{5e552537-a68d-4481·a78d-333104S26df3}                                      7/13/201411:35:51 PM {2014-07·13 23:35:51 UTC)     7/13/20148:45:42 PM (2014-07·13 20:45:42 UTC)
{b11c7978-a6b6-4297-aaSf-db73dc4cdc40}                                      7/13/201411:35:51 PM {2014-07-13 23:35:51 UTC)     7/4/2014 9:48:35 AM (2014-07-04 09:48:36 UTC)
(17c8e28c-38dc-4691-85fa·36a987c659e8)                                      7/13/201411:35:51 PM (2014.()7-13 23:35:51 UTC}    7/9/2014 4:39:29 PM (2014-07-Q916:39:29 UTC)
{0187c8fO-QOb5-4!216·9c07-Q5f943a4i91S)                                     7/13/201411:35:51 PM (2014-Q7-13 23:35:51 UTC}     7/9/2014 4:39:03 PM {2014-07·09 16:39:03 UTC)
{ccf3dab2-e54d-4l01-8b66-6330f3969852}                                      7/13/201411:35:51 PM (2014-07-13 23:35:51 UTC)     7/8/20141;31:13 PM (2014-07..0813:31:13 UTC)
(384d9a88-d859-4ele-a8bf·91a83ab0e8c3}                                      7/13/2014 11:35;51 PM (2014.()7-13 23:35:51 UTC}   7/7/2014 4:50:10 AM (2014-07-07 04:50:10 UTC)
(7adcff46-3ebb-4f2o-99ff-3f1295aa5c83}                                      7/13/201411:35:51 PM (2014-07-13 23:35:51 UTC)     7{1/2014 1:30:~9 AM {2014·07..()7 01:30:29 UTC)
(cOd039aO·de6a-4e7a·b976-ed289e80ae4f}                                      7/13/201411:35:51 PM {2014-07-13 23:35:51 UTC)     7/7/20141:26:05 AM (2014-07..07 01:26:05 UTC)
(bf1d3652·afa0472c-8a81-86ef2f8aad9d}                                       7/13/201411:35:51 PM (2014·07·13 23:35:51 UTC)     7/7/2014 12:46:00 AM (2014.07-07 00:46:00 UTC)
{04a690c9-27d7-47cO·b68c-df6d5ffl7828}                                      7/13/2.01411:35:51 PM {2014-0H.313:35:51 UTC}      7/6/2014 11:32:18 PM (2014-07..06 23:32:18 UTC)
{8791e234-df"ab-44f8-a94e-9a7ec060b5df}                                     7/13/201411:35:51 PM (2014-07-13 23:35;51 UTC)     7/6/2014 3:16:36 AM (2014-07..06 03:16:36 UTC)
{1182ca4c-314f-44e7-b9d2·Sdf6ebcef282}                                      7/13/2014 11:35:51 PM {2014-07-13 23:35;51 UTC)    7/6/2014 3:05:15 AM {2014-07·06 03:05:15 UTC)
{3d20ff35-8453-47e6·81e7-a0bff4ab6dc4}                                      7/13/201411:35:51 PM (2014-Q7-13 23:35:51 UTC)     7/8/2014 1:31:31 PM (2014-D7.08 13:31:31 UTC)
{S33a67eb-9fb5-47:3d-b884-958cf4b9c4a3)                                     7/13/201411:35:51 PM (2014-07·13 23:35:51 UTC}     7/7/2014 7:46:55 PM (2014-Q7-Q7 19:46:55 UTC)
$130                                                                        7/13/201411:35:51 PM (2014-D7·13 23:35:51 UTC)     7/7/2014 7:46:55 PM (201-4·07·0719:46:55 UTC)
f6lea 17 be-8343-45d4-9db3-bf51745d9c82}                                    7/13/201411:35:51 PM (2014-07-13 23:35:51 UTC)     6/21/2014 4:45:53 PM (2014-06-2116:45:53 UTC)
{f22Safe2·148a-45aO·af8c-bbe7b9769745}                                      7/13/2014 11:35:5~ PM {2014-07-13 23:35:51 UTC}    7{1/2014 7:46:55 PM (2014-07..0719:46:55 UTC}
                                          Case 2:11-cr-00070-RAJ Document 427-16 Filed 09/08/16 Page 5 of 41



(016ce938-74cc-493c-a7e4-feceb<:05ee70}                                    7/13/201411:35:51 PM {2014-07-l:l23:35:Sl UTC)      7/7/201412:45:21 AM (2014-07·07 00:45:21 UTC)
(47661ba5.09da-46dl-86a b-f059deddc4c9}                                    7/13/201411:35:51 PM (2014-07-13 23:35:51 UTC)      7/7/201412:26:54 AM (2014-07·07 00:26:54 UTC)
(Oed7Sb8a-354c-4f77-9e84-Q9399640b3fdj                                     7/13/201411:35:51 PM (2014-07-13 23:35:51 UTC}      7/6/201411:55:49 PM (2014-07-06 23:55:49 UTC)
(2fdbaf2a-921G-4ab5-909a-8eb66a3fced1}                                     7/13/201411:35:51 PM (2014-07-13 23:35:51 UTC)      7/6/201411:3~:48 PM (2014-07-06 23:33:48 UTC)
(01bc8c62-e04d-4217·.8dOf-e80eOd9130eO}                                    7/13/201411:35:51 PM (2014-07-13 23:35:51 UTC)      7/6/201411:07:11 PM (2014-07-QG 23:07:11 UTC)
(8c3643e9-2514-44ba-a7fd-df3e05a030be)                                     7/13/2014 11:35:51 PM (2014-07~13 23:35:5llfTC}     7/5/2014 5:37:21 PM (2014-07-Q517:37:21 UTC}
(fd2c84 72-b649-4fd8-8075-80104697e3ce}                                    7/13/2014 11:35:51 PM (2014-07-13 2.3 :35:51 UTC)   6/19/201412:16:19 PM (2014-06-19 U:16:19 tJTC}
(cf12e10b-606d-45b9-b857-93aed5ac7e26}                                     7/13/2014 11:35:51 PM (2014-07-13 23:35:51 tJTC)    6/21/201412:29:37 AM (2014-QG-21 00:29:37 UTC)
WindowsUpdate.log                                                          7/13/2014 11:18:51 PM (2014-07-13 23:18:.51 llTC)   7/13/201411:18:51 PM (201.4-Q7·13 23:18:51 UTC}
edb.log                                                                    7/13/2014 11:18:21 PM (2014-07· 13 23:18:21 UTC)    7/13/201411:18:21 PM (2014-07-13 23:18:21 UTC)
edb.chk                                                                    7/13/2014 11:18:21 PM (1.014-07-13 23:18:21 UTC}    7/13/2014 11:18:21 PM (2014-07-13 23:18:21 UTC)
DataStore.edb                                                              7/13/201411:18:21 PM (2014-07-13 23:18:21 UTC)      7/13/201411:18:21 PM (2014-07-B 23:18:21 tJTC)
273ac5b3-89f4-4f2f-a fcd-465 70e0beea 7                                    7/13/201411:18:20 PM (2014-Q7-13 23:18:20 UTC)      7/13/201411:18:20 PM (2014-07-13 23:18:20 UTC}
Scheduled Start                                                            7/13/201411:18:20 PM (2014-07-13 23:18:20 UTC)      7/13/201411:18:20 PM (2014-07-13 23:18:20 UTC)
$TXF_DATA                                                                  7/13/201411:18:20 PM (2014-Ql-13 23:18:20 UTC)      7/13/201411:18:20 PM (2014-0'7-13 23:18:20 UTC)
OOOOOOOOOOOOSCF5                                                           7/13/201411:18:20 PM (2014-07·13 23:18:20 UTC)      7/13/201411:18:20 PM (2014-07-13 23:18:20 UTC}
$TXF_DATA                                                                  7/13/2014 11:18:20 PM (2014-07-13 23:18:20 tJTC}    7/13/201411:18:20 PM (2014-QJ-13 23:18:20 UTC}
98fea52e-8b24-4Sd8-a0ae-a52af36Sb605                                       7/13/2014 11:18:20 PM (2014-07-13 23:18:20 UTC)     7/5/2014 5:37:25 PM (2014-07-Q5 17:37:25 UTC)
Scheduled Start With Network                                               7/13/201411:18:20 PM (2014-07· 13 23:18:20 UTC)     7/13/201411:18:20 PM (2014-07·13 23:18:20 UTC)
$TXF_DATA                                                                  7/13/201411:18:20 PM (2014-07·13 23:18:20 UTC)      7{13/201411:18:20 PM (2014-07-13 23:18:20 UTC)
OOOOOOOOOOOOSCF4                                                           7/H/201411:18:20 PM (2014-07-13 23:18:20 UTC)       7/13/201411:1<1:20 PM (2014-07-13 23:18:20 UTC)
$TXF_DATA                                                                  7/13/201411:18:20 PM (2014-o7-13 23:18:20 UTC)      7/13/201411:13:20 PM (2014-07-13 23:18:20 UTC)
Reportlng~vents.log                                                        7/13/201411:18:20 PM (2014-07-13 23:18:20 UTC)      7/13/2014 11:18:20 PM (2014-07-13 23:18:20 UTC)
dleGaa93-ef2d4362-bfOS-098334bSec27                                        7/13/201411:18:20 PM (2014-07-13 23:18:20 UTC)      S/15/20149:03:36 PM (2014-05-15 21:03:36 UTC)
AUSesslonConnect                                                           7/13/201411:18:20 PM (2014-07-13 23:18:20 tJTC)     7/13/201411:18:20 PM (2014-07-13 23:18:20 UTC)
STXF_DATA                                                                  7/13/201411:18:20 PM (2014-o7-13 23:18:20 tJTC)     7/13/201411:13:20 PM (2014-o7-13 23:18:20 UTC)
OOOOOOOOOOOOSCF3                                                           7/13/201411:18:20 PM (2014·07-13 23:18:20 UTC)      7/13/201411:18:20 PM (2014-o7·1S 23:18:20 UTC)
$TXF_DATA                                                                  7/13/2014 11:18:20 PM (2014-07-13 23:18:20 UTC)     7/13/2014 11:18:20 PM (2014-07-13 23:18:20 UTC)
cc0adSSa-dfcd-4a5a-92da-cflc841e295b                                       7/13/2014 11:18:20 PM (2014-o7-13 23:18:20 UTC)     6/26/2014 3:14:52 PM (2014-06-2615:14:52 UTC)
AUScheduledlnstall                                                         7/13/201411:18:20 PM (2014-07-13 23:18:20 UTC)      7/13/201411:18:20 PM (2014.07-13 23:18:20 UTC)
$TXF_DATA                                                                  7/13/2014 11:18:20 PM (2014-07-13 23:18:20 UTC)     7/13/201411:18:20 PM (2014-07-13 23:18:20 UTC)
OOOOOOOOOOOOSCF2                                                           7/13/2014 11:18:20 PM (2014-o7-13 23:18:20 UTC)     7/13/201411:18:20 PM (2014-Q7, 19 23:18:20 IJTC)
$TXF_DATA                                                                  7/13/201411:18:20 PM (2014-07-13 23:18:20 tJTC)     7/13/201411:18:20 PM (2014-07-13 23:18:20 UTC)
Windom                                                                     7/13/201411:18:20 PM (2014-07-13 23:18:20 UTC}      5/17/2014 7:49:57 AM (2014-05-17 07:49:.57 UTC)
$130                                                                       7/13/201411:18:20 PM (2014-07-13 23:18:20 UTC)      S/17/2014 7:49:57 AM (2014-05-1707:49:57 UTC)
STXF_DATA                                                                  7/13/201411:18:20 PM (2014-07-13 2!!:18:20 UTC)     5/17/2014 7:49:57 AM (2014-05-17 07:49:57 UTC)
SPPSVC.EXE-602S096A.pl                                                     7/13/201411:08:50 PM (2014-Q7-13 23:08:50 UTC)      7/13/201411:08:50 PM (2014-07-13 23:08:50 IJTC)
8b6f734b-452c-40e4-88dc-346ebl9a28fO                                       7/13/201411:08:50 PM (2014-07-13 23:08:50 UTC)      5/16/20144:35:13 AM (2014-05-16 04:35:13 UTC)
SvcRestartTask                                                             7/13/201411:08:49 PM (2014-07-13 23:08:49 UTC)      7/13/201411:08:49 PM (2014-07-13 23:08:49 UTC)
$TXF_DATA                                                                  7/13/201411:08:49 PM (2014-Q?-13 23:08:49 UTC)      7/13/2014 11:08:49 PM (2014-07-13 23:08:49lJTC)
OOOOOOOOOOOOSCFl                                                           7/13/2014 11:08:49 PM (2014-07·13 23:08:49 UTC)     7/13/2014 11:08:49 PM (2014-07-13 23:08:49 UTC)
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SokwareProtectlonPiatform                                                  7/13/201411:08:49 PM (2014-07-13 23:08:49 UTC)      8}22/2013 3:37:26 PM (2013-Q8-221.5:37:26 UTC)
$130                                                                       7/13/2014 11:08:49 PM (2014-Q7-13 23:08:49 IJTC)    8/22/2013 3:37:26 PM (2013..08·2215:37:26 UTC)
STXF_DATA                                                                  7/13/201411:08:49 PM (2014-07-13 23:08:49 UTC)      8/22/2013 3:37:26 PM (2013-Q8-2215:37:261JTC)
taskschd.dll                                                               7/13/201411:08:49 PM (2014.07-13 23:08:49 UTC)      8/22/2013 12:42.:49 PM (2013.()8-2212:42:-49 UTC)
clbcatq,dll                                                                7/13/201411:08:49 PM (2014-07·13 23:08:49 tJTC)     8/22/2013 1.2:35:41 PM (2013-o8-22 12:35:41 tJTC)
taskschd.dll                                                               7/13/2014 11:08:49 PM (2014-07·13 23:08:49 UTC)     8/22/2013 12:42:49 PM (2013-QB-22 12:42:49 UTC)
clbcatq.dll                                                                7/13/201411:08:49 PM (2014-07-13 23:08:49 UTC)      8/22/2013 12:35:41 PM (2013-08-22 12:35:41 UTC)
2                                                                          7/13/2014 11:07:49 PM (2014-07-13 2.3 :07:49 UTC)   7/13/201411:07:49 PM (2014-07-13 23:07:49 UTC)
$130                                                                       7/13/2014 11:07:49 PM (2014-07-13 23:07:49 UTC)     7/13/201411:07:49 PM (2014-o7·13 23:07:49 UTC)
data.dat                                                                   7/13/201411:07:49 PM (2014-07-13 23:07:49 UTC)      7/13/201411:07:49 PM (2014-07-13 23:07:49 UTC)
                                               Case 2:11-cr-00070-RAJ Document 427-16 Filed 09/08/16 Page 6 of 41


INwapl.dll                                                                      7/13/201411:07:49 PM (2014-07-13 23:07:49 UTC)     8/22/201312:43:04 PM {2013-08-2212:43:04 UTC)
wwapi.dll                                                                       7/13/2014 11:07:49 PM (2014-07-13 23:07:49 UTC)    8/22/2013 12:43:04 PM (2013-08-22 12:43:04 UTC)
Download                                                                        7/13/201411:07:19 PM (2014-07-13 23:07:19 UTC)     7/11/201411:08:31 PM (2014-07·1123:08:31 UTC)
$130                                                                            7/13/201411:07:19 PM (2014-07-13 23:07:19 UTC)     7/11/2014 11:08:31 PM (2014-07-11 23:08:3l UTC)
advpack.dll                                                                     7/13/201411:07:18 PM (2014-07·13 23:07:18 UTC)     8/22/201S 11:08:0.2 AM (2013-08-2211:08:02 UTC)
a\lvpack,dll                                                                    7/13/201411:07:18 PM (2014-07·13 23:07:18 UTC)     8/22/1013 11:08:02 AM (2013-08-22 11:08:02 UTC)
sppobjs.dll                                                                     7/13/201411:07:18 PM (2014-07·13 23:07:18 UTC)     3/18/:201410:08:31 AM (2014-03-1810:08:31 UTC)
sppobjs.dJI                                                                     7/13/201411:07:18 PM (2014-07-13 23:07:18 UTC)     3/18/101410:08:31 AM (2014·03·1810:08:31 UTC)
cache.dat                                                                       7/13/2014 11:07:18 PM (2014-07-13 23:07:18 UTC)    6/27/20141:02:29 PM (2014-06·27 13:02:29 UTC)
sppobj s-spp-plugin-manifest-signed.xrm-ms                                      7/13/201411:07:18 PM (2014-07-13 23:07:18 UTC)     3/18/2014 10;08:31 AM (201,4-03·16 10:08:31 UTC)
$ppobjs-spp-plugin-manifest-signed.xrm-ms                                       7/13/2014 11:07:18 PM (2014-07-13 23:07:18 UTC)    3/lS/201410:08:31 AM (2014-03-1810:08:31 UTC)
sppwinob-spp.-plugin-manlfest·s1gned,xrm·ms                                     7/13/201411:07:18 PM (2014-07-13 23:07:18 LITC)    3/18/201410:08:31 AM (2014-03-1810:08:31 UTC)
sppwinob.dll                                                                    7/13/201411:07:18 PM (2014·07-13 23:07:18 UTC)     3/18/2014 10:08:31 AM (2014-03-1810:08:31 UTG)
sppwir\ob.dll                                                                   7/13/201411:07:18 PM (2014-07-13 23:07:18 UTC)     3/18/201410:08:31 AM (2014-03·1810:08:31 UTC)
sppwinob-spp-plugin-manlfest-signed.J(J'm·ms                                    7/13/2014 11:07:18 PM (201.4-07· 13 2M7:18 UTC)    3/18/201410:08;31 AM (2014-03-1810:08:31 UTC)
gdi32.dll                                                                       7/13/201411:07:18 PM (2014-07-13 23:07: 18 UTC)    4/30/201411:16:57 AM (2014-04-30 1.1:16:57 UTC}
$TXF~DATA                                                                       7/13/201411:07:18 PM (2014-07-13 23:07:18 UTC)     4/30/201411:16:57 AM (2014-04-3011:16:57 UTC)
ole32.dll                                                                       7/13/201411:07:18 PM (2014-07-13 23:07:18 UTC)     5/15/2014 8:56:35 PM (2014-05-15 20:56:35 UTC)
xmlllte.dll                                                                     7/13/201411:07:18 PM (2014-07-13 23:07:18UTC)      8/22/201312:39:23 PM (2013-.{)8-2212:39:23 UTC)
webservices.dll                                                                 7/13/201411:07:18 PM (2014-07-13 23:07:18 UTC)     3/18/201410:08:27 AM '(2014-0H810:08:27 UTC)
user32.dil                                                                      7/13/201411:07:18 PM (2014-07-13 23:07:18 UTC)     3/18/201410:08:42 AM (2014-.{)3-1810:08:42 UTC)
oleaut32.dll                                                                    7/13/201411:07:18 PM (2014-07-13 23:07:18 UTC)     3/18/201410:08:14 AM (2014-03·1810:08:14 UTC)
msasnl.dll                                                                      7/13/201411:07:18 PM (2014-07-13 23:07:18 UTC)     8/22/201312:41:42 PM (2013-08·2212:41:42 UTC)
gdi32.dll                                                                       7/13/201411:07:18 PM (2014-07-13 23:07:18 UTC)     4/30/201411:16:57 AM (2014-04-30 1.1:16:57 UTC)
$TXF_DATA                                                                       7/13/201411:07:18 PM (2014-07-13 23:07:18 .UTC)    4/30/201411:16:57 AM (2014-04-30 11:16:57 UTC)
ole32.dll                                                                       7/13/201411:07:18 PM (201A-07-13 23;07:18 UTC)     5/15/20148:56:35 PM (2014-05-15 20:56:35 UTC}
xmllite.dli                                                                     7/13/201411;07:18 PM (2014-07-13 2:3:07:18 UTC)    8/22/2013 12:39:23 PM (2013•08·22 12:39:23 lJTC)
webservices.dli                                                                 7/13/201411:07:18 PM (2014-07-13 23:07:18 UTC)     3/18/201410:08:27 AM (2014-03·1810:08:27 UTC)
user32.dll                                                                      7/13/201411:07:18 PM (2014-07-13 2.3:07:18 .UTC)   3/18/201410:08:42 AM (2014-03·1810:08:42 lJTC)
oleaut32.dll                                                                    7/13/201411:07:18 PM (2014-07-13 23:07:18 UTC)     3/18/201410:08:14 AM (2014-03· 1810:08:14 UTC)
msasnl.dll                                                                      7/13/201411:07:18 PM (2014-07· 13 23:07:18 UTC)    8/22/201312:41:42 PM (2013-08-2212:41:42 UTC)
kernel32.dll                                                                    7/13/201411:07:18 PM (2014-07-13 23:07:18 UTC)     5/15/2014 8:56:35 PM (2014-05-15 20:56:35 lJTC)
KerneiSase.dll                                                                  7/13/201411:07:18 PM (2014-07-13 23:07:18 UTC)     5/15/2014 8:56:34 PM (2014-05-15 20:56:34 UTC)
rpcrt4.dll                                                                      7/13/201411:07:18 PM (2014-07-13 23:07:18 UTC)     8/22/20131:25:35 PM (2013-{)8-2213:25:35 UTC)
msvcrtdH                                                                        7/13}2014.11:07:18 PM (2014-07-13 23:07:18 UTC)    8/22/2013 1:25:40 PM (2013·08·22 13:25:40 UTC)
cryptxml.dll                                                                    7/13/201,411:07:18 PM (2014-07·13 23:07:18 UTC)    8/22/201312:41:39 PM (2013·08-2212:41:39 UTC)
crypt32.dll                                                                     7/13/201411:07;18 PM (2014-07-13 23:07:18 UTC)     3/18/201410:08:14 AM (201.4-03· 1810:08:14 UTC)
advapi32.dll                                                                    7/13/2014 11:07:18 PM (2014-07-13 23:07:18 UTC)    3/18/201410:09:13 AM (2014-03·18 10;09:13 UTC)
kernel32.dll                                                                    7/13/2014.11:07:18 PM (2014-07-13 23:07;18 UTC)    5/15/2014 8:56:35 PM (2014-05·15 20:56:35 UTC)
KerneiBase.dll                                                                  7/13/201411:07:18 PM (2014-07-13 23:07:18 UTC)     5/15/2014 8:56:34 PM (2014-0S-15 20:56:34 UTC)
rpcrt4.dl)                                                                      7/13/2,01411:07:18 PM (2014-07-13 23:07:18 UTC)    8/22/20131:25:35 PM (2013.08·2213:25:35 UTC)
msvcrt.dll                                                                      7/13/2014 11:07:18 PM (2014-07-13 23:07:18 UTC)    8/22/2013 1:25:40 PM (2013-08-22 13:25:40 UTC}
cryptxml.dll                                                                    7/13/20141!:07:18 PM {2014-07-13 23:07:18 UTC)     8/22/201312:41:39 f'M (2013-08-2212:41:39 UTC)
Gtypt32,dJl                                                                     7/13/2014 11:07:18 PM (2014-07-13 23:07:18 UTC)    3/18/20l4l,0:08:14 AM {2014-03-18 10:08:14 UTC)
advapi32.dll                                                                    7/13/201411:07:18 PM (2014-07·13 23:07:18 UTC)     3/18/201410:09:13 AM (2014-03-1810:09:13. UTC)
Windows                                                                         7/13/201411:07:18 PM (2014-07-13 23:07:18 UTC)     6/27/201412:45:55 PM (2014-06-27 12:45:55 UTC)
$130                                                                            7/13/201411:07:18 PM (2014-07-13 23:07:18 UTC)     6/27/201412:45;55 PM (2014-06-2712:45:55 UTC)
$TXF_DATA                                                                       7/13/201411:07:18 PM (2014-07-13 23:07:18 UTC)     6/27/201412:45:55 PM (2014·06·27 12:4S:SS UTC)
sppsvc.exe                                                                      7/13/201411:07:18 PM (2014-07-13 23:07;18 UTC)     3/18/201410:08:31 AM (2014-03·1810:08:31 UTC)
sppc.dll                                                                        7/13/201411:07:18 PM {2014-07-13 23:07:18 UTC)     3/18/201410:08:31 AM (2014-03-1810:08:31 UTC)
sppsvc.exe                                                                      7/13/201411:07:18 PM (201-4-07·13 23:07:18 UTC)    3/18/201410:08:31 AM (2014-03·18 10:08:31 UTC)
sppc.dll                                                                        7/13/201411:07:18 PM (2014-07-13 23:07:18 UTC)     3/18/2014 10:08:31 AM (2014-03-18 10:08:31 UTC)
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ServiceProfiles                                              7/13/201411:07:18 PM (2014-CJ-13 23:07:18 UTC)    8/22/2013 2:45:16 PM {2013-08-2214:45:16 UTC)
slc.dll                                                      7/13/201411:07:18 PM {2014-07-13 23:07:18 UTC)    3/18/201410:08:31 AM (2014-03-1810:08:31 UTC)
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wmipclma .dll                                                7/13/201411:07:18 PM {2014-CJ-13 23:07:18 UTC)    8/22/201311:18:22 AM {2013-CB-22 11:18:22 UTC)
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schedcli.dll                                                 7/13/201411:07:18 PM (2014-07-13 23:07:18 UTC)    8/22/2013 10:02:25 AM (2013-CB-2210:02:25 UTC)
dsrole.dll                                                   7/13/201411:07:18 PM (2014-07-"13 23:07:18 UTC)   8/22/201312:41:38 PM (2013-C8-22 1N1:38 UTC)
browcll.dll                                                  7/13/201411:07:18 PM (2014-07-13 23:07:18 UTC)    8/22/2013 10:02:09 AM (2013-C8-2210:02:09 UTC)
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dsrole.dll                                                   7/13/201411:07:18 PM (2014-C7-13 23:07:18 UTC)    8/22/201312:41:38 PM (2013.{)8-2212:41:38 UTC)
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security.dll                                                 7/13/201411:07:18 PM (2014-C7-13 23:07:18 UTC)    8/22/2013 11:43:13 AM (201M8-2211:43:13 UTC)
secur32.dll                                                  7/13/201411:07:18 PM (2014-07-13 23:07:18 UTC)    8/22/2013 10:05:44 AM (2013-08·2210:05:44 UTC)
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wbemprox.dll                                                 7/13/201411:07:18 PM (2014-07-13 23:07:18 UTC)    8/22/2013 9:51:14 AM {2013·08-22 09:51:14 UTC)
wbemprox.dll                                                 7/13/201411:07:18 PM (2014-07·13 23:07:18 UTC)    8/22/2013 9:51:14 AM (201Hl8·22 09:51:14 UTC)
PostRebootEventCache. V2                                     7/13/201411:07:17 PM (2014-07·13 23:07:17 UTC)    6/18/201411:26:53 AM {2014-06-1811:26:53 UTC)
$130                                                         7/13/201411:07:17 PM (2014-C7-13 23:07:17 UTC)    6/18/201411:26:59 AM {2014-{)6-1811:26:53 UTC)
AUFirmwarelnstall                                            7/13/201411:07:17 PM (2014-07-13 23:07:17 UTC)    5/15/2014 8:55:08 PM (2014-05-15 20:55:08 UTC)
WlndowsUpdate                                                7/13/201411:07:17 PM (2014-Q7-13 23:07:17 UTC}    8/22/2013 3:37:19 PM (2013·08-2215:37:19 UTC)
$130                                                         7/13/201411:07:17 PM (2014-C7-13 23:07:17 UTC)    8/22/2019 3:37:19 PM (2013-08-2215:37:19 UTC)
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OataStore                                                    7/13/201-411:07:17 PM (2014-07-13 23:07:17 UTC)   5/15/2014 9:03:57 PM (2014-05-15 21:03:57 UTC)
Logs                                                         7/13/201411:07:17 PM (2014-C7-13 23:07:17 UTC)    7/4/2014 9:19:42 PM (2014-07-04 21:19:42 UTC)
$130                                                         7/13/201411:07:17 PM (2014-C7-13 23:07:17 UTC)    7/4/2014 9:19:•12 PM (2014-07-C4 21:19:42 UTC)
wups2.dll                                                    7/13/201411:07:17 PM (2014-07-13 23:07:17 UTC)    8/22/201311:31:06 AM (2013-CB-2211:31:06 UTe)
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wuaueng.dll                                                  7/13/201411:07:17 PM (2014-07-13 23:07:17 UTC)    S/15/2014 8:55:03 PM (2014-05-15 20:55:03 UTC)
winspool.drv                                                 7/13/201411;07:17 PM (2014-07-13 23:07:17 UTC)    5/15/2014 8:54:09 PM (2014-05-15 20:54:09 UTC)
wmsgapi.dll                                                  7/13/201411;07:17 PM (2014-07-13 23:07:17 UTC)    8/22/201310:03:23 AM (2013-C8-2210:03:23 UTC)
verslon.dll                                                  7/13/201411:07:17 PM (2014-07-13 23:07:17 UTC)    8/22/201312:41:07 PM (2013-08-2212:41:07 UTC)
esent.dll                                                    7/13/201411:07:17 PM {2014-C7-13 23:07:17 UTC)    8/22/201310:11:18 AM (201M8-2210:11:18 UTC)
mspa~ha.dll                                                  7/13/201411:07:17 PM (2014-07-13 23:07:17 UTC)    8/22/2013 10:03:00 AM (2013-CB-2210:03:00 UTC)
cablnet.dll                                                  7/13/201411:07:17 PM (2014-07-13 23:07:17 UTC)    8/22/201312:45:58 PM (2013-08-2212:45:58 UTC)
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wmsgapl.dll                                                  7/13/201411:07:17 PM (2014-07-13 23:07:17 UTC)    8/22/201310:03:23 AM {2013-o8-2210:03:23 UTC)
version.dll                                                  7/13/201411:07:17 PM (2014-07-13 23:07:17 UTC)    8/22/201312:41:07 PM (2013-08·2212:41:07 UTC)
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esent.dll                                                    7/13/201411:07:17 PM (2014-07-13 23:07:17 UTC)    8/22/2013 10:11:18 AM (2013-C8-2210:l1:18 UTC)
cabinet.dll                                                  7/13/201411:07:17 PM (2014-07-13 23:07:17 UTC)    8/22/2013 12:45:58 PM {2013-C8-2212:45:58 UTC)
conhost.e)(e                                                 7/13/201411:07:17 PM {2014-07-13 23:07:17 UTC)    3/18/2014 10:08:42 AM (2014-03-1810:08:42 UTC)
conhost.exe                                                  7/13/2014 11:07:17 PM (2014-07-13 23:07:17 UTC)   3/18/2014 10:08:42 AM (2014-C3-18 10:08:42 UTC)
sc.exe                                                       7/13/2014 11:07:17 PM {2014-07-13 23:07:17 UTC)   8/22/201310:03:11 AM (2013-C8-22 10:03:11 UTC)
sc.exe                                                       7/13/2014 11:07:17 PM (2014-07-13 23:07:17 UTC)   8/22/2013 10:03:11 AM (2013-CB-22 10:03:11 UTC)
ECOCALC.EXE-4C132FAF.pf                                      7/13/2014 10:11:15 PM (2014-C7-13 22:11:15 UTC)   7/13/201410:U:15 PM (2014-07-13 22:11:15 UTC)
profapl.dll                                                  7/13/201410:11:15 PM (2014-07·13 22:11:15 UTC)    8/22/20131:25:35 PM (2013-{)8-2213:25:35 UTC)
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sspldl.dll                                                                 7/13/201410:11:15 PM (2014-07-13 22:11:15 UTC)      3/18/201410:08:13 AM (2014-03-1810:08:13 UTC)
ssplcli.dll                                                                7/13/201410:11:15 PM (2014-07-13 22:11:15 lJTC)     3/18/201410:08:13 AM (2014-03-1810:08:13 UTC)
profupl.dll                                                                7/13/201410:11:15 PM (2014-{)7-13 22:11:15 UTC)     8/22/2013 1;25;35 PM (2013-08-22 13:25:35 UTC)
EcoCalc.exe.Jog                                                            7/13/201410:11:15 PM (2014-07-13 22:11:15 UTC)      7/13/201410:11:15 PM (2014-07-13 22:11:15 UTC)
f8f1206fa708fa162af952847bad16a0_08b6fbf8·6880-4ac5-bb91-ll6103c65d0t      7/13/201410:11:15 PM (2014-07-13 22:11:15 UTC)      5/15/201410:59:17 AM (2014-05-15 10:59:17 UTC)
OWrlte.dll                                                                 7/13/201410:11:15 PM (2014-07-13 22:11:15 UTC)      4/30/201.4 4:43:27 AM (2014-04-30 04:43:27 UTC)
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GdiPius.dll                                                                7/13/201410:11:15 PM (2014-07-13 22:11:15 UTC)      5/15/2014 8:56:35 PM (2014-05·15 20:56:35 UTC)
comctl32.dll                                                               7/13/2014 10:11:15 PM (2014-07·13 22:11:15 UTC)     3/18/201410:08:39 AM (2014-03-18 10;08:39 UTC)
comctl32.dll                                                               7/13/2014 10:11:15 PM (2014-07-13 22:11:15 UTC)     8/22/201311:36:20 AM (2013-08·2211:36:20 UTC)
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STXF_OATA                                                                  7/13/201410:11:15 PM (2014-07-13 2.2:11:15 UTC)     4/30/2014 4:43:27 AM (2014-04-30 04:43:27 UTC)
comctl32.dll                                                               7/13/2014 10:11:15 PM (2014-07·13 22:11:15 UTC)     8/22/201311:36:20 AM (2013-08-22 11:36:20 lJTC}
System. Windows.Forms.dll                                                  7/13/2014 10:11:15 PM (2014-07-13 22:11:15 UTC)     8/10/2013 12:55:48 AM (2013-08-10 00:55:48 UTC)
wkscll.dll                                                                 7/13/201410:11:15 PM (2014-{)7-13 22:11:15 UTC)     8/22/201312:41:47 PM (2013-08-2212:41:47 UTC)
uxtheme.dll                                                                7/13/201410:11:15 PM (2014-07-13 22:11:15 UTC)      3/18/2014 10:08:35 AM (2014-03-18 10:08:35 UTC)
powrprof.dll                                                               7/13/201410:11:15 PM (2014-07-H 22:11:15 UTC)       3/18/201410:08:13 AM (2014-03-1810:08:13 UlC)
wtsapl32.dll                                                               7/13/201410:11:15 PM (2014·07·13 22:11:15 UTC)      8/22/2013 12:34:13 PM (2013-08-22 12:34:13 UTC)
srvcll.dll                                                                 7/13/2014 10:11:15 PM (2014-07-13 22:11:15 UTC)     8/22/2013 12:41:47 PM (2013-08·2212:41:47 UTC)
logoncli.dll                                                               7/B/2014 10:11:15 PM (2014-07-13 22:11:15 UTC)      8/22/2013 10:02:45 AM (2013-08-2210:02:45 UTC}
netutlls.dll                                                               7/13/201410:11:15 PM (2014-07-13 22:11:15 UTC)      8/22/2013 12:41:44 PM (2013-08-22 12:41:44 UTC)
netapi32.dll                                                               7/13/201410:11:15 PM (2014-07-13 22:11:15 UTC)      8/22/2013 12:41:42 PM (2013-08-2212:4U2 UTC)
nmdl.dll                                                                   7/13/201410:11:15 PM (2014-{17-13 22:11:15 UTC)     8/22/2013 10:03:21 AM (2013-08-2210:03:21 UTC)
adsJdpc.dll                                                                7/13/2014 10:11:15 PM (2014-07-13 22:11:15 UTC)     8/22/2013 11:31:20 AM (2013-08-2211:31:20 UTC)
actlveds.dll                                                               7/13/2014 10:11:15 PM (2014-07-13 22:11:15 UTC)     8/22/2013 9:13:49 AM (2013-08·22 09:13:49 UTC)
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srvdl.dll                                                                  7/13/201410:11:15 PM (2014-07-13 22:11:15 UTC)      8/22/2013 12:41:47 PM (2013-08-22 12:41:47 UTC)
samctl.dll                                                                 7/13/2014 10:11:15 PM (2014-07·13 22:11:1 5 UTC)    8/22/2013 10:03:21 AM (2013-Q8-2210:03:21 UTC)
powrprof.dll                                                               7/13/201410:11:15 PM (2014-07-13 22:11:15 UTC)      3/18/201410:08:13 AM (2014·03--1810:08:13 UTC)
netutlls.dll                                                               7/13/201410:11:15 PM (2014-07-13 22:11:15 UTC)      8/22/2013 12:41:44 PM (2013·08·2212:41:44 UTC)
netapl32.dll                                                               7/13/201410:11:15 PM (2014·07-13 22:11:15 UTC)      8/22/2013 12:41:42 PM (2013-08·22 12:41:42 UTC)
logoncll.dll                                                               7/13/2014 10:11:15 PM (2014-07·13 22:11:15 UTC)     8/22/2013 10:02:45 AM (2013-08·22 10:02:45 UTC)
adsldpc.dll                                                                7/13/2014 10:11:15 PM (2014-07-13 22:11:15 UTC)     8/22/2013 11:31:20 AM (201J..08-22 11:31:20 UTC)
activeds.dll                                                               7/13/201410:11:15 PM (2014-07-13 22:11:15 UTC)      8/22/2013 9:13:49 AM (20B-08-22 09:13:49 UTC)
FAIEExtcnslon.dll                                                          7/13/2014 10:11:15 PM (2014-{17-13 22:11:15 UTC)    5/8/2013 5:15:24 PM (2013-05-08 17:15:24 UTC)
FAConslfOLL.dll                                                            7/13/201410:11:15 PM (2014-07-13 22:11:15 UTC)      5/8/2013 5:14:56 PM (2013-05-0817:14:56 UTC)
System.Windows.Forms.dll                                                   7/13/2014 10:11:15 PM (2014-07·13 22:11:15 UTC)     8/10/201312:55:48 AM (2013-08-10 00:55:48 UTC)
System.Windows.Forms.dll                                                   7/13/2014 10:11:15 PM (2014-07-13 22:11:15 lJTC)    8/10/201312:55:48 AM (2013-08-10 00:55:48 UTC)
UPPMX.dll                                                                  7/13/201410:11:15 PM (2014-07-13 22:11:15 UTC)      5/8/2013 5:01:58 PM (2013-05-0817:01:58 UTC)
clrjlt.dll                                                                 7/13/2014 10:11:15 PM (2014-07-13 22:11:15 UTC)     3/18/201410:09:01 AM (2014-03-1810:09:01 UTC)
rsaenh.dll                                                                 7/13/201410:11:15 PM (2014-07-13 22:11:15 UTC)      8/22/201312:41:46 PM (2013-08·22 12:41:46 UTC)
kernel.appcore.dll                                                         7/13/201410:11:15 PM (2014-07-13 22:11:15 UTC)      8/22/201312:45:58 PM (2013·08-2212:45:58 UTC)
cryptsp.dll                                                                7/13/2014 10:11:15 PM (2014-{)7-13 22:11:15 UTC)    8/22/2013 12:41:39 PM (2013-08·22 12:41:39 UTC)
cryptbase.dll                                                              7/13/2014 10:11:15 PM (2014-0H3 22:11:15 UTC)       8/22/2013 1:25:35 PM (2013·08-22 13:25:35 UTC)
bcryptprlmltlves.dll                                                       7/13/201410:11:15 PM (2014-07-13 22:11:15 UTC)      3/18/201410:08:13 AM (2014-03-1810:08:13 UTC)
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cryptsp.dll                                                                7/1.3/201410:1.1:15 PM (2014-07-1.3 22:11:15 UTC)   8/22/201312:41:39 PM (2013-08-2212:41:39 UTC)
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cryptbase.dll                                                           7/13/201410:11:15 PM (2014.C7-13 22:11:15 UTC)     8/22/2013 1:25:35 PM (2013-CS-22 13:25:35 UTC)
bctyptprimilives.dll                                                    7/13/2014 10:11:15 PM (2014-C?-13 22:11:15 UTC)    3/18/2014 10:08:13 AM (2014.C3-18 10:08~1.3 UTC)
bcrypt.dll                                                              7/13/201410:11:15 PM (2014.C7-13 22:11:15 'UTC)    3/18/2014 10:08:14 AM (2014-C3-18 10:08~4 UTC)
clrjit.dll                                                              7/13/201410:11 :15 PM (2014-.07-13 22:11:15 UTC)   3/18/2014 10;09:01 AM (2014-C3-18 10:09:01 UTC)
System.Windows.Forms                                                    7/13/201410:11:15 PM (2014-C7-13 22:11:15 UTC)     5/16/2014 6:10:37 AM (2014-CS-1606:10:37 UTC)
System. Wlndows.Forms.ni.dll.aiiX                                       7/13/2014 10:11:15 PM (2014-C?-13 22:11:15 UTC)    5/16/2014 6:08:57 AM (2014-C5-16 06:08:57 UTC)
System.Windows.Forms.nl.dll                                             7/l3/2014 10:11:15 PM (2014.C7-13 22:11:15 UTC)    5/16/2014 6:08:57 AM (2014-.05-16 06:08:57 UTC)
System.Drawing                                                          7/13/201410:11t15 PM (2014-07-13 22::1.1:15 UTC)   5/16/2014 6:10:37 AM (2014-05-1606:10:37 UTC)
5ystem.Drawing.nl.dll.aux                                               7/13/2014 10:11:15 PM (2014-.07-13 22:11:15 UTC)   5/16/2014 6:08:13 AM (201.4-C5-16 06:08:13 UTC)
System.Drawing.nl.dll                                                   7/13/2014 10:11:15 PM (2014-C7-13 22:11:15 UTC)    5/16/2014 6:08:13 AM (2014.C5-16 06:08:13 UTC)
System                                                                  7/13/201410:11:15 PM (2014-C7-13 22:11:15 UTC)     5/16/2014 6:07:07 AM (2014-C5-16 06:07:07 UTC)
System.nl.dil.aux                                                       7/13/2014 10:11:15 PM (2014-C7-13 22:11:15 UTC)    5/16/2014 6:07•07 AM (2014-.05-16 06:07:07 UTC)
System.nl.dil                                                           7/13/2014 10:11:15 PM (2014-C7-13 22:11:15 UTC)    5/16/2014 6:07:07 AM (2014-05·16 06;07:07 UTC)
FAsvif.dll                                                              7/13/2014 10:11:15 PM (201W7-l3 22:11:15 UTC)      5/8/2013 5:01:14 PM (2013.C5.CS 17:01:14 UTC)
mscorllb.ni.dll                                                         7/13/201410:1:1.:15 PM (2014-07-13 22:11:15 UTC)   3/18/201410:09:01 AM (201W3-1810:09:01 UTC)
mscorlib.ni.dll                                                         7/13/201.410:11:15 PM (2014.C7-13 22:11:15 UTC)    3/18/201410:09:01 AM (201W3-1810:09:01 \JTC)
machine.conllg                                                          7/13/201410:11:15 PM (201W7-l3 22:11:15 UTC)       8/1.1/2013 3:34:53 PM (20l3.CS-2215:34;53 UTC)
mscorlib                                                                7/13/201410:l.1:15 PM (201W7-l3 22:11:15 UTC)      3/18/201410:33:23 AM (2014-03-1810:33:23 UTC)
mscorlib.nl.dll                                                         7/13/201410:11:15 PM (2014.C7-l3 22:11:15 UTC)     3/18/201410:09:01 AM (2014.C3-1810:09:01 UTC}
mscorllb.nl.dll.aw<                                                     7/13/201410:11:15 PM (2014-07-13 22:11:15 UTC)     3/18/201410:33:23 AM (2014-03-1810:33:23 UTC)
msvcrl.20_clr0400.dll                                                   7/13/2014 10:11:15 PM (201W7-13 22:11:15 UTC)      8/10/2013 U :42:57 AM (2013·08-10 00:42:57 UTC)
mscoreel.djl                                                            7/13/201410:11:15 PM (201W7-13 22:11:15 UTC)       3/18/2014 10:09:01 AM (2014-03-1810:09:01 UTC)
clr.dll                                                                 7/:1.3/2014 10:11:15 PM (201W7-13 22:11:15 UTC)    3/18/201410:09:01 AM (2014-03-1810:09:01 UTC)
combase.dll                                                             7/13/201410:11:15 PM (2014.C7-13 22:11:15 UTC)     3/18/201410:08:13 AM (2014-03-1810:08:13 UTC)
msvcr120_clr0400.d il                                                   7/13/201410:11:15 PM (2014-07-13 22:11:15 UTC)     8/10/2013 12:42:57 AM (2013-08-10 00:42:57 UTC)
combase.dll                                                             7/13/201410:11:15 PM (2014.C7-13 22:11:15 UTC)     3/18/201410:08:13 AM (201W3-1810:08:13 UTC)
Framework64                                                             7/13/201410:11:15 PM (2014.C7-13 22:11:15 UTC)     5/15/2014 8:52:12 PM (2014-05-15 20:52:12 UTC)
5130                                                                    7/13/201410;:U:15 PM (2014-07-13 22:11:15 UTC)     5/15/2014 8:52:12 PM (2014-05-15 20:52:12 UTC)
$TXF_DATA                                                               7/13/201410:11:15 PM (2014·07·13 22:11:15 UTC)     5/15/2014 8:52;12 PM (2014..05-15 20:52:12 UTC)
v4.0.30319                                                              7/13/201410:11:15 PM (201W7-l3 22:11:15 UTC)       5/23/2014 12:46:55 AM (2014-05·23 00:46:55 UTC)
$130                                                                    7/13/201410:11:15 PM (2014-07-13 22:11:15 UTC)     5/23/2014 12:46:55 AM (2014-05-23 00:46:55 UTC)
STXF_DATA                                                               7/13/201410:11:15 PM (2014-07-13 22:ll:l5 UTC)     5/23/2014 12:46:55 AM (2014-CS-23 00;46:55 UTC)
mscoreei.dll                                                            7/13/201410:11:15 PM (2014-07-13 22:11:15 UTC)     3/18/201410;09:01 AM (2014-03-1810:09:01 UTC)
clr.dll                                                                 7/13/2014 10:11:15 PM (2014-07-13 22:11:15 UTC)    3/18/2014 10:09:01 AM (201W3-l810:09:0l UTC)
mscoree.dll                                                             7/13/2014 10:11:15 PM (2014-C7-13 22:11:15 UTC)    8/22/2013 11:04:01 AM (2013.CS-22 11:04:01 UTC)
sechost.dll                                                             7/13/201410:11:15 PM (20l.W7·13 22:11:15 UTC)      8/22/2013 1:25:35 PM (2013-08-22 13:25:35 UTC)
sechost.dll                                                             7/13/2014 10:11:15 PM (2014-07-13 22:11:15 UTC)    8/22/2013 1:25:35 PM (2013-08-22 13:25:35 UTC)
IT1Scoree.dll                                                           7/13/201410:11:15 PM (2014-07-13 22:11:15 UTC)     8/22/201311:04:01AM (2013.C8-2211:04:01lJTC)
[roor)                                                                  7/13/2014 10:11:15 PM (2014-07-13 22:11:15 lJTC)   6/27/2014 12:45;55 PM (2014-06-2712:45:55 lJTC)
$130                                                                    7/13/201410:11:15 PM (2014-07-13 22:11:15 UTC)     6/27/201412;45;55 PM (201W6-2712:45:55 UTC)
STXF_DATA                                                               7/13/2014 10:11:15 PM (2014-C?-13 22:l.1:15 UTC)   6/27/2014 12:4-5:55 PM (2014-06·.2712:45:55 UTC)
Program Files (x86)                                                     7/13/2014 10:11:15 PM (201W7-13 22:11:15 UTC)      6/22/2014 5:17:1.9 PM (2014-C&-22 17:17:19 UTC)
$130                                                                    7/13/201410:l.1:15 PM (201W7-13 22:11:15 UTC)      6/22/2014 5:17:19 PM (2014-C&-22 17:17:19 UTC)
$TXF_DATA                                                               7/13/201410:11:15 PM (201W7-13 22:11:15 UTC)       6/1.1/2014 5:17:19 PM (2014-06-2217:17:19 UTC)
desktop,ini                                                             7/13/201410:11:15 PM (2014-C7-13 22:11:15 UTC)     8/22/2013 3:34:52 PM (2013.C8-2215:34:52 UTC)
Sensible Vision                                                         1/13/201410:.1 1:15 PM (2014·07-13 22:11:15 UTC)   6/17/2013 7:10:l8 PM (2013-06-17 19:10:28 UTC)
Fast Access                                                             7/13/2014 10:11:15 PM (201W7-13 22:11:15 UTC)      6/27/2014 12:45:58 PM (2014-C&-27 12:45:58lJTC)
$130                                                                    7/13/201410:11:15 PM (201W7-l3 22:11:15 UTC)       6/27/201A 12:45·58 PM (2014-C&-2712:45:58 UTC)
7B8944BA8ADOEFDFOE01A43EF628ECD0_18BA9A4F8F3FF4600921860370£28FD4       7/13/201410:11:15 PM (2014.C7-13 22:11:15 UTC)     7/4/2014 2:08:34 PM (201W7.C414:08:34lJTC)
7026609El.E69FA1EEFB9699B009834C8_0A9BFOD758598C2110CBF6l.OC078E6E6     7/13/201410:11:15 PM (201W7-l3 22:11:15 UTC)       7/4/20141:28:56 PM (201W7..0413:28:56 UTC)
Meta Data                                                               7/13/2014 10:11:15 PM (2014.C7-13 22:11:15 UTC)    6/14/2014 6:50:46 AM (2014-CG-14 06:50:46 UTC)
$130                                                                    7/13/2014 10:11:15 PM (201W7-13 22:11:15 UTC)      6/14/2014 6:50:46 AM (2014-CG-14 06:50:46 UTC)
                                    Case 2:11-cr-00070-RAJ Document 427-16 Filed 09/08/16 Page 10 of 41


7B8944BA8AOOEFOFOE01A43Ef62BECOO_lBBA9A4FSF3FF4600~2186D370E28F04     7/13/201410:11:15 PM (2014-07-13 22:11:15 UTC)      7/4/2014 2:08:34 PM (2014-0HJ414:08:34 UTC)
7D26609E1E69FA1EEFB9699B009B34C8_0A9BFDD7SB598C2110CBF610C078E6E6     7/13/201410:11:15 PM (2014-07-13 22:11:15 UTC)      7/4/20141:28:56 PM (2014•07-D413:28:56 UTC)
Ec:oCalc.exe                                                          7/1'3/201410:11:15 PM (2014-07-13 22:11:15 UTC)     5/8/2013 5:02:08 PM (2013-DS-0817:02:08 UTC)
sleepstudy-trace-2014-07- 14-00-45-12.etJ                             7/13/2014 8:45:12 PM (2014-07-13 20:45:12 UTC)      7/13/2014 8:45:12 PM (2014-Q7-13 20:45:12 UTC)
Wd1Contextlo~.eti.002                                                 7/13/2014 8:45:12 PM (2014-07-13 20:45:12 UTC)      6/27/201412:45:52 PM (2014-0&-27 12:45:52 UTC)
snapshot.etl                                                          7/13/2014 8:45:12 PM (2014-07-13 20:45:12 UTC)      6/27/201412:45:52 PM (2014-0&-27 12:45:52 UTC)
dynreservedprLdb                                                      7/13/2014 8:07:58 PM (2014-07-13 20:07:58 UTC)      7/3/2014 9:15:00 PM (2014-07..03 21:15:00 UTC)
systemsf.ebd                                                          7{13/2014 8:07:58 PM (2014-07-13 20:07:58 UTC)      3/18/2014 10:08:2.2 AM (2014-03-18 10:08:22 UTC)
systemsf.ebd                                                          7/13/2014 8:07:58 PM (2014-07-13 20:07:58 UTC)      3/18}2014 10:08:22 AM (2014-03-18 10:08:22 UTC)
EMSystemWideDataStor1!_OO.PTF                                         7/13/2014 2:34:35 PM (2014-07-1314:34:35 UTC)       7/13/2014 2:34:35 PM (2014-07-1314:34:35 UTC)
McSvHost001.1og                                                       7/13/2014 2:02:33 PM (2014-07·1314:02:39 UTC)       7/13/2014 2:02:33 PM (2014-07•13 14:02:33 UTC)
ntshrul.dll                                                           7/13/201412:31:17 PM (2014-07-1312:31:17 UTC)       3/18/201410:08:95 AM (2014-Q3-1810:08:35 UTC)
ntshrul.dll                                                           7/13/201412:31:17 PM (2014-07-1312:31:17 UTC)       3/18/2014 10:08:35 AM (2014-03-18 10:08:35 UTC)
avlcap32.dll                                                          7/13/201412:31:16 PM (2014..07-1312:31:16 UTC)      8/22/2013 11:26:07 AM (2013-08-22 11:26:07 UTC)
System32                                                              7/13/201412:31:16 PM (2014-07-1312:31:16 UTC)       6/27/2014 U ;S2:13 PM (2014-0&-27 12:52:13 UTC)
$130                                                                  7/13/201412:31:16 PM (2014-07-1312:31:16 UTC)       6/27/2014 U :52;13 PM (2014-0&-2712:52:13 UTC)
STXF_DATA                                                             7/13/201412:31:16 PM (2014-07-1312:31:16 UTC)       6/27/2014 12:52:13 PM {2014-0&-27 12:52:13 UTC)
avicap32.dll                                                          7/13/2014 12:31:16 PM (2014-07-13 12:31:16 UTC)     8/22/2019 11:26:07 AM (2013..08-22 11:26:07 UTC)
FAService.exe                                                         7/13/2014 12.:33.:16 PM (2014-07·13 12:31:16 UTC)   5/8/2013 5:15:06 PM (2013..05-0817:15:06 UTC)
wpnsruprov.dll                                                        7/13/201410:09:04 AM (2014-07-1310:09:04 UTC)       8/22/2013 9:53:32 AM (2013-08-22 09:53:32 UTC)
wpnsruprov.dll                                                        7/13/201410:09:04 AM (2014-07-1310:09:04 UTC)       8/22/2013 9:53:32 AM (2013-08-22 09:53:32 UTC)
bltsperl.dll                                                          7/13/2014 8:39:21 AM (2014-07-13 08:39:21 UTC)      8/2.2 /2013 10:09:10 AM (2013-08-22 10:03:10 UTC)
bltsperf.dll                                                          7/13/2014 8:39:21 AM (2014-07-13 08:39:21 UTC)      8/22/203.3 10:03:10 AM (2013-08-22 10;03:10 UTC)
sysntfy.dll                                                           7/13/2014 8:38:49 AM (2014-07·19 08:38:49 UTC)      8/22/2013 10:02:50 AM (2013..08-22 10:02:50 UTC)
sysntfy.dll                                                           7/13/2014 8:38:49 AM (2014-07-13 08:38:49 UTC)      8/22/2013 10:02:50 AM (2013-08-22 10:02:50 UTC)
browser.dll                                                           7/13/2014 8:38:49 AM (2014-07-13 08:38:49 UTC)      8/22/2013 10:00:58 AM {2013-08·22 10:00:58 UTC}
browser.dll                                                           7/13/2014 8:38:49 AM (2014-07-13 08:38:49 UTC)      8/22/2013 10:00:58 AM (2013-08-22 10:00:58 UTC}
McSvHost                                                              7/13/2014 8:38:49 AM (2014-07-13 08;38:49 UTC)      5/17/2014 6:37:36 PM (2014-05-1718:37:36 UTC)
$130                                                                  7/13/2014 8:38:49 AM (2014-07-13 08:38:49 UTC)      S/17/2014 6:37:36 PM (2014-05·17 18:37:36 U'TC)
McSvHosiOOO.Iog                                                       7/13/2014 8:38:49 AM (2014-07·13 08:38:49 l!TC)     7/13/2014 8:38:49 AM (2014-07-13 08:38:49 UTC)
log.lnl                                                               7/13/2014 8:38:49 AM (2014-07-U 08:38:49 UTC)       1/6/201411:08:12 PM (2014-07..06 23:08:12UTC)
msxml6.dll                                                            7/13/2014 8:38:49 AM (2014-07-11 08:38:49 UTC)      5/15/2014 8:56:35 PM (2014-05-15 20:56:35 UTC)
msxml6.dll                                                            7/13/2014 8:38:49 AM (2U14-07·13 08:38:49 UTC)      5/15/2014 8:56:35 PM (2014-05-15 20:56:35 UTC)
msc                                                                   7/13/2014 8:38:49 AM (2014-07·13 08:38:49 UTC)      7/6/2014 11:08:19 PM (2014-07..06 23:08:19 UTC)
$130                                                                  7/13/2014 8:38:49 AM (2014-07·13 08:38:49 UTC)      7/6/201411:08:19 PM (2014-07-DG 23:08:19 UTC)
mcsubmgr.dll                                                          7/13/2014 8:38:49 AM (2014-07-13 08:38:49 UTC)      4/28/2014 9:19:30 AM (2014-04-28 09:19:30 UTC)
mccoreps.dll                                                          7/13/2014 8:38:49 AM (2014-07-13 08:38:49 UTC)      7/30/2013 9:2€:56 AM (2013-07·30 09:26:56 lJTC)
12,8,958,0                                                            7/13/2014 8:38:49 AM (2014-07-13 08:38:49 UTC)      5/23/2014 4:58:55 PM (2014-05-23 16:58:55 UTC)
Temp                                                                  7/13/2014 8:38:49 AM (2014-07·13 08:38:49 UTC)      7/13/2014 8:38:49 AM (2014-07-13 08:38:49 UTC)
$130                                                                  7/13/2014 8:38:49 AM (2014-07-13 08:38:49 UTC)      7/13/2014 8:38:49 AM (2014-07-13 08:38:49 UTC)
MPF                                                                   7/13/2014 8:38:49 AM (2014-07-13 08:38:49 UTC)      7/13/2014 8:38:49 AM (2014-07·13 08:38:49 UTC)
mpf.dat                                                               7/13/2014 8:38:49 AM (2014-07-13 08:38:49 UTC)      7/13/2014 8:38:49 AM (2014-07-13 08:38:49 UTC)
mpf.dat.TMP                                                           7/13/2014 8:38:49 AM (2014-07-13 08:38:49 UTC)      7/13/2014 8:38:49 AM (2014-07-13 08:38:49 UTC)
Mpf£vt.dll                                                            7/13/2014 8:38:49 AM (2014-07-13 08:38:49 UTC)      3/24/201410:51:20 PM (2014-03-24 22:51:20 UTC)
McEvtBrk.dll                                                          7/13/2014 8:38:49 AM (2014-07-13 08:38:49 UTC)      7/30/2013 9:26:42 AM (2013-07-30 09:26:42 UTC)
mpf                                                                   7/l3/2014 8:38:49 AM (201.4-07-13 08:38:49 UTC)     6/4/201412:28:39 PM (2014.06..0412:28:39 UTC)
$t30                                                                  7/13/2014 8:38:49 AM (2014-07-13 08:38:49 UTC)      6/4/2014 12:28:39 PM (2014-06-04 12:28:39 UTC)
core                                                                  7/13/2014 8:38:49 AM (2014-07·13 08:38:49 UTC)      5/15/201411:01:44 AM (2014-05·1511:01:44 UTC)
goopdateres_ru.dll                                                    7/13/2014 8:18:48 AM (2014-07·13 08:18:48 UTC)      6/22/2014 5:05:29 PM (2014-06·22 17:05:29 UTC)
oleaut32.dll                                                          7/13/2014 8:18:48 AM (2014-07-13 08:18:48 UTC)      3/lB/2014 10:08:14 AM (2014-03-18 10:08:14 UTC)
SysWOW64                                                              7/13/2014 8:18:48 AM (2014-07·13 08:18:48 UTC)      6/lB/201411;26:16 AM (2014-06·1811:26:16 UTC)
$130                                                                  7/13/2014 8:18:48 AM (2014-07-13 08:18:48 UTC)      6/18/201411:26;16 AM (2014-06·1811:26:16 UTC)
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$TXF_DATA                                                                                7/13/2014 8:18:48 AM (2014-07-13 08:18:48 UTC)     6/18/201411:26:16 AM (2014-06·18 11:26:16 UTC)
oleaut32.dll                                                                             7/13/2014 8:18:48 AM (2014-07-13 08:18:48 UTC)     3/18/201410:08:14 AM (2014-03-18 10:08:U UTC)
Google                                                                                   7/13/2014 8:18:48 AM (2014-07-13 08:18:48 UTC)     6/22/2014 5:17:11 PM (2014-06·22 17:17:11 UTC)
nrdll.dll                                                                                7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     3/18/201410:08:13 AM (2014-03-1810:08:13 UTC)
ntdll.dll                                                                                7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     3/18/201410:08:13 AM (2014-03-18 10:08:13 UTC)
Update                                                                                   7/13/2014 6 :18:37 AM {2014-07-13 06:18:37 UTC)    6/22/2014 5:05:30 PM (2014-D6-2217:0S:30 UTC)
Windows Journal.lnk                                                                      7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     8/22/2013 6:50:24 AM (2013-08-22 06:50:24 UTC)
Character Map.lnk                                                                        7/13/201A 6:18:37 AM {2014-07-13 06:18:37 UTC)     8/22/2013 6:57:25 AM (2013-08-22 06:57:25 UTC)
0-E>-Ell!f)~DI.Lil~fll.tll< O~O~El' Eli!El9NB'                                           7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     5/17/201412:31:04 PM (2014-05-1712:31:04 UTC)
DIN,N€El'O~D.fho• 0.0H01JEl~01JDXN,0~01 o · oXD' D1J02NO' O'O»N Internet El(plorer.lnk   7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     S/17/201412:31:04 PM (2014-DS-17 U:31:04 UTC)
0JN€Ell!f)'NN,01D• Office 2013                                                           7/ 13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)    5/19/2014 12:22:49 PM (2014·05·1912:22:49 UTC)
O"O·NID20~0 1 Nc01J DLD'N€0'El~DI!r:l.f'l€N< Office 2013.lnlc                            7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     5/19/2014 12:22:49 PM (2014-05-1912:22:49 UTC)
ElI Di!D~N,N£ D~N,DLN€D'Otovo, Office 2013.1nk                                           7/13/2014 6:18:37 AM (2014-07·13 06:18:37UTC)      5/19/201412:22:49 PM (2014-05-1912:22:49 UTC)
Tablet PC                                                                                7/13/2014 6:18:37 AM (2014-07·13 06:18:37 UTC)     3/18/2014 9:39:32 AM (2014-DH8 09:39:32 UTC)
WlndowsJournal.lnk                                                                       7/13/2014 6:18:37 AM (2014-07·13 06:18:37 UTC)     8/22/2013 6:50:24 AM (2013-08-22 06:50:24 UTC)
System Tools                                                                             7/13/2014 6 :18:37 AM (2014-07·13 06:18:37 UTC}    8/22/2013 3:36:48 PM (2013-08-22 15:36~48 UTC}
Character Map.lnk                                                                        7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     8/12/2013 6:57:25 AM (2013-D8-2.2 06:57:25 UTC)
lntei(R) WIDl                                                                            7/13/2014 6:18:37 AM (201407-13 06:18:37 UTC)      5/15/2014 9:01:11 PM (2014-05-15 21:01:11 UTC)
lntei(R) WiDUnk                                                                          7/13/2014 6:18:37 AM (2014-07·13 06:18:37 UTC)     6/17/2013 7:19:09 PM (20B-D6-1719:19:09UTC)
Default Programs. Ink                                                                    7/13/20l.4 6:18:37 AM (2014-07·13 06:18:37 UTC)    8/22/2013 6:47:46 AM (2013·08-22 06:47:46 UTC)
Windows Ea.sy Transfer.lnk                                                               7/13/20'14 6:18:37 AM (2014-07-13 06:18:37 UTC)    8/22/2013 6:53:22 AM (2013-08-22 06:53:22 UTC)
Task Manager.lnk                                                                         7/13/2014 6:18:37 AM (2014-07·13 06:18:37 UTC)     8/22/2013 6:52:37 AM (2013-DB-22 06:52:37 UTC)
O"O!ISO'OI!f)2N                                                                          7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     5/17/2014 U: 31:04 PM (201A-05-1712:31:04 UTC)
Tablet PC                                                                                7/13/2014 6:18:37 AM (201A-07-13 06:18:37 UTC)     3/18/201.4 9:3.9:32 AM (2014-03-18 09:39:32 UTC)
System Tools                                                                             7/13/2014 6:18:37 AM (201A-07-13 06:18:37 UTC)     3/18/201410:29:46 AM (2014-03-18 10:29:46 UTC)
$130                                                                                     7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     3/18/2014 10;29:46 AM (2014-03-18 10:29:46 UTC)
Windows PowerShell.lnk                                                                   7/13/2014 6:18:37 AM (2014"07-13 06:18:37 UTC)     8/22/2013 3:34:52 PM (2013-08·22 15:34:52 UTC)
Task Manager.lnk                                                                         7/13/2014 6:18:37 AIYI (2014-07-13 06:18:37 UTC)   8/22/2013 6:52:37 AM (2013-08·22 06:52:37 UTC)
Windows EasyTransfer.lnk                                                                 7/13/2014 6:18:37 AM (2014-07·13 06:18:37 UTC)     8/22/2013 6:53:22 AM (2013·08·22 06:53:22 UTC)
Default Programs. Ink                                                                    7/'13/2014 6:18:37 AM (2014-07·13 06:18:37 UTC)    8/22/2013 6:47:46 AM (2013-08·22 06:47:46 UTC)
StartUp                                                                                  7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     5/15/2014 9:01:11 PM (2014-05-15 21:01:11 UTC)
McAfee Parental Controls,lnk                                                             7/13/2014 6:18:37 AM {2014-07-13 06:18:37 UTC)     5/15/201411:01:48 AM (2014-05-15 11:01:48 UTC)
WinRAR                                                                                   7/13/201A 6:18:37 AM {2014-07-13 06:18:37 UTC)     5/15/2014 9:01:11 PM (2014-05-15 21:01:11 UTC)
$130                                                                                     7/13/2014 6:18:37 AM (2014-07·1.3 06:18:37 UTC)    5/15/2014 9:01:11 PM {2014-0S-15 21:01:11 UTC)
What is new in the latest version.lnk                                                    7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     S/15/20M 9:40:38 AM (2014-05-15 09:40:38 UTC)
Console RAR manual.lnk                                                                   7/13/2014 6:18:37 AM (2014-07·13 06:18:37 UTC)     5/15/2014 9:40:38 AM (2014-05-15 09!40:38 UTC)
WinRAR help.lnk                                                                          7/13/2014 6:18:a? AM (2014·07-13 06:18:37 UTC)     S/15/2014 9:40:38 AM (2014-DS-15 09:40:38 UTC)
WinRAR.I!lk                                                                              7/13/2014 6:18:37 AM (2014-07·13 06:18:37 UTC)     5/15/2014 9:40:38 AM (2014-05-15 09:4.0 :38 UTC)
VAIOC3re                                                                                 7/13/2014 6:18:37 AM (2014-07-13 06:18;37 UTC)     5/15/2014 9:01:11 PM (2014-05-15 21:01:11 UTC)
VAJO care (Oesktop).lnk                                                                  7/13/2014 6:18:37 AM (2014-07·13 06:18;37 UTC)     6/17/2013 7:16:16 PM (2013-06-1719:16:16 UTC)
TuukieC~t                                                                                7/13/2014 6:18:37 AM (2014-07·13 06:18;37 UTC)     S/15/2014 9 :01:11 PM (2014-05-15 21:01:11 UTC)
o~OJ.!O,O!IS/illii,O'O•D•O.N€0%tlto'N,NCE Tuukle Chatlnk                                 7/13/2014 6:18:37 AM (2014-07·13 06:l8:37 UTC)     5/15/201410:10:38 AM (2014-05-1510:10:38 UTC)
Tuulde Chat.lnk                                                                          7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     5/15/2014 10:10:19 AM (2014-DS-15 10:10:19 UTC)
Psi+                                                                                     7/13/2014 6:18:37 AM (20M-07-13 06:18:37 UTC)      S/15/2014 9:01:11 PM (2014-05-15 21:01:11 UTC)
$130                                                                                     7/13/2014 6t18:37 AM (2014.07-13 06:18:37 UTC)     5/15/2014 9:01:11 PM (2014-05-15 21:01:11 UTC)
Webslte.lnk                                                                              7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC}     5/15/2014 9:51:30 AM (2014-05-15 09:51:80 UTC)
Unlnstall.lnk                                                                            7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     5/15/2014 9:51:51 AM (2014-05-15 09:51:51 UTC)
Changelog.lnk                                                                            7/13/20U 6:18:37 AM (2014-07-13 06:18:37 UTC)      5/15/2014 9:51:30 AM (2014-05-15 09:51:30 UTe)
Psi+ Portable.lnk                                                                        7/B/2014 6:18:37 AM (2014-07·13 06:18:37 UTC)      5/15/2014 9:51:30 AM (2014-05-15 09:51:30 UTC)
Psl+.lnk                                                                                 7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     S/15/2014 9:51:30 AM (2014-05-15 09:51:30 UTC)
PlayMemories Home                                                                        7/13/2014 6 :18:37 AM (2014-07-13 06:18:37 UTC)    5/1S/20U9:01:11 PM (2014-DS-15 21:01:11 UTC)
$130                                                                                     7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     5/15/201.4 9:01:11 PM (2014-05·15 21:01:11 UTC)
                                           Case 2:11-cr-00070-RAJ Document 427-16 Filed 09/08/16 Page 12 of 41


tl!Ot.N€0'El~D90' PlayMemories Home.lnl<                                                           7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     6/17/2013 7:05:24 PM (2013~6-1719:05:24 UTC)
O'OJ.iNN,N€N[DY.I01JD>SN, D.O~D ,NtO.O'O»O.O·O'fho.o. 01-\0'NN,NE:DI'D!JO~ PlayMemories Home.lnk   7/13/2014 6:18:37 AM (2014-07·13 06:18:37 UTC)     6/17/2013 7:05:24 PM (2013-06·1719:05:24 UTC)
PlayMemorles Home.lnk                                                                              7/13/2014 6:18:37 AM (2014~7·13 06:18:37 UTC)      6/17/2013 7:05:24 PM (2013-06-17 19:05:24 VTC)
OneCiick Internet                                                                                  7/13/201A 6:18:37 AM (2014-07·13 06:18:37 UTC)     5/15/2014 9:01:11 PM (2014-05·15 21:01:11 UTC)
O£D'O'D•D.N,f.ICE OneCilck lntemet.lnk                                                             7/13/2014 6:18:37 AM (2014-07·13 06:18:37 UTC)     6/17/2013 7:16:57 PM (2013·06-17 19:16:57 UTC)
OneCilck lnternet.lnk                                                                              7/13/2014 6:18:37 AM (2014-07·13 06:18:37 UTC)     6/17/2013 7:11:47 PM (2013.()6-1719:11:47 UTC)
NXPProxlmltylnstal ler                                                                             7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     5/15/201'4 9:01:11 PM (2014..()5-15 21:01:11 UTC)
Uninstall NXPProxlmitylnstaller.luk                                                                7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     5/16/2014 4:35:58 AM (2014-05-16 04:35:58 UTC)
Multi Bit                                                                                          7/13/2014 6:18:37 AM (2014-07·13 06:18:37 UTC)     5/15/2014 9:01:11 PM (2014-05-15 21:01:11 UTC)
Uninstall MultiBit 0.5.18.1nk                                                                      7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     5/15/2014 12:26:31 PM (2014-05-1S 12:26:31 UTC)
OOBC Data Sources (32-bit).lnk                                                                     7/13/2014 6:18:37 AM (2014-07·13 06:1.8 :37 UTC)   8/21/201311:56:13 PM (2013-08-21 23:56:13 UTC)
Task Scheduler.lnk                                                                                 7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     8/22,/2013 6:55:24 AM (2013~8-22 06:55:24 UTC)
Windows Firewall with Advanced Securlty.lnk                                                        7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     8/22/2013 6:45:04 AM (2013~8·22 06:45:04 UTC)
services.lnk                                                                                       7/13/2014 6:18:37 AM (2014-07·13 06:18:37 UTC)     8/22/2013 6:54:57 AM (2013-08·22 06:54:57 UTC)
Security ConfiguratJon Management. Ink                                                             7[ 13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)    8/22/2013 6:54:58 AM (2013-08-22 06:54:58 UTC)
Windows PowerSheiiiSE (x86).1nk                                                                    7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     8/22,/2013 6:55:56 AM (2013-08·22 06:55:S6 UTC)
Windows PowerShell ISE.Ink                                                                         7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     8/22/2013 6:SS:56 AM (2013~8-22 06:55:56 UTC)
Resource Monitor Jnk                                                                               7/13/2014 6:18:37 AM (2014~7-13 06:18:37 UTC)      8/22/2013 6:$2:38 AM (2013~8-22 06:52:38 UTC)
Performs nee Monitor.lnk                                                                           7/13/2014 6:18:37 AM (2014~7-13 06:18:37 UTC)      8/22/2013 6:51:38 AM (2013..()8-2206:52:38 UTC)
Print Management.lnk                                                                               7/13/2014 6:18:37 AM (2014-07·13 06:18:37 UTC)     8/22/2013 6:44:38 AM (2013..()8· 22 06:44:38 UTC)
System lnformatlon.lnk                                                                             7/13/2014 6:18:37 AM (2014-07· 13 06:18:37 UTC)    8/22/2013 6:53:29 AM (2013 ·08·22 06:53:29 UTC)
System Configuration.lnk                                                                           7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     8/22/2013 6:53:28 AM (2013-08-22 06:53:28 UTC)
Memory Diagnostics Tool. Ink                                                                       7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     8/22/2013 6:52:48 AM (2013-08-22 06:52:48 UTC)
ODBC Oala Sources (64-blt).lnk                                                                     7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     8/22/2013 6:59:32 AM (2013-08-22 06:59:32 UTC)
ISCSIInltlator.lnk                                                                                 7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     8/22/2013 6:57:46 AM (2013~8-22 06:57:46 UTC)
dfrgui.lnk                                                                                         7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     8/22/2013 6:47:01 AM (2013·08·22 06:47:01 UTC)
Disk Cleanup.lnk                                                                                   7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     8/22/2013 6:57:10 AM (2013-08-22 06:57:10 UTC)
EventViewer.lnk                                                                                    7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     8/22/2013 6:55:24 AM (2013-08-22 06:55:24 UTC)
Google Chrome                                                                                      7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     6/22/2014 5:17:18 PM (2014~6-22 17:17:18 UTC)
Google Chrome.Ink                                                                                  7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     6/27/20U 12:48:02 PM {2014-06-2712:48:02 UTC)
Microsoft Orfice 2013                                                                              7/13/2014 6:18:37 AM (2014-07·13 06:18:37 UTC)     5/19/201412:22:49 PM (2014-05-19 12:22:49 UTC)
$130                                                                                               7/13/2014 6:18:37 AM (2014-07·13 06:18;37 UTC)     S/19/201412:22:49 PM (2014..()5-19 12:22:49 UTC)
oz~.ot.tii€0'0 10 .l'il.lilC£ o• OneNote 2013.lnk                                                  7/13/2014 6:18:37 AM (2014-07· 13 06:18:37 UTC)    5/19/2014 12:22:49 PM (2014-05-1912:22:49 UTC)
Word 2013.1nk                                                                                      7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     S/19/2014 12:22:49 PM {2014-05-19 12:22:49 VTC)
Publisher 2013.1nk                                                                                 7/13/2014 6:18:37 AM (2014-07·13 06:18:37 UTC)     5/13/201412:22:49 PM (2014-05-1912:22:49 UTC)
PowerPolnt 2013.1nk                                                                                7/13/2014 6:18:37 AM (201.4-07-13 06:18:37 UTC)    S/19/2014 12:22:49 PM (2014-05-1912:22:49 UTC)
Outlook 2013.1nk                                                                                   7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     S/19/201412:22:49 PM {2014-05-1912:22:49 UTC)
OneNote 2013.1nk                                                                                   7/13/2014 6:18:37 AM (2014-07·13 06:18:37 UTC)     S/19/2014 12:22:49 PM (201+05-1912 :22:49 UTC)
EKcel2013.1nk                                                                                      7/13/2014 6:.18:37 AM (2014-07·13 06:18:37 UTC)    S/19/201412:22:49 PM (2014-05-13 12:22:49 UTC)
Access 2013.1nk                                                                                    7[13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     5/19/201412:22:49 PM (2014-05-1912:22:49 UTC)
Maintenance                                                                                        7/13/2014 6:18:37 AM (201A-07·13 06:18:37 UTC)     8/22/2013 3:36:33 PM (2013.08-2215:36:33 UTC)
Administrative Tools                                                                               7/13/2014 6:18:37 AM (2014-07·13 06:18:37 UTC)     3/18/2014.10:29:46 AM (2014-03-18 10:29:46 UTC)
$130                                                                                               7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     3/18/2014 10:29:46 AM (2014-03·1810:29:46 UTC)
Windows PowerShell ISE (x86),1nk                                                                   7/13/2014 6:18:37 AM (2014•07-13 06:18:37 UTC)     8/22/2013 6:SS:SG AM (2013-08·22 06:55:56 UTC)
Windows PowerSheiiiSE.Ink                                                                          7/13/2014 6:18:37 AM (2014-07·13 06~18:37 UTC)     8/22/2013 6:55:56 AM (2013-08-22 06:55:56 UTC)
Windows PowerShell (X86).1nk                                                                       7/13/2014 6:18:37 AM (2014-07·13 06:18:37 UTC)     8/22/2013 3:34:52 PM (2013~6-22 15:34:52 UTC)
Windows Firewall with Advanced Securlty.lnk                                                        7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     8/22/2013 6:45:04 AM (2013~8-22 06:45:04 UTC)
Task Scheduler.lnk                                                                                 7/ll/2014 6:18:37 AM (2014-07·13 06:18:37 UTC)     8/22/2013 6:55:24 AM (2013-08-22 06:55:24 UTC)
System lnformation.lnk                                                                             7/13/2014 6:18:37 AM (2014-07·13 06:18:37 UTC)     8/22/2013 6:53:29 AM (2013-08-22 06:53:29 UTC)
System Configuration.lnk                                                                           7/13/2014 6:18:37 AM (2014-07·13 06:18:37 UTC)     8/22/2013 6:53:28 AM (2013-08-22 06:53:28 UTC)
services.lnk                                                                                       7/13/2014 6:18:37 AM (2014.07·13 06:18:37 UTC)     8/22/2013 6:54:57 AM (2013.08· 22 06:54:57 UTC)
Security Connguration Management.lnk                                                               7/13/2014 6:18:37 AM (2014--07-13 06:18:37 UTC)    8/22/2013 6:54:58 AM (2013-<J8·22 06;54:58 UTC)
                                 Case 2:11-cr-00070-RAJ Document 427-16 Filed 09/08/16 Page 13 of 41


Resource Monitor .Ink                                               7/13/2014 6:18:37 AM (2014--07-13 06:18:37 UTC)     8/22/2013 6:52:38 AM (2013-08-2206:52:38 UTC)
Print Management.lnk                                                7/13/201.46:18:37 AM (2014--07-13 06:18:37 UTC)     8/22/2013 6:44:38 AM (2013-08-22 06:44:38 UTC)
Performance Monitor.Ink                                             7/B/2014 6:18:37 AM (2014-07-13 06:18:37 UTC}       8/22/2013 6:52:38 AM (2013-08·22 06:52:38 UTC)
ODBC Data Sources (64-bit).lnk                                      7/13/201.4 6:18:37 AM (2014-07-13 06:18:37 UTC)     8/22/'1.013 6:59:32 AM (2013-08-2 2 06:59:32 UTC)
ODBC Data Sources (32-bit).lnk                                      7/13/20146:18:37 AM (2014-07-13 06:18:37 UTC)       8/21/2013 11:56:13 PM (201.3·08-21 23:56:13 UTC)
iSCSIInltiator.lnk                                                  7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)      8/22/2013 6:57:46 AM (2013-08-2.2 06:57:46 UTC)
Event VIewer .Ink                                                   7/13/2014 6:18:37 AM (2014-01·13 06:18:37 UTC)      8/22/2013 6:55:24 AM (2013-08·22 06:55:24 UTC)
Disk Cleanup.! nk                                                   7/13/'1.014 6:18:37 AM (2014-07-13 06:18:37 UTC)    8/22/2013 6:57:10 AM (2013-08-22 06:57:10 UTC)
dfrgul.lnk                                                          7/13/20146:18:37 AM (2014-07-13 06:18:37 UTC}       8/22/2013 6:47:01 AM (2013-08·22 06:47:01 UTC)
Memory Diagnostics Tool.lnk                                         7/13/2014 6:18:37 .AM (2014-07-U06:18:37 UTC)       8/22/2013 6:52:48 AM (2013-08-22 06:52:48 UTC)
MultiBit 0.5.18.1nk                                                 7/13/2014 6:18:37 AM (2014-07-13 06:18:37l1TC)      5[15/2014 12:26:31 PM (2014-05-15 12:26:31 UTC)
McAfee Parental Controls                                            7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)      5/15/2014 9:01:11 PM (2014-05-15 21:01!11 UTC)
McAfee Parental Controls.lnk                                        7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)      5/15/201411:0:1.:48 AM (2014-05.1511:01:48 UTC)
Intel Corporation                                                   7/13/2014 6:18:37 AM (2014-{)7-13 06:18:37 UTC}     5/15/;!0149;00:35 PM (2014·05-15 21:00;35 UTC)
FastAccess Facial Recognition                                       7/13/2014 6:18:37 AM (2014-07·13 06:18:37 \JTC)     5/15/20149;0.1:11 PM (2014-05-15 21:01;11 UTC)
FastAccess.lnl<                                                     7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)      6/27/201412:45:59 PM (2014..06·2712:45:59 UTC)
Far Manager 3                                                       7/13/201,4 6:18:37 AM (2014-07-13 06:18:37 UTC)     5/15/20149:01:1;1. PM (2014-05-15 21:01;11 UTC)
Uninstall.lnk                                                       7/13/2014 6:18:37 AM {2014-07-13 06:18:37l1TC)      5/15/2014 9:33:23 AM (2014--05-15 09:33:23 UTC)
Far Manager 3.1nk                                                   7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)      5/15/2014 9:33:23 AM (2014-05-15 09:33:23 UTC)
MiPony                                                              7/13/2014 6:18!37 AM (2014-07-13 06:18:37 UTC)      5/25/2014 9:53:02 AM (2014..05-25 09:53:02 UTC)
MIPony.lnk                                                          7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)      5/25/2014 9:53:02 AM (2014-05-25 09:53:02 UTC)
DivX                                                                7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)      5/25/201410:02:55 AM (2014-05·25 10:02:55 UTC)
$130                                                                7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)      5/25/2014 10:02:55 AM (2014-05-25 10:02:55 UTC)
DivX Player.lnk                                                     7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)      5/25/2014 10:02:55 AM (2014-05-25 10:02:55 UTC)
DivX Converter.lnk                                                  7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)      5/25/201410:02:48 AM (2014-05-25 10;02:48 UTC)
Check for Updates.lnk                                               7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)      5/25/201410:02:42 AM (2014-05-25 10:02:42 UTC)
Register.lnk                                                        7/13/2014 6:18:37 AM (2014-07·13 06:18:37 UTC)      5/25/201410:02:42 AM (.2014-05-2510:02:42 UTC)
McAfee                                                              7/13/2014 6:18!37 AM (2014..07·13 06:18:37 UTC)     7/4/2014 6:25:28 PM (2014-07-04 18:25:28 UTC)
McAfee Internet Securlty.lnk                                        7/13/2014 6:18:37 AM (2014-07·13 06:18:37lfTC)      7/4/20146:25:28 PM l2014-07-0418:25:28 UTC)
XPS Viewer.Ink                                                      7/13/20'14 6:18:37 AM (2014-07-13 06:18:37 UTC)     8/22/2013 6:56:05 AM (2013..08-2.2 06:56:05 UTC)
Wordpad.lnk                                                         7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)      8/22/2013 6:47 :01 AM (2013-08-22 06:47:01 UTC)
Remote Desktop Connection.lnk                                       7/13/2014 6:18:37 AM (2014-07·13 06:18:37 \JTC)     8/22/2013 6:45:12 AM (2013-08-22 06;45:12 UTC)
Math Input Panel ,ln~                                               7/13/2014 6:18:37 AM (2014--07-13 06:18:37 UTC)     8/22/2013 6:46:00 AM (2013-08-22 06:46:00 UTC)
Sticky Notes.lnk                                                    7/1.3/20'14 6:18:37 AM (2014--07-13 06:18:37 UTC)   8/22/2013 6:46:12 AM (2013-08-22 06;46:12 UTC)
Speech Recognltlon.lnk                                              7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)      8/22/2013 6:45:40 AM (2013-08-22 06:45:40 UTC)
Sound Recordet.lnk                                                  7/B/2014 6:18:37 AM (2014--07-13 06:18:37 UTC)      8/22/20-13 6:52:01 AM (2013-08·22 06:52:01 UTC)
Snipping Tool. Ink                                                  7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)      8/22/2013 7:01:06 AM (2013-08-22 07:01:05 UTC)
Paint. Ink                                                          7/13/2014 6:18:37 AM (2014--07-13 06:18:37 UTC)     8/22/2013 6:46:28 AM (2013-08-22 06:46:28 UTC)
Windows Media Player,lnk                                            7/13/2014 6:18:37 AM (2014--07•13 06:18:37 UTC)     8/22/2013 6:45:19 AM (2013-08·22 06:45:19 UTC)
Windows Fax and Scan .Ink                                           7/1.3/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     8/22/2013 7:00:54 AM (2013-08-22 07:00:54 UTC)
Calculator.lnk                                                      7/13/2014 6:18:37 AM (2014-07·13 06:18:37 UTC)      8/22/2013 6:47:22 AM (2013-08-22 06:47:22 UTC)
Computer Management.lnk                                             7/13/2014 6:18:37 AM (2014--07-13 06:18:37 UTC)     8/22/2013 6:54:58 AM (2013..08-22. 06:54:58 UTe)
Component Services. Ink                                             7/13/2014 6:18:37 AM (2014--07-13 06:18:37 UTC)     8/22/2013 6:57:43 AM (2013-08·22 06:57:43 UTC)
Steps Recorder .Ink                                                 7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)      8/22/2013 6:52!37 AM (2013·08-22 06:52:37 UTC)
Computer Management.lnk                                             7/13/2014 6:18:37 AM (2014--07-13 06:18:37 UTC)     8/22/2013 6:54:58 AM (2013-08-22 06:54:58 UTC)
Component Servlces.lnk                                              7/13/2014 6:18:37 AM (2014-07·13 06:18:37 UTC)      8/2'1./2013 6:57:43 AM (2013-08-22 06:57:43 UTC)
Accessories                                                         7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)      3/18/2014 9:39:34 AM (2014-03-18 09:39:34 UTC)
$130                                                                7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)      3/18/2014 9:39:34 AM (2014-03-18 09:39:34 UTC)
XPS Vtewer.lnk                                                      7/13/2.014 6:18:37 AM (2014-07-13 06:18:37 UTC)     8/2i/2013 6:56:05 AM (2013cOB-22 06;56:05 UTC)
Wordpad.lnk                                                         7/13/2014 6:18:37 AM (2014-{)7-13 06:18:37 UTC)     8/22/2013 6:47:01 AM (2013-08-22 06:47:01 UTC)
Windows Media Player.lnk                                            7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)      8/22/2013 6:45!19 AM (2013-08-22 06:45:19 UTC)
Windows Fax and 5can.lnk                                            7/13/'1.014 6:18:37 AM .(2014-07-13 06:18:37 UTC)   8/22/2013 7:00:54 AM (2013..08-22 07:00:54 UTC)
                                 Case 2:11-cr-00070-RAJ Document 427-16 Filed 09/08/16 Page 14 of 41


Sticky Notes.lnk                                                   7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     8/22/2013 6:4S:U AM (2013-08-22 06:46:12 UTC)
Steps Recorder.lnk                                                 7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     8/22/2013 6:52:37 AM (2013..08-22 06:52:37 UTC)
Sound Recorder.lnlc                                                7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     8/22/2013 6:52:01 AM (2013..08-22 06:52:01 UTC)
Snipping Tool.lnk                                                  7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     8/22/2013 7:01:06 AM (2013.08-22 07:01:06 UTC)
Remote Desktop Connection..lnk                                     7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     8/22/2013 6:45:12 AM (2013-08-22 06:45:12 UTC)
Palnt.lnk                                                          7/13/2014 6:18:37 AM (2014-07·13 06:18:37 UTC)     8/22/2013 6:46:28 AM (2013·08·22 06:46:28 UTC)
Math Input Panel.lnk                                               7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     8/22/2013 6:4&;00 AM (2013·08-22 06:46:00 UTC)
Calculator.lnk                                                     7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     8/22/2013 6:47:22 AM (2013..08-22 06:47:22 UTC)
Acce$Sibllity                                                      7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     8/22/2013 3:3&:33 PM (2013..08-22 15:36:33 UTC)
Speech Recognltion.lnk                                             7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     8/22/2013 6:45:40 AM (2013-08-22 06:45:40 UTC)
AC3Fllter                                                          7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     5/25/2014 10:55:00 AM (2014-05-25 10:55:00 UTC}
$130                                                               7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     5/25/2014 10:55:00 AM (2014-05-25 10:55:00 UTC)
Unlnsbll AC3FIIter.tnk                                             7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     5/25/2014 10:55:07 AM (2014-05-25 10:55:07 UTC)
Clear filter cache.lnk                                             7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     5/25/2014 10:55:00 AM (2014..05-25 10:55:00 UTC)
Restore default presets. Ink                                       7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     5/25/2014 10:55:00 AM (2014-05·25 10:55:00 UTC)
Reset to defaults. Ink                                             7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     5/25/201410:55:00 AM (2014-05-25 10:55:00 UTC)
License. Ink                                                       7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     5/25/201410:55:00 AM (2014-05·25 10:55:00 UTC)
Readme. Ink                                                        7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     5/25/2014 10:55:00 AM (2014-05-25 10:55:00 UTC)
SPDIF test (32blt).lnk                                             7/13/2014 6:18:37 AM (2014-07-13 06:18;37 UTC)     5/25/2014 10:55:00 AM (2014-05-2S 10:55:00 UTC)
AC3FIIter Conflg.lnk                                               7/13/2014 6:18:37 AM (2014-07-13 06:18:37 LJTC)    5/25/2014 10:55:00 AM (2014..05·25 10:55:00 UTC)
Windows Store.lnk                                                  7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     8/22/2013 6:48:47 AM (2013-08·22 06:48:47 UTC)
Search. Ink                                                        7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     8/22/2013 6:45:50 AM (2013..08· 22 06:45:50 UTC)
Windows Store.lnk                                                  7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     8/22/2013 6:48:47 AM (2013-08-22 06:48:47 UTC)
Search.lnk                                                         7/13/2014 6:18:37 AM (201.4-{)7-13 06:18:37 UTC)   8/2'1./2013 6:45:50 AM (2013-08·22 06:45:50 UTC)
lmmerslve Control Panel.lnk                                        7/13/2014 6:18:37 AM (201.4-07-13 06:18:37 UTC)    8/22/2013 6:54:10 AM (2013-oB-22 06:54:10 UTC)
Search.lnk                                                         7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     8/22/2013 6:4-5:50 AM (2013..08·22 06:45:50 UTC)
Windows Store.Ink                                                  7/13/2.0 14 6:18:37 AM (2014-07·13 06:18:37 UTC)   8/22/2013 6:48:47 AM (2013..08-22 06:48:47 UTC)
lmmerslve Control Panel.lnk                                        7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     8/22/2013 6:54:10 AM (2013.08-22 06:54:10 UTC)
PhotosApp.tnk                                                      7/13/2014 G:l8:a7 AM (2014-07-13 06:18:37 UTC)     8/22/2013 6:57:07 AM (2013.08-22 06:5 7:07 UTC)
FlleManager.lnk                                                    7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     3/18/201410:08:52 AM (2014•03·1810:08:52 UTC)
Desktop.lnk                                                        7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     8/22/2013 6:57:05 AM (2013..08-22 06:57:05 UTC)
Camera .Ink                                                        7/13/2014 6:18:37 AM (2014-07-13 0&.18:37 UTC)     8/22/2013-6:57:21 AM (2013..08.22 06:57:21 UTC)
Start Menu                                                         7/13/2014 6:18:37 AM (2014-07· 13 06:18:37 UTC)    5/15/2014 9:00:35 PM (2014•05·15 21:00:35 UTC)
$TXF_DATA                                                          7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     5/15/2014 9;00:35 PM (2014·05·15 21:00:35 UTC)
Programs                                                           7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     7/4/2014 6:15:28 PM (2014-07..04 18:2S:28 UTC)
$130                                                               7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     7/4/2014 6:.25:28 PM (2014-07-0418:25:28 UTC)
$TXF_DATA                                                          7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     7/4/2014 6;25:28 PM (2014-07-04 18:25:28 UTC)
Windows 5tore.lnk                                                  7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     8/22/2013 6:48:47 AM (2013-08·22 06:48:47 UTC)
Search.lnk                                                         7/13/2014 6:18:37 AM (2014-<17-13 06:18:37 UTC)    8/22/2013 6:45:50 AM (2013..08·22 06:45:50 UTC)
PhotosApp.lnk                                                      7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     8/22/2013 6:57:07 AM (2013..08·22 06:57:07 UTC)
lmmerslve Control Panel.lnk                                        7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     8/22/2013 6:54:10 AM (2013..08·22 06:54:10 UTC)
FlleManager.lnk                                                    7/13/2014 6;18:37 AM (2014-07-13 06:18:37 UTC)     3/18/201410:08:52 AM (2014-03-18 10:08:52 UTC)
Desktop. Ink                                                       7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     8/22/2013 6:57:05 AM (2013-08-22 06:57;05 UTC)
camera.lnk                                                         1/13/2014 6:18:37 AM (2014-<17·13 06:18:37 UTC)    8/22/2013 6:57:21 AM (2013..08-22 06:57:21 UTC)
Windows Media Player.lnk                                           7/13/2014 6:18:37 AM (2014·07·13 06:18:37 UTC)     5/15/2014 9:00:52 PM (2014-05·15 21:00:52 UTC)
Opera. Ink                                                         7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     5/16/2014 6:23:21 AM (2014·05·16 06:23:21 UTC)
VAIO Update.lnk                                                    7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     5/15/2014 9:33:31 AM (2014·05·15 09:33:31 UTC)
Modlla Flrefox.lnk                                                 7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     5/15/2014 9:33:00 AM (2014-05·15 09:33:00 UTC)
lntei(R) WlDi.lnk                                                  7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     6/17/20137:19:09 PM (2013.06-1719:19:09 UTC)
VAIO Manual.lnk                                                    7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     6/17/2013 7:16:16 PM (2013.06-1719:16:16 UTC)
VAJO Care (Desktop).lnk                                            7/13/2014 6:18:37 AM (2014-07·13 06:18:37 UTC)     6/17/2013 7:16:16 PM (2013.06-17 19:16:16 UTC)
VAIO Transfer.lnk                                                  7/13/2014 6:18:37 AM (2014-07·13 06:18:37 UTC)     6/17/2013 7:11:39 PM (2013-06-1719:11:39 UTC)
                             Case 2:11-cr-00070-RAJ Document 427-16 Filed 09/08/16 Page 15 of 41


Adobe Reader Xl.lnk                                            7/ 13/2014 6:18:37 AM (2014-07·13 06:18:37 UTC)    6/17/2013 7:10:05 PM (2013'-{)6-1719:10:05 UTC)
Xperla Llnk.lnk                                                7/13/2014 6:18:37 AM (2014-07·13 06:18:37 UTC)     6/17{2013 7:09:47 PM (2013..06-1719:09:47 UTC)
VAIO Movie Creator.lnk                                         7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     6/17/2013 7:08:56 PM (2013'-{)6-1719:08:56 UTC)
VAIO Data Restore Tool.lnk                                     7/13/2014 6:18:37 AM (2014'-{)7-13 06:18:37 UTC)   6/17/2013 7:06:55 PM (2013'-{)6-17 19:06:55 UTC)
VAIO Gesture Control .Ink                                      7/13/2014 6:18:37 AM (2014-07-13 06:18:37 UTC)     5/17/2013 7:06:n PM (2013·06·1719:06:27 UTC)
VAIO Control Center. Ink                                       7/13/2014 6:18:37 AM (2014·07-13 06:18:37 UTC)     6/17/2013 7:06:39 PM (2013·06·1719:06:39 UTC)
Active Clip,Ink                                                7/13/2014-6:18:37 AM {2014-07·13 06:18:37 UTC)     6/17/2013 7:04:48 PM (2013-0G-1719:04:48 UTC)
vrindab.ttf                                                    7/'13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:57:00 PM (2013·06·18 14:57:00 UTC)
vrlnda.ttf                                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/20132:57:00 PM (2013·06-1814:57:00 UTC)
vgasyst.fon                                                    7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     6/18/2013 2:57:36 PM (2013'-()6-18 14:57:36 UTC)
vgasysr.fon                                                    7/13/2014 6:18:36 AM (2014'-{)7-B 06:18:36 UTC)    6/18/201.3 2:57:36 PM (2013'-()6-18 14:57:36 UTC)
vg;~sysg.fon                                                   7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     6/18/2013 2:57:36 PM (2013'-()6-1814:57:36 UTC)
vg;~syse.fon                                                   7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:36 PM (2013'-()6-18 14:57:36 UTC)
vgasys.fon                                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:36 PM (2013'-()6-18 14:57:36 UTC)
vgas874.fon                                                    7/13/2014 6:18:36 AM (201~-13 06:18:36 UTC)        6/.18/2013 ~57:31 PM (2013'-()6-181.4:57:31 UTC)
vgas1257.fon                                                   7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     6/18/20131:57:36 PM (2013'-{)6-1814:57:36 UTC)
vgas1256.fon                                                   7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     6/18/2013 2:56:20 PM (2013'-()6·18 14:56:20 UTC)
vgasl2SS.fon                                                   7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     6/18/2013 2:56:57 PM (2013'-{)6-1814:56:57 UTC)
vgaoem.ron                                                     7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     6/18/2013 2:57:36 PM (2013'-{)6-1814:57:36 UTC)
vga950.fon                                                     7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     6/18/2013 2:56:48 PM (2013'-()6·1814:56:48 UTC)
vga949.fon                                                     7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     6/18/2013 2:57:19 PM (2013'-()6-18 14:57:19 UTC)
vga936.fon                                                     7/13/2014 6:18:36 AM (2014-07·13 06:18:36UTC)      6/18/2013 2:56:35 PM (2013'-{)6-18 14:56:35 UTC)
vga932.fon                                                     7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     6/18/2013 2:57:08 PM (2013'-()6-18 14:57:08 UTC)
vga869.fon                                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:36 PM (2013'-()6-1814:57:36 UTC)
vga866.fon                                                     7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     6/18/2013 2:57:36 PM (2013'-{)6-1814:57:36 UTC)
vga865.fon                                                     7/13/2014 6:18:36 AM (201~7-13 06:18:36 UTC)       6/18/2013 2:57:36 PM (2013'-{)6-1814:57:36 UTC)
vga863.fon                                                     7/13/2014 6:18:36 AM (2014'-()7-13 06:18:36 UTC)   6/18/2013 2:57:36 PM (2013'-()6-18 14:57:36 UTC)
vga861Jon                                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:36 PM (2013'-{)6-18 14:57:36 UTC)
vga860.fon                                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:36 PM (2013'-{)6-1814:57:36 UTC)
vga857.fon                                                     7/13/2014 6:18:36 AM (2014'-()7·13 06:18:36 UTC)   6/18/2013 2:57:36 PM (2013'-()6-18 14:57:36 UTC)
vga855.fon                                                     7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     6/18/2013 2:57:36 PM (2013·06-18 14:57:36 UTC)
vga852.fon                                                     7/13/2014 6:18:36 AM (2014'-{)7-13 06:18:36 UTC)   6/18/2013 2:57:36 PM (2013•05·18 14:57:36 UTC)
vga850.fon                                                     7/13/2014 6:18:36 AM (2014'-()7-13 06:18:36 UTC)   6/18/2013 2:57:36 PM (2013'-()6-1814:57:36 UTC)
vga77S.fon                                                     7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     6/18/2013 2:57:36 PM (2013'-()6-18 14:57:36 UTC)
vga737.fon                                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:36 PM (20ll~1814:57:36 UTC)
vgaflxt.fon                                                    7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57;36 PIVI (2013'-()6-1814:57:36 UTC)
vgaflxr.fon                                                    7/13/2014 6:18:36 AM (2014-07·1.3 06:18:36 UTC)    6/18/2013 2:57:36 PM (2013'-()6-18 14:57:36 UTC)
vgaflxg.fon                                                    7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:36 PM (2013'-()6-18 14:57:36 UTC)
vgaflxe.fon                                                    7/13/2014 6:18:36 AM (2014-07-1 3 06:18:36 UTC)    6/18/2013 2:57:36 PM {2013-06-18 14:57:36 UTC)
vgaflx.fon                                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:36 PM (2013-06-18 14:57:36 UTC)
vgal874.fon                                                    7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:31 PM (2013'-()6-18 14:57:31 UTC)
vgafl257 .Ion                                                  7/13/2014 6:18:36 AM (2014-07-13 06:18:36lJTC)     6/18/2013 2:57:36 PM (2013'-{)6-1814:57:36 UTC)
vgafl256.fon                                                   7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:56:20 PM (2013'-{)6-1814:56:20 UTC)
vgaf1255.fon                                                   7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:56:57 PM (2013·06-1814:56:57 UTC)
UrdTypeb.ttf                                                   7/13/2014 6:18:36 AM (2014·07·.13 06:18:36 UTC)    7/18/2013 3:53:34 PM (2013'-{)7-1815:53:34 UTC)
Fonts                                                          7/13/2014 6:18:36 AM (2014'-{)7-13 06:18:36 UTC)   5/19/201412:22:42 PM (2014-05-19 12:22:42 UTC)
$130                                                           7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/2014 12:22:42 PM (2014-05-19 12:22:42 lJTC)
WINGDNG3.TTF                                                   7/13/2014 6:18:36 AM (2014'-{)7-13 06:18:36 UTC)   5/19/2014 12:22:39 PM (2014'-{)5-19 12:22:39 UTC)
WINGDNG2.TTJ;                                                  7/13/2014 6:18:36 AM (2014'-{)7-13 06:18:36 UTC)   5/19/2014 12:22:39 PM (2014'-()5-1912:22:39 UTC)
VLAOIMIR.TTF                                                   7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/2014 12:22:39 PM (2014-05-1912:22:39 UTC)
VIVALOII.TTf                                                   7/13/2014 6:18:36 AM (2014-07-13 06:18:36UTC)      5/19/201-4 12:22:39 PM (2014-05-19 12:22:39 UTC)
VINER lTC.TTF                                                  7/13/201.4 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/19/2014 12:22:39 PM (2014-05-19 12:22:39 UTC)
                 Case 2:11-cr-00070-RAJ Document 427-16 Filed 09/08/16 Page 16 of 41


yumlnl.tif                                        7/13/2014 6:18:36 AM (2014--07-13 06:18:36 UTC)     8/22/2013 3:35:03 PM (2013.08-22 15:35:03 UTC)
yumlndb.ttf                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      8/22/2013 3:34:57 PM (2013.08-22 15:34:57 UTC)
yumln.ltf                                         7/13/2014 6:18:36 AM (2014..07-13 06:18:36 UTC)     8/22/2013 3:35:00 PM (2013.08-22 15:35:00 UTC)
yugothll.ttf                                      7/13/2014 6:18:36 AM (2014..07-13 06:18:36 UTC)     8/22/2013 3:35:02 PM (2013-08·2215:35:02 UTC)
yugothlc.ttr                                      7/13/2014 6:18:36 AM (2014.07-13 06:18:36 UTC)      8/27./2013 3:35:04 PM (2013-08-22 15:35:04 UTC)
yugothib.ttf                                      7/13/2014 6:18:36 AM (2014--07-13 06:18:36 UTC)     8/22/2013 3:34:58 PM (2013..08·22 15:34:58 UTC)
wlogding.ttf                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      8/22/2013 3:34:57 PM (2013-08-22 15:34:57 UTC)
webdings.ttf                                      7/13/2014 6:18:36 AM (2014--07-13 06:18:36 UTC}     8/22/2013 3:35:00 PM (2013..08-22 15:35:00 UTC}
vrindab.ttf                                       7/13/2014 6:18:36 AM (2014--07-13 06:18:36 UTC)     6/18/2013 2:57:00 PM (2013..06-1814:57:00 UTC)
vrinda.ttf                                        7/13/2014 6:18:36 AM (2014·07-13 06:18:36 UTC}      6/18/2013 2:57!()0 PM (2013..06-1814:57:00 UTC)
vljaya b.ttf                                      7/13/2014 6:18:36 AM (2014-07-1,3 06:18:36 UTC}     8/22/2013 3:34:57 PM (2013-08-2215:34:57 UTC)
vijaya.ttf                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      8/22/2013 3:35:00 PM {2013-08-2215:35:00 UTC)
verdana<.ttf                                      7/13/2014 6:18:36 AM (2014-07-13 06;18:36 UTC}      8/22/2013 3:35:03 PM (2013.08·2215:35:03 UTC)
verdanal.ttf                                      7/13/2014 6:18:36 AM (2014..07-13 06:18:36 UTC}     8/22/2013 3:34:59 PM (2013..08-2215:34:59 UTC}
verdanab.ttf                                      7/13/2014 6:18:36 AM (2014--07·13 06:18:36 UTC}     8/22/2013 3:34:59 PM (2013-08-2215:34:59 UTC)
verdana.ttr                                       7/13/2014 6:18:36 AM (2014--07-13 06:18:36 UTC}     8/22/2013 3:34:59 PM (2013..08-22 15:34:59 VTC)
Vanib.ttf                                         7/13/2014 6:18:36 AM (2014--07-13 06:18:36 UTC)     8/22/2013 3:35:03 PM (2013.08-2215:35:03 UTC}
vanl.ttf                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC}      8/22/2013 3:35:00 PM (2013-08-22 15:35:00 UTC}
utsaahl.ttf                                       7/13/2014 6:18:36 AM (2014--07·13 06:18:36 UTC)     8/22/2013 3:35:03 PM (2013.08-2215:35:03 UTC}
utsaahbl.ttf                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      8/22/2013 3:35:00 PM (2013.08-2215:35:00 UTC)
utsaahb.ttf                                       7/13/2014 6:18:36 AM (2014--07-13 06:18:36 UTC)     8/22/2013 3:35:00 PM (2013..08-22 15:35:00 UTC)
utsaah.ttf                                        7/13/2014 6:18:36 AM (2014..07 -13 06:18:36 UTC)    8/22/2013 3:34:59 PM (2013-{)8-22 15:34:59 UTC}
UrdTypeb.ttf                                      7/13/2014 6:18:36 AM (2014--07-13 06:18:36 UTC}     7/18/2013 3:53:34 PM (2013-07-18 15:53:34 UTC)
UrdTYPe.ttf                                       7/13/2014 6:18:36 AM (2014..Q7-13 06:18:36 UTC}     8/22/2013 3:35:03 PM (2013.Q8-22 15:35:03 UTC)
upcll.ttf                                         7/13/2014 6:18:36 AM (2014--07-13 06:18:36 UTC}     8/22/2013 3:34:58 PM (2013~8-22 15:34:58 VTC)
vgasyst.fon                                       7/13/2014 6:18:36 AM (2014--07-13 06:18:36 UTC)     6/18/2013 2:57:36 PM (2013..()6-1814:57:36 UTC)
vcasysr.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:57:36 PM (2013-06-18 14:57:36 UTC)
vgasysg.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:57:36 PM (2013-06·1814:57:36 UTC)
vcasyse.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/l8/2013 2:5 7:36 PM (2013.06-18 14:57:36 UTC)
vgasys.fon                                        7/13/2014 6:18:36 AM (2014--07-13 06:18:36 UTC}     6/18/2013 2:57:36 PM (2013-06-1814:57:36 UTC)
vgas874.fon                                       7/13/2014 6:18:36 AM (2014--07-13 06:18:36 UTC)     6/18/2013 2~57:31 PM (20l3-o6-1814:57:31 UTC)
vgas1257.fon                                      7/13/2014 6:18:36 AM (2014--07-13 06:18:36 UTC)     6/18/2013 2:57:36 PM (2013-06-1814:57:36 UTC)
vga.s 1256.fon                                    7/13/2014 6:18:36 AM (2014..07-13 06:18:36 UTC)     6/18/2013 2:56:20 PM (2013..06-1814:56:20 UTC}
vgas1255.fon                                      7/13/2014 6:18:36 AM (2014--07-13 06:18:36 UTC)     6/18/2013 2;56:57 PM (2013..06-18 14:56:57 UTC)
vgaoem.fon                                        7/13/2014 6:18:36 AM (2014-07-1.3 06:18:36 UTC)     6/18/2013 2 :57:36 PM (2013..06-1814:57:36 UTC}
vgafixt.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:57:36 PM (2013-06-18 14:57:36 UTC)
vgafTxr.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:57:36 PM {2013-06-1814:57:36 UTC)
vgafTxg.fon                                       7/13/2014 6:18:36 AM (2014·07-13 06:18:36 UTC)      6/18/2013 2:57:36 PM {2013-06-1814:57:36 UTC)
vgaflxe.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:57:36 PM (2013-06-1814:57:36 UTC)
vgaflx.fon                                        7/13/20'1A 6 :18:36 AM (2014--07-13 06:18:36 UTC)   6/18/2013 2:57:36 PM (2013.06-1814:57:36 UTC)
llgaf874.fon                                      7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)      6/18/2013 2:57:31 PM (2013.06-1814:57:31 UTC)
vgafl257.fon                                      7/13/2014 6:18:36 AM (2014..Q7·13 06:18:36 UTC)     6/18/2013 2:57:36 PM {2013.06-1814:57:36 UTC)
vgaf1256.fon                                      7/13/2014 6:18:36 AM (2014..07-13 06:18:36 UTC)     6/18/2013 2 :56:20 PM (2013-06-1814:56:20 UTC)
vgafl255.fon                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:56:57 PM (2013..06-18 14:56:57 UTC)
vga9SO.fon                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:56:•18 PM (2013.06-1814:56:48 UTC)
vga949.fon                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:57;l9 PM (20l3-o6-l814:57:19 UTC)
vga936.fon                                        7/13/2014 6:18:36 AM (2014--07-13 06:18:36 UTC)     6/18/2013 2:56:35 PM (2013-06-18 14:56:35 UTC)
vga932.fon                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:57:08 PM (2013..06-1814:57:08 UTC)
vga869.fon                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:57:36 PM (2013-oG-1814:57:36 UTC}
vga866.fon                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013£57:36 PM (2013-06-18 14:57:36 UTC}
vga865.fon                                        7/13/2014 6:18:36 AM (2014--07-13 06:18:36 UTC)     6/18/2013£57:36 PM (2013~6-18 14:57:36 UTC)
vga863.fon                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:57:36 PM (2013~6-1814:57:36 UTC)
               Case 2:11-cr-00070-RAJ Document 427-16 Filed 09/08/16 Page 17 of 41


vga861Jon                                        7/13/2014 6:18;36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:57:36 PM (2013.{)6-18 14:57:36 UTC)
vga860.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:57:36 PM (2013-06-1814:57:36 UTC)
vga857.fon                                       7/13/2014 6:18:36 AM (2014.{)7-13 06:18:36 UTC)     6/18/2013 2:57:36 PM (2013.{}6-1814:57:36 UTC)
vga855.fon                                       7/13/2014 6:18:36 AM (2014..07-13 06:18:36 UTC)     6/18/2013 2:57:36 PM (2013-06-18 14:57:36 UTC)
vga852.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:57:36 PM (2013·06-18 14:57:36 UTC)
vga850.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:S7:36 PM (2013.{)6-18 14:57:36 UTC)
vga775.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:57:36 PM (2013.{)6-1814:57:36 UTC)
vga737.fon                                       7/13/20146:18:36 AM (2014-07-13 06:18:36 UTC)       6/18/2013 2:57:36 PM (2013-06-18 14:57:36 UTC)
tungab.ttf                                       7/13/2014 6:18:36 AM (2014-07-19 06:18:36 UTC)      6/18/2013 2:56:59 PM (2013•06·1814:56:59 UTC)
tunga.ttf                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:56:59 PM (2013-06-18 14:56:59 UTC)
talleb.ttf                                       7/13/2014 6:18:36 AM (2014-{)7-13 06:18:36 UTC)     6/18/2013 2:57:24 PM (2013-06-1814:57:24 UTC)
talle.ttf                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC}      6/18/2013 2:57:24 PM (2013.{)6-18 14:57:24 UTC)
tahomabd.ttf                                     7/13/2014 6:18:36 AM (2014.{}7-13 06:18:36 UTC)     8/3/2013 4:38:55 AM (2013.{)8.{)3 04:38:55 UTC)
tahoma.ttf                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      8/3/2013 4:38:53 AM (2013.{)8.{)3 04:38:53 UTC)
sylfaen.ttf                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:57:24 PM (2013-06-18 14:57:24 UTC)
svgasys.fon                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:56:35 PM (2013-Q6-1814:56:35 UTC)
smallftfon                                       7/13/2014 6:18:36 AM (2014-{)7-13 06:18:36 UTC)     6/18/2013 2:57:30 PM (2013.{)6-18 14:57:30 UTC)
smallfr.fon                                      7/13/2014 6:18:36 AM (2014.{)7-13 06:18:36 UTC)     6/18/2013 2:57:30 PM (2013.{}6-18 14:57:30 UTC)
smallfg.fon                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:57:30 PM (2013·06-18 14:57:30 UTC)
smallfe.fon                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:57:30 PM (2013•06-1814:57:30 UTC)
smallf.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:57:30 PM (2013-06-1814:57:30 UTC)
smallet.fon                                      7/B/2014 6:18:36 AM (2014.{)7-13 06:18:36 UTC)      6/18/2013 2:57:28 PM (2013.{}6-1814:57:28 UTC)
smaller Jon                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:57:28 PM (2013-06-18 14:57:28 UTC)
smalleg.fon                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:57:28 PM (2013.{)6-18 14:57:28 UTC)
svgandon                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:56:35 PM (2013·06-18 14:56:35 UTC)
sserlfft.fon                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:57:30 PM (2013-06-18 14:57:30 UTC)
sserlffr.fon                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:57:30 PM (201.3-06-18 14:57:30 UTC)
sseriffg.fon                                     7/13/2014 6:18:36 AM (2014.{}7-13 06:18:36 UTC)     6/18/2013 2:57:30 PM (2013-06-1814:57:30 UTC)
sseriffe.fon                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:57:30 PM (2013.{)6-18 14:57:30 UTC)
sseriff.fon                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:3G UTC)      6/18/2013 2:571!30 PM (2013.{}6-18 14;57:30 UTC)
sserlfet.fon                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:57:30 PM (2013.{)6-18 14:57:30 UTC)
sserlfer.fon                                     7/13/2014 6:18:36 AM (2014-o7-1S 06:18:36 UTC)      6/18/2013 2:57:30 PM (2013.{)6-18 14:57:30 UTC)
sserlfeg.lon                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:57:30 PM (2013.{)6-1814:57:30 UTC)
sserifee.fon                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:57:30 PM (2013.{)6-1814:57:30 UTC}
sserlre.fon                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:57:30 PM (2013-06-18 14:57:30 UTC)
ssef874.fon                                      7/13/2014 6:18:36 AM (2014..o7-13 06:18:36 UTC)     6/18/2013 2:57:31 PM (2013-Q6-18 14:57:31 UTC)
ssef1257.fon                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:57:30 PM (2013-DG-1814:57:30 UTC)
ssef1256.fon                                     7/1.3 /2014 6:18:36 AM (2014-{)7-13 06:18:36 UTC)   6/18/2013 2:56:20 PM (2013-06-1.8 14:56:20 UTC}
ssef1255.fon                                     7/13/2014 6:18:36 AM (2014-{)7-13 06:18:36 UTC}     6/18/2013 2:56:57 PM (2013•06-18 14:56:57 UTC}
ssee874.fon                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2.:57:31 PM (2013•06-1814:57:31 UTC)
ssee1257.fon                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 ~57:30 PM (2013.{}6-18 14:57:30 UTC}
sseel256.fon                                     7/13/2014 6:18:36 AM (2014-{)7-13 06:18:36 UTC)     6/18/2013 2:5E:20 PM (2013.{)6-1814:56:20 UTC}
ssee1255.fon                                     7/13/2014 6:18:36 AM (2014.{}7-13 06:18:36 UTC)     6/18/2013 2:56:57 PM (2013.{)6-1814:56:57 UTC)
tlmesi.ttf                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC}      8/3/2013 4:38:56 AM (2013.{)8.{)3 04:38:56 UTC)
tlmesbl.ltf                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      8/3/2013 4:38:55 AM (2013-08-03 04:38:55 UTC)
tlmesbd.ttf                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      8/3/2013 4:38:55 AM (2013-08-03 04:38:55 UTC)
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TEMPSITC.TIF                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      5/19/201412:22:39 PM (2014-{)5-19 12:22:39 UTC)
TCMI_.TTF                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      5/19/201A 12:22:39 PM (2014-{)5-19 12:22:39 UTC)
TCM_.TIF                                         7/13/201.4 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/2014 12:2.2:39 PM (2014-05-1912:22:39 UTC)
TCCM_.TTF                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      5/19/201412:22:39 PM (2014-05-19 12:22;39 UTC)
TCCEU.TTF                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      5/19/2014 12:22:39 PM (2014-{)5-19 12:22;39 UTC)
                Case 2:11-cr-00070-RAJ Document 427-16 Filed 09/08/16 Page 18 of 41


TCCB_.TTF                                          7/13/2014 6 :18:36 AM (2014-07-13 06:18:36 UTC)    5/19/201412:22:39 PM (2014-05-1912:22:39\JTC)
TC81_.TTF                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36\JTC)     5/19/201412:22:38 PM (2014-05-1912:22:38 UTC)
TC8_ _.TTF                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/201412:22:38 PM (2014-05-1912:22:38 UTC}
STENCil.TTF                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/201412:22:38 PM (2014-05-1912:22:38 UTC)
5NAP_:TTF                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/201412:22:39 PM (2014-05-1912:22:39 UTC)
upcli.ttf                                          7/13/2014 6t18:36 AM (2014-07-13 06:18:36 UTC)     8/22/2013 3:35:03 PM (2013-08-22 15:35:03 UTC)
upclbl.ttf                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/22/2013 3:35:00 PM (2013-08-22 15:35:00 UTC)
upclb.ttf                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/22/2013 3:34:57 PM (2013-08·22 15:34:57 UTC)
upckl.ttf                                          7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     8/22/2013 3:34:59 PM (2013-08·22 15:34:59 UTC)
upcki.ttf                                          7/13/201A 6:18:.3 6 AM (2014-07-13 06:18:36 UTC)   8/22/2013 3:34:56 PM (2013-08-2215:34:56 UTC)
upckbi.ttf                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36\JTC)     8/22/2013 3:35:02 PM (2013-08-22 15:35:02 UTC)
upckb.ttf                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/22/2013 3:34:58 PM (2013-08-22 15:34:58 UTC)
upcjl.ttf                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36lJTC)     8/22/2013 3:35:00 PM (2013-08-2215:35:00 UTC)
upcjl.tt f                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/22/2013 3:34:58 PM (2013-08·2215:34:58 UTC)
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upcll.ttf                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/22/2013 3:34:59 PM (2013-08-2215:34:59 UTC)
upcibi.ttf                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/22/2013 3:34:56 PM (2013-08-2215:34:56 UTC)
upclb.ttf                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/22/2013 3:35:00 PM (2013 -08-2215:35:00 UTC)
upcH.ttf                                           7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/22/2013 3:34:56 PM (2013-08-2215:34:56 UTC)
upcfl.ttf                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/22/2013 3:;5:02 PM {2013-08-2215:35:02 UTC}
upcfbl.ttf                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/22/2013 3:;5:00 PM (2013-08-22 15:35:00 UTC)
upcfb.ttf                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/22/2013 3:35:03 PM (2013-08-22 15:35:03 UTC)
upcel.ttf                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/22/2013 3:54:58 PM (2013-08-22 15:34:58 UTC)
upcel.ttf                                          7/13/2014 6:18:36 AM (2014-07-lS 06:18:36 UTC)     8/22/2013 3:35:03 PM (2013-08·22 15:35:03 UTC)
upcebl.ttf                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/22/2013 3:35:00 PM (2013-08-2215:35:00 UTC}
upceb.ttf                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/22/2013 3:34:57 PM (2013-08-2215:34:57 UTC)
upcdl.ttf                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/22/2013 3:34:59 PM (2013-08-2215:34:59 UTC}
upcdl.ttf                                          7/13/2014 6:18:36 AM {2014-07-13 06:18:36 UTC)     8/22/2013 3:35:04 PM (2013.C8-2215:35:04 UTC)
\lpcdbi.ttf                                        7/13/2014 6:18:36 AM {2014-07-13 06:18:36 UTC)     8/22/2013 3:35:02 PM (2013-08-22 15:35:02 UTC)
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trebucbd.ttf                                       7/13/2014 6:18:36 AM (2014-07·13 06:18;36 UTC)     8/22/2013 3:35:02 PM (20B.C8-22 15:35:02 UTC)
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trado.ttf                                          7/13/20 14 6:18:36 AM (2014-07-13 06:18:36 UTC)    8/22/2013 3:34:S8 PM (2013-08-2215:34:58 UTC)
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tlmesbi.ttf                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/3/2013 4:38:55 AM (2013-08-03 04:38:55 UTC)
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ta lle.ttf                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:24 PM (2013-06--18 14:57:24 UTC)
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sserifftfon                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:30 PM (201.3-{)6--1814:57:30 UTC)
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sseriffe.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:30 PM (2013-06-1814:57:30 UTC)
sserlff.lon                                        7/13/2014 6 :18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:57:30 PM (2013-06-1814:57:30 UTC)
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sserifet.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:30 PM (2013{)6-18 14:57:30 UTC)
sserifer.fo n                                      7/13/2014 6:18:36 AM (2014-07-13 06:18;36 UTC)     6/18/2013 2:57:30 PM (2013•06-1814:57:30 UTC)
sserlfeg.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18;36 UTC)     6/18/2013 2.:57:30 PM (2013-06-1814:57:30 UTC)
sserifee.fon                                       7/13/2014 6:18:36 AM (2014·07-13 06:18:36 UTC)     6/18/2013 2:57:30 PM (2013{)6-1814:57:30 UTC)
sserife.fon                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:30 PM {2013-0&-1814:57:30 UTC)
ssef874.fon                                        7/13/2014 6:18:36 AM (2014.07-13 06:18:36 UTC)     6/18/2013 2:57:31 RM (2013{)6-1814:57:31 UTC)
ssefl2S7 Jon                                       7/13/2014 6:18:36 AM (2014.07- 13 06:18:'36 UTC)   6/18/2013 2;57:30 PM {2013-06-1814:57:30 UTC)
ssefl256.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:56:20 PM (2013{)6-18 14:56:20 UTC)
ssefl255.fon                                       7/13/2014 6:18:36 AM (2014.07-13 06:18:36 UTC)     6/18/2013 ;a~56:5 7 PM l2013·06-18 14;56:57 UTC)
ssee874.fon                                        7/13/2014 6:18:36 AM (2014-07-13 06!18:36 UTC)     6/18/2013 2:57:3~ PM (2013{)6-18 14:57:31 UTC)
ssee1257.fon                                       7/13/2014 6:18:36 AM (2014-07·13 06:18;36 UTC)     6/18/2.013 2:57:30 PM (2013-06-1814:57:30 UTC)
ssee1256.fon                                       7/13/2014 6:18:36 AM (2014·07· 13 06:18:36 UTC)    6/18/2013 2;56:20 PM {2013{)6-1814:56:l0 UTC)
ssee1255.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:56:57 PM (2013{)6-1814,:56:57 UTC)
smallft.fon                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:30 PM (2013{)6-18 14~57;30 UTC)
smallfr.fon                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:30 PM (2013{)6-1814:57:30 UTC)
srnallfg.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:30 PM (2013{)6-1814:57:30 UTC)
srnallfe.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:30 PM (2013..()6-1814:57;30 UTC)
smalff.fon                                         7/13/2014 6:18:36 AM (2014-ll7-13 06:18:36 UTC)    6/18/2013 2:57:30 PM (2013{)6-1814:57:30 UTC)
smallet.fon                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:28 PM (2013-0&-1814:57:28 UTC)
smaller.fon                                        7/13/2014 6:18:36 AM (2014·07-13 06:18:36 UTC)     6/18/2013 2:57;28 PM (2013-06-1814:57:28 UTC)
smalleg.fon                                        7/13/2014 6:18:36 AM (2014{)7-13 06:18:36 UTC)     6/18/2013 2;57:28 PM (2013-06-1814:57 ;28 UTC)
StaticCache.dat                                    7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/22/2013 3:34:59 PM (2013-08-22 15:34:59 UTC)
tahomabd,ttf                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/3/2013 4:38::;5 AM (2013{)8-03 04:38:55 UTC)
tahoma.ttf                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/3/2013 4:38:53 AM (2013-08-03 04:38:53 UTC)
sylfaen.ttf                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:·2.4 PM (2013-06-1814:57;24 UTC)
svgasys.fon                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:56:35 PM l2013·06·18 14:56:35 UTC)
svgaflx.fon                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:56:35 PM (2013·06-1814:56:35 UTC)
scrlpt.fon                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:24 PM (2013.0.6 -1814:57;24 UTC)
r oman.fon                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:24 PM (2013·06-1814;57;24 UTC)
5ltkaZ.ttc                                         7/13/2014 6:18:36 AM (2014·07-13 06:18:36 UTC)     7/8/2013 6:37:49 PM (2013-07·0818;37;49 UTC)
5itkal.ttc                                         7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     7/8/2013 6:37:49 PM (2013-07-0818:37:49 UTC)
5itkaB.rtc                                         7/13/2014 6:18:36 AM (2014-o7-13 06:18:36 UTC)     7/8/2013 6:37:48 PM (2013-07.08 18:37:48 UTC)
51tka.ttc                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36l.JTC)    7/8/2013 6:37:48 PM (2013-07-0818:37:48 UTC)
simsun.ttc                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/3/2013 4:38:31 AM (2013-08{)3 04:38:31 UTC)
simsunb.rtf                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:56:35 PM (2013-06-18 14:56:35 UTC)
shrtltlb.ttf                                       7/13/2014 6:18:36 AM (2014-o7-13 06:18:36 UTC)     6/18/2013 2:56:59 PM (2013{)6-1314!56:59 UTC)
shruti.ttf                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:56:59 PM (2013{)6-18 14:56:59 UTC)
segulsym.ttf                                       7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     3/18/2014 10:08:42 AM {2014·03·1810:08;42 UTC)
segulsli.rtf                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:27 PM (2013{)6-1814:57:27 UTC)
segulsbl.ttf                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:27 PM (2013{)6-1814:57:27 UTC)
segulsb.rtf                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/3/2013 4::S8:53 AM {2013•08-03 04:38:53 UTC)
seguili.ttf                                        7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     6/18/2013 2:57:25 PM (2013,.()6-1814:57:25 UTC)
seguiemj.ttf                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     7/18/2013 3:53:38 PM {2013{)7-1815:53:38 UTC)
segulbli.ttf                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:25 PM (2013{)6-1814:57:25 UTC)
seguibl.ttf                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:25 PM {2013{)6-1814:57:25 UTC)
segoeuiLttf                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/201:3 2:57:25 PM (2013{)6-1814:57:25 UTC).
segoeulsl.ttf                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/6/2013 2:22:28 AM (2013-08-06 02:22:28 UTC)
segoeuiLttf                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/3/2013 4:38:52 AM (2013-08-03 04:38:52 UTC)
segoeuii.tti                                       7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     6/18/2013 2:57:24 PM (2013 -06-1814:57:24 UTC)
segoeuib.ttf                                       7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     8/3/2013 4:38:52 AM (2013-08-03 04:38:52 UTC)
segoeui.ttf                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/3/2013 4:38:50 AM (2013-08-03 04~38:50 UTC)
raavlb.ttf                                         7/13/2014 6:18:36 AM (2014-07-13 06':18:36 UTC)    6/18/201~ 2:56:59 PM (2013-06-1814:56:59 UTC)
                 Case 2:11-cr-00070-RAJ Document 427-16 Filed 09/08/16 Page 20 of 41


s8514sys.fon                                       7/13/2014 6:18:36 AM (2014-0"/-13 06:18:36 UTC)   6/18/2013 2:56:29 PM (2013-06-18 14:56:29 UTC)
smallee.fon                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:57:28 PM (2013-()6-18 14:57:28 UTC)
smalle.fon                                         7/13/2014 6:18:36 AM (2014.Q7-13 06:18:36 UTC)    6/18/2013 2:57:28 PM {2013-<l6-18 14:57:28 UTC)
smafll57.fon                                       7/13/2014 6:18:36 AM (2014-<l7-13 06:18:36 UTC)   6/18/2013 2:57:28 PM (2013-06-18 14;57:28 UTC)
smafll56.fon                                       7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)    6/18/2013 2:56:20 PM (2013-06-18 14:56:20 UTC)
smal'l255.fon                                      7/13/2014 6:18:36 AM (2014-07-1.3 06:18:36 UTC}   6/18/2013 2:56:57 PM (2013-06-18 14:56:57 UTC)
smae1257.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:57:28 PM (2013-C&-18 14:57:28 UTC)
smae1256.fon                                       7/13/20146:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:56:20 PM (2013-()6-18 14:56:20 UTC)
smael255.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:56:57 PM (2013·06-18 14:56:57 UTC)
s85l.4oem.fon                                      7/13/2014·6 :18:36 AM (2014-07-13 06:18:36 UTC)   6/18/201:3 2:56:29 PM (2013-06-1814:56:29 UTC)
serifft.fon                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:57:27 PM (2013-06-1814:57:27 UTC)
seriffr.fon                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:57:27 PM (2013-06-1814:57:27 UTC)
serllfg.fon                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:57:27 PM (2013-<lG-181¢.57:27 UTC)
serlffe.fon                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:57:27 PM (2013-06-18 14:57:27 UTC)
serlfUon                                           7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:57:27 PM (2013-06-18 14:57:27 UTC)
serifet.fon                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:57:27 PM (2013-06-1814:57:27 UTC)
serifer.fon                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36l1TC)    6/18/2013 2:57:27 PM (2013-06-18 14:57:27 UTC)
serlleg.fon                                        7/13/20146:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:27 PM {2013-()6-1.814:57:27 UTC)
serlfee.fon                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:57:27 PM (2013,06-1814:57:27 UTC)
serife.fon                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6(18/2013 2:57:27 PM (2013-<l6· 18 1,.4;57:27 UTC)
serf1.257 .fon                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:57:27 PM (2013-()6-1814;57:27 UTC)
serf1256.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:56:20 PM (201J..()6,18 1.-4:56:20 lJTC)
serf1255.fon                                       7/13/2014 6:1.8:36 AM (2014-07-13 06:18:36 UTC)   6/18/2013 2:56:57 PM {2013-06-18 14:56:57 UTC)
sere125 7.fon                                      7 /B/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:57:27 PM (2013-<lG-18 14:57:27 UTC)
sere1256.ton                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:56:20 PM (2013-06-18 14:56;20 UTC)
sere1255.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:56:57 PM (2013·06-18 14:56;57 UTC)
s8514nx.ron                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:56:29 PM (2013-06-18 14:56:29 UTC)
SHOWG.ITF                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/19/2014 12:22:38 PM (2014-05-19 12:22:38 UTC)
SCRIPT1JL.'TTF                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/19/2014 12:22:39 PM (2014-05-1.9 12;22:39 UTC)
5CHLBKI.'TTF                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/19/2014 12:22:39 I'M (2014·05-1912:22:39 UTC)
SCHLBKBI.'TTF                                      7/13/2014 6:18:36 AM (201.4-07-13 06:18:36 UTC)   5/19/201412:22:39 PM (2014-0S-1.9 1.2:2.2 :39 UTC)
SCHLBKB.ITF                                        7/13/2014 6:18:36 AM (2014-()7-13 06:18:36 UTC)   5/19/201412:22:39 PM {2014-05-19 1.2:22:39 UTC)
ROCKI.m                                            7/13/2014 6:18:36 AM {2014-()7-13 06:18:36 VTC)   5/19/2014 12:22:38 PM (2014-05-19 1.2~22:38 UTC)
ROCKEB.m                                           7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/19/201412:22:38 PM (2014-05-1912:22:38 UTC)
ROCKBI.m                                           7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/19/20~412:22:38 PM (2014-0S-l9l2:22:38 UTC)
ROCI<B.'TTF                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/19/2014 12:22:38 PM (2014-05-19 12:22:38 UTC)
ROCK.'TTF                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 VTC)    5/19/201412:22:38 PM (2014-05-19l2~22:38lJTC)
ROCCB_.'TTF                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/19/2014 12:<2:38 PM (2014-05-19 12:22:38 UTC)
ROCC_.m                                            7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/19/201412:22:38 PM (2014-05,19 12:22:38 UTC)
REFSPCL.'TTF                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/19/201412;22:38 PM (2014-05-19 12:22:38 UTC)
REFSAN.'TTF                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/19/2014 12:22.:38 PM (2014-05-19 12:22:38 UTC)
RAVIE.'TTF                                         7/13/20146:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/201412:22:38 PM (2014-05-1912:22:38 UTC)
RAGE.m                                             7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/19/2014 12:22:38 PM (2014-05-19 12:22:38 UTC)
simsunb.ttf                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:56:35 PM (2013-06-1814:56:35 UTC)
simpo.ttf                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    8/22/2013 3:35:00 PM (2013-Q8-22 15:35:00 UTC)
simpfxo.ttf                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    8/22./2013 3:34:59 PM {2013-()8-2215:34:59 UTC)
slmpbdo.ttf                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    8/22/2013 3:34:59 PM (2013-()8-22 15:34:59 UTC)
simkal.ttf                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    8/22/2013 3:35:02 PM (2013-<lll-22 15:35:02 UTC)
simhei.nf                                          7/13/2014 6:18:36 AM (1014-07-13 06:18:36 UTC)    8/n/2013 3:35:01 PM (2013-<l8-22 15:35;01 UTC)
slmfang.ltf                                        7/13/2014 6:18:36 AM (2014-()7-13 06:18:36 UTC)   8/22/2013 3:35:00 PM (2013-08-22 15:35:00 UTC)
s hrutlb.l:tf                                      7/13/2014 6:18:36 AM (2014-07-13 06;18:36 UTC)    6/18/2013 2:56:59 PM (2013-()6-18 14:56:59 UTC)
shrutl.ttf                                         7/13/2014 6:18:36 AM (2014-<l7-13 06;18:36 UTC)   6/18/2013 2:56;5,9 PM (2013-06-18 14:56:59 UTC)
                Case 2:11-cr-00070-RAJ Document 427-16 Filed 09/08/16 Page 21 of 41


Shonarb.ttf                                       7/13/2014 6:18:36 AM (2014->07-13 06:18:36 UTC)    8/22./2013 3:35:03 PM (2013-08-2215:35:03 UTC)
Shonar.ttr                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/22/2013 3:35:03 PM (2013..08-22 15:35:03 UTC)
segoescb.ttf                                      7{13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/22/2013 3:3St03 PM (2013~08-22 15:35:03 UTC)
segoesc.ttf                                       7/13/2014 6:18:36 AM (2014..07-13 06:18:36 UTC)    8/22/2013 3:35:00 PM (2013..08-22 15:35:00 UTC)
segoeprb.ttf                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/22/2013 3:34:59 PM (2013..08-2215:34:59 UTC)
segoepr.ttf                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/22/2013 3:35:03 PM (2013-08-22 15:35:03 UTC)
rod.ttf                                           7/13/2014 6:18:36 AM (2014-07-1306:18:36 UTC)      8/22/2013 3:35:03 PM (2013-08-22 15:35:03 UTC}
raavib.ttf                                        7/13/2014 6:18:36AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:56:59 PM (2013-{)6-1814:56:59 UTC)
SltkaZ.ttc                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     7/8/2013 6:37:-l9 PM (2013..07-{)818:37:49 UTC)
Sltkal.ttc                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     7/8/2013 6:37:49 PM {2013..07-0818:37:49 UTC)
SltkaB.ttc                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     7/8/2013 6:37:48 PM (2013..07-08 18:37:48 UTC)
Sltka.ttc                                         7/13/2014 6:18:36 AM (2014..07-13 06:18:36 UTC)    7/8/2013 6:37:~8 PM (2013-07..0818:37:48 UTC)
simsun.ttc                                        7/13/2014 6:18:36 AM (2014..07-13 06:18:36 UTC)    8/3/2013 4:38:31 AM (2013..08-03 04:38:31 UTC)
smallee.fon                                       7/13/2014 6:18:36 AM (201.4-{)7-13 06:18:36 UTC)   6/18/2013 2:57:28 PM (2013-06-18 14:57:28 UTC)
smalle.ron                                        7/13/2014 6:18:36 AM (2014-07 -13 06:18:36 UTC)    6/18/2013 2:57:28 PM (2013-{)6-1814:57:28 UTC)
smaf1257.fon                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:28 PM (2013-{)6-18 14:57:28 UTC)
smaf1256.fon                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:56:20 PM (2013..06-18 14:56:20 UTC)
smaf1255.fon                                      7/13/2014 6:18:36 AM (2014->07-13 06:18:36 UTC)    6/18/2013 2:56:57 PM (2013-06-1814:56:57 UTC)
smae1257.fon                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:28 PM (2013-06-18 14:57:28 UTC)
smae1256.fon                                      7/13/2014 6:18:36 AM (2014-07-B 06:1.8:36 UTC)     6/18/2013 2:56:20 PM (2013..06-1814:56:20 UTC)
smae1255.fon                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:56:57 PM (2013..06-1814:56:57 UTC)
serlfft.fon                                       7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     6/18/2013 2:57:27 PM (2013-{)6-1814:57:27 UTC)
serlffr.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:27 PM (2013..06-18 14:57:27 UTC)
serlffg.fon                                       7/13/2014 6:18:36 AM (2014-07-1.3 06:18:36 UTC)    6/18/2013 2:57:27 PM (2013-06-1814:57:27 UTC)
serlffe.fon                                       7/13/2014 6:18:36 AM (2014-{)7-13 06:18:36 UTC}    6/18/2013 2:57:27 PM (2013-{)6-18 14:57:27 UTC)
serlff.fon                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:27 PM (2013-06-1814:57:27 UTC)
serlfet.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:27 PM (2013-06-18 14:57:27 UTC)
serlfer.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:27 PM (2013,06-18 14:57:27 UTC)
serlfeg.fon                                       7/13/2014 6:18:36 AM (201.4-07-13 06:18:36 U fC)   6/18/2013 2:57:27 PM (2013-06·1814:57:27 UTC)
serlfee.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:27 PM (2013..06·1814:57:27 UTC)
serlfe.fon                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18{2013 2:57'27 PM (2013-06-1814:57:27 UTC)
serf1257.fon                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57 27 PM (201.3..06-18 14:57:27 UTC)
serf1256.fon                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC}     6/18/2013 2:56 20 PM (2013..06-18 14:56:20 UTC)
serf1255.fon                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18{2013 2:56·57 PM (2013-{)6-18 14:56:57 UTC)
sere1257.fon                                      1/13/2014 6:18:36 AM (2014-{)7-13 06:18:36 UTC}    6/18/2013 2:57:27 PM {2013-{)6·18 14:57:27 UTC)
serel256.fon                                      7/13/201A 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:56:20 PM (2013-06·18 14:56:20 UTC)
sere1255.fon                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:56:57 PM (2013..06-18 14:56:57 UTC)
scrlpt.fon                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:24 PM (2013-06·1814:57:24 UTC)
roman.fon                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:24 PM (2013-{)6-1814:57:24 UTC)
seguisym.ttf                                      7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC}     3/18/2014 10:08:42 AM (2014-03-1810:08:42 UTC)
seguisli.ttf                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC}     6/18/2013 2:57:27 PM (2013..06-1814:57:27 UTC)
seguisbl.ttf                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC}     6/18/2013 2:57:27 PM (2013..06-1814:57:27 UTC)
seguisb.ttf                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/3/2013 4:38:53 AM (2013..08-03 04:38:53 VTC)
seguili.ttf                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:25 PM (2013-06-18 14:57:25 UTC)
segulemj.tt1                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     7/18/2013 3:53:38 PM (2013·07-18 15:53:38 UTC)
segulbll.ttf                                      7/13/2014 6:18:36 AM (2014-07-13 06~18:36 UTC)     6/18/2013 2:57:25 PM {2013•06-18 14:57:25 UTC)
segulbl.ttf                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:25 PM (2013·0&-18 14:57:25 UTC)
segoeuiz.ttf                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:25 PM (2013-{)6-18 14:57:25 UTC)
segoeuisl.ttf                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/6/'},013 2:22:28 AM (2013-08-{)6 02:22:28 UTC)
segoeuil.ttf                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/3/2013 4:38:52 AM (2013-08-03 04:38:52 UTC)
segoeuii.ttf                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC}     6/18/201.3 2:57:24 PM (2013-06-1814:57:24 UTC)
segoeuib.ttf                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/3/2013 4:38:52 AM (2013..08-03 04:38:52 UTC)
               Case 2:11-cr-00070-RAJ Document 427-16 Filed 09/08/16 Page 22 of 41


s8514sys.fon                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/1!1/2013 2:56:29 PM (2013·06-1814:56:29 UTC)
s8514oem.fon                                      7/13/2014 6:18:36 AM (2014-07 -13 06:18:36 UTC)    6/18/2013 2:56:29 PM (2013-06-1814:56:29 UTC)
s8514Hx.fon                                       7/13/2014 6:18:36 AM (2014.07·13 06:18:36 UTC)     6/18/2013 2:56:29 PM (2013-06-18 14:56:29 UTC)
segoeui.ttf                                       7/13/2014 6:18:36 AM (2014.07-13 06:18:36 UTC)     8/3/2013 4:38:50 AM (2013.08.03 04:38:50 UTC)
modern.fon                                        7/13/2014 6:18:~6 AM {2014-07·13 06:18:36 UTC)     6/18/2013 2;57:22 PM (2013-06·18 14:57:2 2 UTC)
msyi.ttf                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:24 PM (2013.06·18 14:57:24 UTC)
raavi.ttf                                         7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     6/18/2013 2:56:59 PM (2013-06-1814:56:59 UTC)
phagspab.ttf                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:24 PM (2013-06-1814:57:24 UTC)
phagspa.ttf                                       7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     6/18/2013 2:57:24 PM (2013-06-1814:57:24 UTC)
nyala.ttf                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:24 PM (2013.06-1814:57:2-4 UTC)
mvboli.ttf                                        7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     6/18/2013 2:56:20 PM (2013-06-1814:56:20 UTC)
msmlncho.ttc                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:08 PM (201HJ6-18 14:57:08 UTC)
msgothlc.ttc                                      7/13/2014 6:18:36 AM (2014.07·13 06:18:36 UTC)     6/18/2013 2:57:06 PM (2013.06-18 14:57:06 UTC)
mmrtextb.ttf                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:2A PM (2013-05-18 14:57:24 UTC)
mmrtext.ttf                                       7/13/2014 6:18:36 AM (2014.07-13 06:18:36 UTC)     6/18/2013 2:57:24 PM (2013-06-18 14:57:24 UTC)
ml<1gliu.ttc                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:56:38 PM (2013.06-18 14:56:38 UTC)
mln&liub.ttc                                      7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     6/18/2013 2:56:41 PM (2013.06-18 14:56:41 UTC}
meiryo,ttc                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/3/2013 4-:3a:34 AM (2013.08-03 04:38:34 UTC)
marlett.ttf                                       7/13/2014 6:18:36 AM (2014-07~13 06:18:36 UTC)     6/18/2013 2:S7:22 PM (2013-06·1814:57:22 UTC)
mangalb.ttf                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:56:59 PM {2013-06-1814:56:59 UTC)
mangal.ttf                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:56:59 PM (2013-05-18 14:56:59 UTC)
malgun.ttf                                        7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     6/18/2013 2:57:18 PM (2013-06-1814:57:18 UTC)
monbaitl.ttf                                      7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     8/7/2013 1:17:38 AM (2013·08-07 01:17:38 UTC)
msyhl.ttc                                         7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     7/15/2013 4:54:22 PM (2013-07·15 16:54:22 UTC)
msyh.ttc                                          7/13/2014 6:18:36 AM {2014-07·13 06:18:36 UTC)     7/8/2013 6:37:43 PM (2013.07-0818:37:43 UTC)
meiryob.ttc                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/3/2013 4:38:35 AM (2013.08.03 04:38:35 UTC)
plantc.ttf                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:24 PM (2013-06-1814:57:24 UTC)
ntailub.ttf                                       7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     6/18/2013 2:57:24 PM (2013.06-1814:57:24 UTC)
ntatlu.ttf                                        7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC}     6/18/2013 2:57:24 PM (2013-06-1814:57:24 UTC)
msjhl.ttc                                         7/'13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)    7/18/2013 3:53:34 PM (2013-07·1815:53,34 UTC)
malgunbd.ttf                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:19 PM (2013-06-1814:57:19 UTC)
lucon.ttf                                         7/13/2014 6:18:36 AM (2014-07~13 06:18:36 UTC)     6/18/2013 2:57:19 PM (2013-06-1814:57:19 UTC)
msjh.ttc                                          7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     7/15/2013 4:54:25 PM (2013.07-15 16:54:25 UTC)
msjhbd.ttc                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     7/15/2013 4;54:27 PM (2013·07· 15 16:54:27 UTC)
NlrmalaS.ttf                                      7/13/2014 6:18:36 AM (201.4-07· 13 06:18:36 UTC)   7/24/2013 6:47:33 PM (2013.07·2418:47:33 UTC)
NlrmalaB.ttf                                      7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     8/3/2013 4:3@:32 AM (2013-08-03 04;38:32 UTC)
Nlrmala.ttf                                       7/13/2014 6:18:36 AM (2014-<l7·13 06:18:36 \JTC)   8/3/2013 4:38:31 AM (2013.08.03 04:38:31 UTC)
msyhbd.ttc                                        7/13/2014 6:18!36 AM (2014·07-13 06:18:36 UTC)     7/8/2013 6:37:44 PM (2013·07-08 18:37:44 UTC)
mlcross.ttf                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/3/2013 4:38:50 AM (2013.08-03 04:38:50 UTC)
PRIS11NA.ffi                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/2014 12:22:38 PM (2014-0~19 U:22:38 UTC)
POORICH.ffi                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/2014 12:22:38 PM (2014-05·19 12:22:38 UTC)
PLAYBILL.ffi                                      7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     5/19/201412:22:38 PM (2014-05· 19 12:22:38 UTC}
PERllU.TIF                                        7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     S/19/201412:22:38 PM (2014-05·1912:22:38 UTC)
PERTIBD.m                                         7/13/2.014 6:18:36 AM (2014-07·13 06:18:36 UTC)    5/19/201412:22:38 PM (2014-05-19 12:22.:38 UTC)
PERI_.m                                           7/ia/2014 6:18:36 AM (2014-07 ·13 06:1!):36 UTC)   5/19/201412:22:38 PM (2014-05-19 12:22:38 UTC)
PERBI_ .'ITF                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/2014 12:22:38 PM (2014-05·19 12:22:38 UTC)
PERB_.TIF                                         7/13/2014 6:18:36 AM (2014-07-13 06;18:36 UTC)     5/19/2014 12:22:38 PM (2014-05-19 U :22:38 UTC}
PER_ _.m                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/2014 12:22:38 PM (2014-05·19 12:22:38 UTC)
PARCHM.m                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/2014 12:2.2:38 PM (2014-05-19 12:22:39 UTC)
PAPYRUS.TIF                                       7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     5/19/201412:22;38 PM (2014-05·19 12:22:38 UTC)
PALSCRI.TIF                                       7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     S/19/201412:22:38 PM (2014-05·1912:22:38 UTC)
ounooK.m                                          7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     5/19/2014 12:22:38 PM (2014-05-19 12:22:38 UTC)
                 Case 2:11-cr-00070-RAJ Document 427-16 Filed 09/08/16 Page 23 of 41


ONYX.TfF                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/19/201412:22:38 PM (2014-05·1.912:22:38 UTC)
OlDENGL.TIF                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/1.9/201412:22:38 PM (2014-05-1912:22:38 UTC)
OCRAEXT.TfF                                       7/13/2014 6:18:36 AM (2014~7-13 06:18:36 UTC)     S/19/201412:12:38 PM (2014-05·19 12:22:38 UTC)
NIAGSOL.TIF                                       7/13/2014 6:18:36 AM (2014-{)7-13 06:18:36 UTC)   5/19/201412:22:38 PM (2014.05·1912:22:38 UTC)
NIAGENG.TIF                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/19/201412:21:38 PM (2014-05·1912:22:38 UTC)
MOD20.TIF                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/19/201412:22:38 PM (201.4-05-19 12:22:38 UTC)
MISTRALTfF                                        7/13/2014 6:18:36 AM (2014-il7-13 06:18:36 UTC)   5/1.9/2014 12:22:39 PM (2014-0>1912:22:39 UTC)
MATURASC. TIF                                     7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)    5/19/201412:22:38 PM (2014-05·1912:22:38 UTC)
MAIAN .TfF                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/19/2014 12:22:38 PM (2014-05·19 12:22:38 UTC)
MAGNETOB.TIF                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/1.9/201412:22:39 PM (20:l4-0S·1912:22:39 UTC)
lTYPEO.m                                          7/U/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     5/19/201412:22:39 PM (2014-05-1.9 1.2:22:39 UTC)
MTCORSVA.m                                        7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)    S/19/2D14 12:22:39 PM (2014-0>19 12:22:39 UTC)
LlYPEB.TfF                                        7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)    S/19/2014 12:22:39 PM (2014-0S-19 12:22:39 UTC)
LTYPE.TIF                                         7/13/2014 6:18:36 AM (2014·07•13 06:18:36 UTC)    5/19/201412:22:38 PM (2014-05·19 12:22:38 UTC)
LSANSI.TIF                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/19/2014 12:22:38 PM (2014-05-19 12:22:38 UTC)
LSANSDI.TfF                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/19/2014 12:22:38 PM (2014-0S-19 12:Z2:38 UTC)
LSANSD.TIF                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    S/1.9/2014 12:22:38 PM (2014-0S-19 12:2.2:38 UTC)
LSANS.TIF                                         7/13/2014 6:18:36 AM (201¢-07-13 06:18:36 UTC)    S/19/201412:22:38 PM (2014-05-19 12:22:38 UTC)
LHANOW.TIF                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/19/201412:22:38 PM (2014-0S-1912:22:38 UTC)
LFAXI.TIF                                         7/13/2014 6:18:36 AM (2014-07·13 06:18::16 UTC)   5/19/201412:22:38 PM (2014-05-1912:22:38 UTC}
LTYPEtiO.TIF                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/19/201412:22:38 PM (2D14-05-1.912:22:38 UTC)
MTEXTRA.TIF                                       7/13/2014 6:18:36 AM (2014-<17·13 06:18:36 UTC)   5/19/201412:22:37 PM (2014-05-19 12:22:37 UTC)
raavl.ttf                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:56:59 PM (2013.06-1814:56:59 UTC)
plantc.ttf                                        7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)    6/18/2013 2:57:24 PM (2013-06-l814:S7:24 UTC)
phagspa b. ttf                                    7/13/201.4 6:18:36 AM (2014-07-13 06:18:36 UTC)   6/18/2013 2:57:24 PM (2013-06-18 14:57:24 UTC)
phagspa .ttl                                      7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)    6/18/201.3 2:57:24 PM (2013·06-18 14:57:24 UTC)
palai.ttr                                         7/13/2014 6:18:36 AM (20~4-07·13 06:18:36 UTC)    8/22/2013 3:35:00 PM (2013-08-22 15:35:00 UTC)
palabl.ttl                                        7/13/2014 6:18:36 AM (201-4-07-13 06:18:36 UTC)   8/22/2013 3:34:57 PM (2013-08-22 15:34:57 UTC)
palab.ttf                                         1/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    8/22/201.3 3:35:02 PM (2013-08-22 15:35:02 UTC)
pala.ttf                                          7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)    8/22/2013 3:35:03 PM (2013·08·22 15:35;03 UTC)
nyala.ttf                                         7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)    6/18/2013 2:57:24 PM (2013-06-1814:57:24 UTC)
ntallub.ttf                                       7/B/2014 6:18:36 AM (2014.07-13 06:18:36 UTC)     6/18/2013 2:57:24 PM (2013-06-1814:57:24 UTC)
ntallu.ttf                                        7/1.3/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)   6/18/2013 2:57:24 PM (2013-06-18 14:57:24 UTC)
nrkis.ttf                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    8/22/2013 3:34:57 PM (2013-08·22 15:34:57 UTC)
NirmalaS.ttf                                      7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)    7/24/2013 6:47:33 PM (2013·07-24 18:47:33 UTC)
NlrmalaB.ttf                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    8/3/2013 4:38:32 AM (2013-08~3 04:38:32 UTC)
Nlrmala.ttf                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    8/3/2013 4:38:31 AM (2013-08-03 04:38:31 UTC)
mvboll.ttl                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:56:20 PM (2013-06-18 14:56:20 UTC)
msyl.ttf                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:57:24 PM (2013-06-18 14:57:.24 UTC)
msulghur.ttf                                      7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)    8/22/2013 3:35:03 PM (2013·08-22 15:35:03 UTC)
msulghub.ttf                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    8/22/2013 3:34:57 PM (2013-08-22 15:34;57 UTC)
mriamc.ttr                                        7/13/2014 6:18:36 AM (2014-07 -13 06:18:36 UTC)   8/2.2/2013 3:35:00 PM (2013-08-22 3.5:35:00 UTC)
mrlam.ttl                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    8/22/2013 3:35:00 PM (2013-08-22 1.5:35:00 UTC)
moolbor.ttf                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    8/22/2013 3:34:57 PM (2013-08-22 15:34:57 UTC)
monbaiU.ttf                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC}    8/7/20131:17:38AM (2013·08-07 01:17:38 UTC)
mmrtextb.ttf                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:57:24 PM (2013.06-18 14:57:24 UTC)
mmrtl!)(t.ttf                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC}    6/18/2013 2:57:24 PM (2013-06-18 14:57:24 UTC)
mangalb.ttf                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:56:59 PM (2013.06-18 14:56:59 UTC)
mangal.ttf                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:56:59 PM {2013.06-18 14:56:59 UTC)
malgunbd.ttf                                      7/13/2014 6:18:36 AM (2014-il7-13 06:18:36 UTC)   6/18/2013 2:57:19 PM (2013-06·1814:57:19 UTC)
rnalgun.ttf                                       7/13/2014 6:18:36 AM (2014·07-13 06:18:36 UTC)    6/18/2013 2:57:18 PM (2013-06·1814: 57:18 UTC)
majallab.ltf                                      7/13/2014 6:18:36 AM (2014-il7-13 06:18:36 UTC)   8/22/2013 3:34:58 PM (2013-08-22 15:34:58 UTC)
                Case 2:11-cr-00070-RAJ Document 427-16 Filed 09/08/16 Page 24 of 41


maJaila.ttf                                       7/13/2014 6:18:36 AM (2014-{}7-13 06:18:36 UTC)   8/22/2013 3:34:58 PM (2013.08-2215:34:58 UTC)
lvnmbd.ttf                                        7/13/2014 6:18:36 AM (2014-a7·13 06:18:36 UTC)    8/22/2013 3:35:03 PM (2013-<JB-22 15:35:03 UTC)
lvnm.ttf                                          7/13/2014 6:18:96 AM (2014-a7·13 06:18:36 UTC)    8/22/2013 3:34:58 f>M (2013.08-22 15:34:58 UTC)
l_10646.ttf                                       7/13/2014 6:18:36 AM (2014-{}7-13 06:18:36 UTC)   8/22/2013 3:34:56 PM (2013.08-2215:34:56 UTC)
msyhl.ttc                                         7/13/2014 6:18:36 AM (2014·07-13 06:18:36 UTC)    7/15/2013 4:54:22 PM (2013·07-15 16:54:22 UTC)
msyhbd.ttc                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    7/8/2013 6:37:44 PM (2013-a7-{)818:37:44 UTC)
msyh.ttc                                          7/13/2014 6:18:36 AM (2014-{)7-13 06:18:36 UTC)   7/8/2013 6:37:43 PM (2013-{)7-{)8 18:37:43 UTC)
msmlncho.ttc                                      7/13/2014 6:18:36 AM (201W7-13 06:18:36 UTC)      6/18/2013 2:57:08 PM (2013..()6-18 14:57:08 UTC)
msjhl.ttc                                         7/13/20146:18:36 AM (2014-07·13 06:18:36 UTC)     7/18/2013 3:53:34 PM (2013..()7-1815:53:34 UTC)
msjhbd.ttc                                        7/13/2014 6:18:36 AM (2014-{)7-13 06:18:36 UTC)   7/15/2013 4:54:27 PM (2013-{)7-15 16:54:27 UTC)
msjh.ttc                                          7/13/2014 6:18:36 AM (2014-a7·13 06:18:36 UTC)    7/15/2013 4:54;25 PM (2013..()7-1516:54:25 UTC)
msgothic.ttc                                      7/13/20146:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57;06 PM (2013..()6-1814:57:06 UTC)
mlngllub.ttc                                      7/13/2014 6:18:36 AM (2014-{)7-13 06:18:36 UTC)   6/18/2013 2:56:41 PM (2013..()6-1814:56:41 UTC)
mlngliu.ttc                                       7/13/2014 6:18:36 AM f2014-a7-13 06:18:36 UTC)    6/18/2013 2:56:38 PM (2013..()6.1814:56:38 UTC}
meiryob.ttc                                       7/13/2014 6:18:36 AM (201W7-13 06:18:36 UTC)      8/3/2013 4:38:35 AM (2013-08-{)3 04:38:35 UTC)
melryo.ttc                                        7/13/20146:18:36 AM (2014-{)7-13 06:18:36 UTC)    8/3/2013 4:38:34 AM (2013..()8-03 04:38:34 UTC)
modemJon                                          7/13/2014 6:18:36 AM (201W7·13 06:18:36 UTC)      6/18/2013 2:57:22 PM (2013..()6·1814:57:22 UTC)
mlcross.ttf                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    8/3/2013 4:38:50AM (2013..()8..()3 04:38:50 UTC)
marlett.ttf                                       7/13/2014 6:18:36 AM (2014-{)7-13 06:18:36 UTC)   6/18/2013 2:57:22 PM (2013..()6·18 14:57:22 UTC)
lucon.ttf                                         7/13/2014 6:18:36 AM (20l4-a7·13 06:18:36 UTC)    6/18/2013 2:57:19 PM (2013..()6-1814:57:19 UTC)
lathal>.ttf                                       7/13/2014 6:18:36 AM (20l4-a7-13 06:18:36 UTC)    6/18/2013 2:56:59 PM (2013-a6·18 14:56:59 UTC)
latha.ttf                                         7/13/2014 6:18:36 AM (20l4-a7-13 06:18:36 UTC)    6/ 18/2013 2:56:59 PM (2013-06-18 14:56:59 UTC}
laoUib.ttf                                        7/13/20146:18:36 AM (2014-a7-13 06:18:36 UTC)     6/18/2013 2:5 7:19PM (2013-06-1814:57:19 UTC)
laoUI.ttf                                         7/13/2014 6:18:36 AM (201A-07-13 06:18:36 UTC)    6/18/2013 2:57:19 PM (201.3-06-1.814:57:19 UTC)
KhmerUib.ttf                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:57:30 PM (2013.06·1814:57:30 UTC)
KhmerUI.ttf                                       7/13/2014 6:18:36 AM (2014-{)7-13 06:18:36 UTC)   6/18/2013 2:57:30 PM (2013-06-1814:57:30 UTC)
kartlkab.ttf                                      7/13/2014 6:18:36 AM (201W7·13 06:18:36 UTC)      6/18/2013 2:56:59 PM (2013.06·1814:56:59 UTC)
kartll<a.ttf                                      7/13/2014 6:18:36 AM (2014-{)7-13 06:18:36 UTC)   6/18/2013 2:56:59 PM (2013--06·1814:56:59 UTC)
kallngab.ttf                                      7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)    6/18/201S 2;56:59 PM (2013..()6-1814:56:59 UTC)
kalinga.ttf                                       7/13/2014 6:18:36 AM (20~4-{)7-13 06:18:36 UTC)   6/18/2013 2:56:59 PM (2013-06-1814:56:59 UTC)
gullm.ttc                                         7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)    6/18/2013 2:57:16 PM (2013..()6-1814:57:16 UTC)
jvgasys.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:57:02 PM (2013..()6-1814:57:02 UTC)
J8514sys.fan                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:57:02 PM (2013..()6-18 14:57:02 UTC)
hvgaSV$.fcn                                       7/13/2014 6:18:36 AM (2014·{)7·13 06:18:36 UTC)   6/18/2013 2:57:16 PM (2013.06·1814:57:16 UTC)
h8514sys.fon                                      7/13/2014 6:18:36 AM (2014-a7-13 06:18:36 UTC)    6/18/2013 2:57:16 PM (2013.06·1814:57:16 UTC)
jsmallf.fon                                       7/13/2014 6:18:36 AM (2014.07-13 06:18:36 UTC)    6/18/2013 2:57:02 PM (2013..()6-181.4:57:02 UTC)
jsmalle.fon                                       7/13/2014 6:18:36 AM (2014.07-13 06:18:36 UTC)    6/18/2013 2:57:02 PM (2013·06-1814:57t02 UTC)
j8514oem.fon                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC}    6/18/2013 2:57:00 PM (2013-06-1814:57:00 UTC)
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jvgallx.fon                                       7/13/2014 6:18:36 AM (2014-a7-13 06:18:36 UTC}    6/18/2013 2:57:02 PM (2013-06-1814:57:02 UTC)
j8514fix.fon                                      7/13/2014 6:18:36 AM {2014-a7·13 06:18:36 UTC)    6/18/2013 2:57:00 PM (2013-06-1814:57:00 UTC)
hvgafix.fon                                       7/13/2014 6:18:36 AM (201W7·13 06:18:36 UTC)      6/18/2013 2:57:16 PM (2013..()6-1814:57:16 UTC)
h8514fot.fon                                      7/13/2014 6:18:36 AM (201W7-13 06:18:36 UTe)      6/18/2013 2:57:16 PM (2013-06·1814:57:16 UTC)
leeiUisl.ttf                                      7/13/2014 6:18:36 AM (201W7-13 06:18:36 UTC)      6/18/2013 2:57:31 PM (2013-{)6-1814:57:31 UTC)
leelawUI.ttf                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:57:31 PM (2013..()6-1814:57:31 UTC)
leelautb.ttf                                      7/13/2014 6:18:36 AM (2014-{)7-13 06:18:36lJTC)   6/18/2013 2:57:30 PM (2013.06-1814:57:30 UTC)
javateKt.ttf                                      7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)    7/15/2013 4:54:27 PM (201Hl7·1516:54:27 UTC)
leelawdb.ttf                                      7/13/2014 6:18:36 AM (2014-<!7-13 06:18:36 UTC)   6/18/2013 2:57:31 PM (2013..()6-1814:57:31 UTC)
leelawad.ttf                                      7/B/2014 6:18:36 AM (2014-{)7·13 06:18:36 UTC)    6/18/2013 2:57:31 PM (2013..()6-18 14:57:31 UTC)
lskpotab.ttf                                      7/B/2014 6:18:36 AM (2014-{)7-13 06:18:36 UTe)    6/18/2.013 2:56;57 PM (2013-{)6-18 14:56:57 UTC}
iskpota.ttf                                       7/13/2014 6:18:36 AM (2014-a7·13 06:18:36 UTC)    6/18/2013 2:56:57 PM (2013.06-1814:56:57 UTC)
hlrnalaya.ttf                                     7/13/2014 6:18:36 AM (201W7·13 06:18:36 UTC)      7/18/2013 3:53:38 PM (2013·07-18 15:53:38 UTC)
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lFAXDI.TTF                                                            7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/2014 12:2.2:38 PM (2014-()5-19 12:22:38 UTC)
LFAX0.1TF                                                             7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     S/19/201412:22:38 PM (2014-05-19 12:22:38 UTC)
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LBRITE.lTF                                                            7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/2014 12:22:38 PM (2014-05-19 12:22:38 UTC)
LATINWD.lTF                                                           7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/201412:22:38 PM (2014-05-1912:22:38 UTC)
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JUICE_.1TF                                                            7/13/2014 6:18:36 AM (2014-{17-13 06:18:36 UTC)    S/19/2014 12:22:38 PM (2014-05-1912:22:38 UTC)
JOKERMAN.1TF                                                          7/13/2014 6:18:36 AM (201.4-07-13 06:18:36 UTC)    5/1.9/201412:22:38 PM (2014-05-1912:22 :38 UTC)
ITCKRIST.1TF                                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/201412:22:38 PM (2014-05-1912:22:38 UTC)
ITCED5CR.TTF                                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     S/19/2014 12:12:38 PM (2014-05-1912:22:38 UTC)
ITCBLKAD.1TF                                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     S/19/201412:22:38 PM (2014-0S-1912:22:38 UTC)
INFROMAN.lTF                                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/2014 12:22:38 PM (2014-()S-1.9 12:22:38 UTC)
IMPRI5HA.lTF                                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     S/19/201412:22:38 PM (2014-()5-1912:22:38 UTC)
HTOWERTI.1TF                                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/201412:22:38 PM (2014-05-1912:22:38 UTC)
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HAlTEN.nF                                                             7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UIC)     5/19/201412:22:38 PM (2014-05-1912:22:38 UTC)
HARNGTON.lTF                                                          7/13/2014 6:18:36 AM (2014-()7-13 06:18:36 UTC)    5/19/201412:22:38 PM (2014-0!'>-1912:22:38 UTC)
HARLOW51.lTF                                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     S/19/2014 12:2.2 :38 PM (2014-05-1912:22:38 LITC)
GOUDYST0.1TF                                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     S/19/201412:22:38 PM (2014-05-191.2:22:38 LITC)
GOUD05B.lTf                                                           7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     S/19/2014 12:22:38 PM (2014-05-191.2:22:38 UTC)
GOUOOS.TIF                                                            7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     S/19/2014 12;2.2;38 PM (2014-05-1912:22:38 UTC)
GOTHIC1.1TF                                                           7/13/2014 6:18:36 AM (201.4-07-13 06:18:36 UTC)    5/19/201412:22:38 PM (2014-05-1912:22:38 UTC)
GOTHICBI.1TF                                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/2014 12:22:38 PM (2014-05-1.9 12:22:38 UTC)
GOTHICB.TIF                                                           7/13/2014 6:18:36 AM (2014-07-1.3 06:18:36 urc)    5/19/2014 12:22:38 PM (2014-()5-19 12:22:38 UTC)
GOTHIC.lTf                                                            7/13/2014 6:18:36 AM (2014-()7-13 06:18:36 LITC)   5/19/201.4 12:22:38 PM (2014-05-19 12:22:38 LITC)
GLSNECB.TTF                                                           7/13/2014 6:18:36 AM (2014-()7-1.3 06:18:36 UTC)   S/19/201412:22:38 PM (2014-05-1912:22:38 UTC)
GLECB.lTf                                                             7/13/2014 6:18:36 AM (2014-()7-13 06:18:36\.JTC)   5/19/20141.2:22:38 PM (2014-()S-1912:22:38 UTC)
Gll_ _.TTf                                                            7/13/2014 6:18:36 AM (2014-()7-13 06:18:36 UTC)    5/19/2014 12:22:38 PM (2014·05-19 12:22:38 UTC)
GOUOOSI.TIF                                                           7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     S/19/2014 12:22:38 PM (2014-05-1912:22:38 UTC)
GlobaiUserlnterface.CompositeFont                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/15/2014 8:52:09 PM (2014-05-15 20:52:09 UTC)
GlobalSerlf.ComposlteFont                                             7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/15/2014 8:52:09 PM (2014-05-15 20:52:09 UTC)
GlobaiSansSerlt.ComposlteFont                                         7/13/2014 6 :18:36 AM (2014-07-13 06:18:36 UTC)    S/15/2014 8:52:09 PM (2014-05-1.5 20:52:09 UTC)
GlobaJMonospace.CompositeFont                                         7/13/2014 6:18:36 AM (2014-()7-13 06:18:36 UTC)    S/l5/2014 8:52:09 PM (2014-05-15 20:52:09 UTC)
LeeiUisl.ttf                                                          7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     6/18/2013 2:57:31 PM (2013-06·1814:57:31 UTC)
LeelawUI .ttf                                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:31 PM (2013-06-1814:57:31 UTC)
leelawdb.ttf                                                          7/13/2014 6:18:36 AM (2014-07-13 0 6:18:36 UTC)    6/18/201.3 2:57:31 PM (2013-06-18 14:57:31 UTC)
leelavro~d.ttf                                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:31 PM (2013·06-1814:57:31 UTC)
LeelaUib.ttf                                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:30 PM (2013-()6-1814:57:30 UTC}
lathab.ttf                                                            7/13/2014 6:18:36 AM (2014-07-13 06:18:36 LITC)    6/18/2013 2:56:59 PM (2013-()6-1814:56:59 UTC)
latha.ttf                                                             7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:56:59 PM (2013·06-18 14:56:59 UTC)
LaoUib.ttf                                                            7/13/2014 6:18:36 AM (2014-07·13 06;18:36 UTC)     6/18/2013 2:57:19 PM (2013-06·1814:57:19 UTC)
LaoUI.ttf                                                             7/13/2014 6 :18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:57:19 PM (2013·06-1814:57:19 UTC)
kokilal.ttf                                                           7/13/2014 6:18:36 AM (201.4-()7-13 06:18:36 UTC)   8/22/2013 3:35:00 PM (2013-08-2215:35:00 LITC)
koldlabi.ttl                                                          7/13/2014 6:18:36 AM (2014-()7-13 06:18:36 UTC)    8/22/2013 3:35:00 PM (2013-()8-22 15:35:00 UTC)
kokilab.ttf                                                           7/13/20146:18:36 AM (2014-()7-13 06:18:36 UTC)     8/22/2013 3:34:58 PM (2013-()8-22 15:34:58 LITC)
kokila.ttf                                                            7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     8/22/2013 3:35:03 PM (201).08-2215:35:03 UTC)
KhmerUib.ttf                                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:30 PM (2013-06-1.814:57:30 UTC)
KhmerUI.ttf                                                           7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57·30 PM (2013-06-1814:57:30 UTC)
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kartlkab.ttf                                       7/13/2014 $:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:56:59 PM (2013-06-1814:56:59 UTC)
kartlka.ttf                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:56:59 PM (2013-06-18 14:56:59 UTC)
kallngab.ttf                                       7/13/2014 6:18:36 AM (2014-07·13 06:18:36 VfC)      6/18/2013 2:56:59 PM (2013-06-18 14:56:59 UTC)
kallnga.ttf                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:56:59 PM (2013-06-18 14:56:59 UTC)
kalu.ttf                                           7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      8/22/2013 3:34:59 PM (2013-{)8· 22 15:34:59 UTC)
jalliltext.ttf                                     7/13/2014 6 :18:36 AM (2014-07-13 06:18:36 UTC)     7/15/2013 4:54:27 PM (2013-07-15 16:54:27 UTC)
iskpotab.ttf                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC}      6/18/2013 2:56:57 PM (2013-06-1814:56:57 UTC)
lskpota.ttf                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC}      6/18/2013 2:56:57 PM (2013-QG-1814:56:57 UTC)
impaclttf                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      8/22/2013 3:34:58 PM (2013-08-22 15:34:58 UTC)
himalaya.ttf                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      7/18/2013 3:53:38 PM (2013-{)7-1815:53:38 UTC)
glshabd.ttt                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      8/22/2013 3:34:59 PM (2013-08-22 15:34:59 UTC)
glsha.ttf                                          7/13/2014 6:18:36 AM (2014-07-13 06~18:36 UTC)      8/22/2013 3:35:03 PM (2013-08-22 15:35:03 UTC)
gullm.ttc                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:57:16 PM (2013-06-1814:57:16 UTC)
jsmallf.fon                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:57:02 PM (2013-QG-1814:57:02 UTC)
jsmalle.fon                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:57:02 PM (2013-QG-1814:57:02 UTC)
jvgasys.fon                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC}      6/18/2013 2:57:02 PM (2013-QG-1814:57:02 UTC)
jvgafix.fon                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:57:02 PM (2013-{)6-1814:57:02 UTC)
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j8514oem.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:57:00 PM (2013-06-1814:57:00 UTC)
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h8S14oem.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:57:16 PM (2013-{)6-18 14:57:16 UTC)
h8514flx.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:5i':16 PM (2013.06-18 14:57:16 UTC)
HANZEEXR.TTF                                       7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)      10/26/2007 3:37:10 PM (2007-10-26 15:37:10 UTC)
HGRHM9.TTC                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      3/6/2013 9:33:02 AM (2013-Q3-Q6 09:33:02 UTC)
HGRHM3.TTC                                         7/13/2014 6:18:36 AM (2014-D?-13 06:18:36 UTC)      3/6/2013 9:33:02 AM (2013-03-06 09:33:02 UTC)
HGRHG9.TTC                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      3/6/2013 9:33:02 AM (2013-03-06 09:33:02 UTC)
HGRHG5.TTC                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      3/6/2013 9:33:il2 AM (2013-03-06 09:33:02 UTC)
HGRHG3.TTC                                         7/13/2014 6:18:36 AM (2014-07-13 06~8:36 UTC)       3/6/2013 9:33:02 AM (2013-03-06 09:33:02 UTC)
HGJML..TTC                                         7/13/2014 6:18:36 AM (2014-{)7-13 06:18:36 UTC)     3/6/2013 9:33:02 AM (2013-{)3-06 09:33:02 UTC)
gautamib.ttf                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:56:57 PM (2013.06-181.4:56:57 UTC)
gautami.ttf                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18{2013 2:56:57 PM (2013-{)6-1814:56:57 UTC)
gaduglb.ttf                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      7/15/2013 4:54:27 PM (2013-07·15 16:54:27 UTC)
gadugl.ttf                                         7/13/2014 6:18:36 AM (2014-07-13 06:18::16 UTC)     7/15/2013 4:54:27 PM (2013-D7-15 16l54:27 UTC)
e uphemia.ttf                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6{18/2013 2:56:51 PM (2013-06·1814:56:51 UTC)
ebrlmabd.ttf                                       7/13/2014 6:18:36 AM {2014-07-13 06:18:36 UTC)      6/18/2013 2:57:22 PM (2013-06-1814:57:22 UTC)
ebrlma.ttf                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:57:22 PM (2013-06-18 14:57:2_2. UTC)
ega80woa.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:56:51 PM (2013-{)6-1814:56:51 UTC)
~80869Jon                                          7/13/2014 6 :18:36 AM (2014-D7-13 06:18:.3 6 UTC)   6/18/2013 2:56:51 PM (2013.06-18 14:56:51 UTC)
ega80866.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:56:51 PM (2013-06-18 14:56:51 UTC)
ega80857.fon                                       7/13/2014 6:18:36 AM (20l4-D7-13 06:18:36 UTC)      6/18/2013 2:56:51 PM (2013.06-18 14:56:51 UTC)
ega80852.fon                                       7/13/2014 6:18:36 AM (2014-D7-13 06:18:36 UTC)      6/18/2013 2:56:51 PM (2013-QG-18 14:56:51 UTC)
ega80850.fon                                       7/13/2014 6:18:36 AM (2014-D7-13 06:18:36 UTC)      6/18/2013 2:56:51 PM (2013·06-18 14:56:51 UTC)
ega80737.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:56:51 PM (2013·06-18 14:56:51 UTC)
ega40woa.fon                                       7/13/2014 6:18:36 AM (2014-Q?-13 06:18:36 UTC)      6/18/2013 2:56:50 PM (2013-06-18 14:56:50 UTC)
ega40866.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2;56:50 PM (2013-06-18 14:56:50 UTC)
ega40857.fon                                       7/13/2014 6:18:36 AM (2014-07~13 06:18:36 UTC)      6/18/2013 2:56;50 PM (2013-06-1814:56:50 UTC)
~4085l.fon                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:56:50 PM (2013.06-1814:56:50 UTC)
ega40850.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:56:50 PM (2013-QG-1814:56:50 lJTC)
ega40737 Jon                                       7/13/2014 6:18:36 AM (2.014-07-13 06:18:36 UTC}     6/18/2013 2:56:50 PM (;!013-QG-18 14:56:50 UTC)
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ega40869.fon                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:56:50 PM (2013-06-1814:56:50 UTC)
dosapp.fon                                       7/13/2014 6:18;36AM (2014-07·13 06:18:36 UTC)      6/18/2013 2:56:50 PM (2013-06-1814:56:50 UTC)
dos869.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:56:50 PM (2013·06·1814:56:50 UTC)
dos737.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:56:50 PM (2013-06-18 14:56:50 UTC)
cvgasys.ron                                      7/13/2014 6:18:36 AM (20.14-07-13 06:18:36 UTC)    6/18/2013 2:56;35 PM (2013.06-1814:56:35 UTC)
cvgaflx.fon                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:56:35 PM (2013-0S.l8 14:56:35 UTC)
courfl.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 VTC)     6/18/2013 2:56:50 PM (2013-<)6-1814:56:50 UTC)
courfr.fon                                       7/13/2014 6:18:36 AM (2014-0H3 06;18:36 UTC)       6/18/2013 2:56:50 PM (2013.06-1814:56:50 UTC)
courfg.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:56:50 PM (2013-06-1814:56:50 UTC)
courfe.fon                                       7/13/2014 6:18:36 AM (2014-07-1._3 06:18:36 UTC)   6/18/2013 2:56:50 PM (2013·06-1814:56:50 UTC)
courf.fon                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36UTC)      6/18/2013 2:56:50 PM (2013.06-1814:56:50 UTC)
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courer.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 VTC)     6/18/2013 2:56:50 PM (2013-06-1814:56:50 UTC)
coureg.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:56:50 PM (2013.06-1814:56:50 UTC)
couree.fon                                       7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     6/18/2013 2:56:50 PM (2013.06-1814:56:50 UTC)
coure.fon                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:56:50 PM (2013.06-1814:56:50 UTC)
courl.ttf                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/3/2013 4:38:31 AM (2013-08-03 04:38:31 UTC)
courbl.ttf                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/3/2013 4:38:31 AM (2013-08·03 04:38:31 UTC)
estre.ttf                                        7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     6/18/2013 2:56:20 PM (2013-06-1814:56:20 UTC}
GILSANUB.TfF                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/2014 12:22:38 PM (2014-05·19 12:22:38 UTC)
GilLUBCD.TIF                                     7/13/2014 6:18:36 AM (2014·07-13 06:18:36 UTC)     S/19/201412:H:38 PM (2014-05·1912:22:38 UTC)
GILI_.TIF                                        7/13/2014 6:18:36 AM (2014·07-13 06:18:36 UTC)     5/19/201412:22:38 PM (2014-05· 19 12:22:38 UTC)
GILC_.TIF                                        7/13/2014 6:18:36 AM (2014.07-13 06:18:36 UTC)     5/19/2014 12:2Z:38 PM (2014-05·19 12:22:38 UTC)
GILBI_.TfF                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/2014 12;22:38 PM (201+05·19 12:22:38 UTC)
GILB_.TTF                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/201412:22:38 PM (2014-05·1912:22:38 UTC)
GIGI.TIF                                         7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     5/19/2014 12:22:38 PM (2014-05·1912:22:38 UTC)
GARAfT.TTF                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 VTC)     5/19/2014 12:22:38 PM (2014-05-19 12:22:38 UTC)
GARABD.TTF                                       7/13/2014 6:18:36 AM (2014-07·13 06:18:36 VTC)     5/19/2014 12:22:38 PM (2014-05-19 12:22:38 UTC)
GARA.TTF                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36lJTC)     5/19/201412:22:38 PM (2014-0.5-1912:22:38 UTC)
FTLTLT.TTF                                       7/13/2014 6:18:36 AM {2014-07·13 06:18:36 UTC)     5/19/201412:22:38 PM (2014-05·1912:22:38 UTC)
FR5CRIPT.TTF                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/201412:22:38 PM (2014-05-19l.2:22:38 UTC)
FREESCPT.TTF                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/201412:22:38 PM (2014-05· 1912:22:38 UTC)
FRAMDCN.TTF                                      7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     5/19/201412:22:38 PM (2014-0.5-1912:22:38 UTC)
FRAHVIT.TfF                                      7/13/2014 6:18:36 AM (2014-07·1:3 06:18:36 UTC)    5/19/201412:22:38 PM (2014-05-1912:22:38 LITC)
FRAHV.TTF                                        7/13/2014 6:18:36 AM {2014-07-13 06:18:36 UTC)     5/19/201412:22:38 PM (2014-05-1912:22:38 UTC)
FRAOMIT.Tff                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/2014 12:22:38 PM (2014-0.5-19 12:22:38 UTC)
FRAOMCN.TTF                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/2014 12:22:38 PM (2014-0.5-19 12:22:38 UTC)
FRAOM.TTF                                        7/13/2014 6:18:36 AM (2014.07·13 06:18:36 UTC)     5/19/201412:22:38 PM (2014-05·1912:22:38 UTC)
FRABKff.TTF                                      7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     5/19/2014 12:22:38 PM (2014-oS-19 12:22:38 UTC)
FRABK.Tff                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/201412:21:38 PM (2014>.().5-1912:22:38 UTC)
FORTE.TTF                                        7/13/2014 6:18:36 AM (2014-07-13 05:18:36 UTC)     5/19/2014 12:22:38 PM (2014-05·1912:22:38 UTC)
FELJXTI.TTF                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/2014 12:2l:38 PM (2014-05-19 12:22:38 UTC)
ERASMO.TTF                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/201412:22:38 PM (2014-05·1912:22:38 UTC)
ERASLGHT.TTF                                     7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     5/19/2014 12:22:38 PM (2014•05·1912:22:38 UTC)
ERASOEMI.TTF                                     7/13/2014 6:18:36 AM (2014.07-13 06:18:36 UTC)     5/19/2014 12:21:38 PM (2014-05-19 12:22:38 UTC)
ERASBO.TTF                                       7/13/2014 6:18:36 AM (2014-07· 13 06:18:36 UTC)    5/19/201412:21:38 PM {2014-0S-19 12:22:38 UTC)
ENGR.TTF                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     S/19/201412:2l:38 PM {2014-05·1912:22:38 UTC)
ELEPHNTI.TTF                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/2014 12:22:38 PM (2014-05-19 12:22:38 UTC)
ELEPHNT.TTF                                      7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     5/19/201412;22:38 PM (2014-0.5-1912:22:38 UTC)
CURLZ_.TTF                                       7/13/2014 6:18:36 AM (201-4-07-13 06:18:36 UTC)    5/19/2014 12:22:38 PM (2014-0.5-1912:22:38 UTC)
georglaz.nf                                      7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     8/22/2013 3:35:00 PM (2013.0a..221S:35:00 UTC)
georglai.ttf                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/22/2013 3:34:56 PM (2013-08-22 15:34:56 UTC)
                    Case 2:11-cr-00070-RAJ Document 427-16 Filed 09/08/16 Page 28 of 41


georgiab.ttf                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    8/22/2013 3:3A:56 PM (2013-08-22 15:34:56 llfC)
georgla.tlf                                           7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    8/22/2013 3:35:00 PM (2013-08·22 15:35:00 UTC)
gautamib.tlf                                          7/13/2014 6:18:36 AM {2014-07-13 06:18:36 UTC)    6/18/2013 2:56:57 PM (2013.06·1814:56:57 UTC)
gautaml.ttf                                           7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:56:57 PM (2013-{)6-1814:56:57 UTC)
gaduelb.ttf                                           7/13/2014 6:18:36 AM (2014.07-13 06:18:36 UTC)    7/15/2013 4:54:27 PM (2013.07·15 16:54:27 UTe)
gadugl.tlf                                            7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    7/15/2013 4:5':27 PM (2013·07-1516:54:27 UTC)
Gabrlola.ttf                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    8/22/2013 3:3l:59 PM (2013·08·22 15:34:59 UTC)
frank.ttf                                             7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    8/22/2013 3:34;57 PM (2013.08·2215:34:57 UTC)
framdlt.rtf                                           7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    8/22/2013 3:34:59 PM (2013-08-22 15:34:59 UTC)
framd.ttf                                             7/13/2014 6:18:36 AM (2014-07-13 06:1.8:36 UTC)   8/22/2013 3:35:00 PM (2013-08-22 15:35:00 UTC)
euphemla.ttr                                          7/13/2014 6:18:36 AM (2014.07-13 06:18:36 UTC)    6/18/2013 2:56:51 PM (2013·06-18 14:56:51 UTC)
estre.ltf                                             7/13/2014 6:18:36 AM (2014.07-13 06:18:36 UTC)    6/18/2013 2:56:20 PM (2013.06-18 14:56:20 UTC)
ebrimabd.ttf                                          7/13/2014 6:18:36 AM (2014.07-13 06:18:36 UTC)    6/18/2013 2:5i:22 PM (2013-06-18 14:57:22 UTC)
ebrlma.ttf                                            7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:57:22 PM {2013.06-18 14:57:22 UTC)
dokchamp.ttf                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    8/22/2013 3:34:59 PM {2013-08·22 15:34:59 UTC)
davidbd.ttf                                           7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    8/22}2013 3:35:03 PM {2013-08·22 1.5:35:03 UTC)
davld.ttf                                             7/13/2014 6:18:36 AM (2014.07-13 06:18:36 UTC)    8/22/2013 3:35:03 PM (2013-08-22 15~5:03 UTC)
daunpenh.ttf                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    8/22/2013 3:34:58 PM (2013·08-22 15:34:58 UTC)
courl.ttf                                             7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)    8/3/2013 4:38:31 AM (2013-08-03 04:38:31 UTC)
courbl.ttf                                            7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    8/3/2013 4:38:31 AM (2013-08.03 04:38:31 UTCj
desktop.lnl                                           7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    8/22/20B 3:35:03 PM (2013.08-2215:35:03 l!TC)
courft.fon                                            7/13/2014 6:18:36 AM (2014.07-13 06:18:36 UTC)    6/18/2013 2:56:50 PM (2013-06·1814:56:50 UTC)
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courfg.fon                                            7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:56:50 PM (2013-06-18 14:56:50 UTC)
courfe.fon                                            7/13/2014 6:18:36 AM (2014-07-1.3 06:18:36 UTC)   6/18/2013 2:5€:50 PM (2013-06-1814:56:50 UTC)
courf.fon                                             7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)    6/18/2013 2:56:50 PM {2013-06-18 14:56:50 UTC)
couret.fon                                            7/13/2014 6:18:36 AM {2014-07-13 06:18:36 UTC)    6/18/2013 2:56:50 PM {2013-06-18 14:56:50 UTC)
couredon                                              7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)    6/18/2013 2:56:50 PM (2013-06-18 14:56:50 UTC)
coureg.fon                                            7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:56:50 PM (2013-06-18 14:56:50 UTC)
couree.fon                                            7/13/2014 6:18:36 AM (2014-07· 13 06:18:36 UTC)   6/18/201.3 2:56:50 PM (2013-06-1814:56:50 UTC)
coure.fon                                             7/13/2014 6:18:36 AM (2014·07·13 06:18:36 UTC)    6/18/2013 2:56:50 PM (2013·06-18 14:56:50 UTC)
frns_metadata.xml                                     7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)    8/22/2013 3:35:03 PM (2013-08-22 15:35:03 UTC)
ega80woa.fon                                          7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)    6/18/2013 2:56:51 PM (2013·06-18 14:56:51 UTC)
ega80869.fon                                          7/13/2014 6:18:36 AM (2014·07·13 06:18:36 UTC)    6/18/2013 2:56:51 PM (2013-06-18 14:56:51 UTe)
ega80866.fon                                          7/13/2014 6:18:36 AM (2014.07·13 06:18:36 UTC)    6/18/2013 2:56:51 PM (2013.06-18 14:56:51 UTC)
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ega80852.fon                                          7/13/2014 6:18:36 AM {2014-07-13 06:18:36 UTC)    6/18/2013 2:56:51 PM (2013-06·1814:56:51 UTC)
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eg.a80737.fon                                         7/13/201.46:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:56:51 PM (2013-{)6-18 14:56:51 UTC)
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ega40852.fon                                          7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)    6/18/2013 2:56:50 PM (2013.06-18 14:56:50 UTe)
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ega40869.fon                                          7/13/2014 6:18;36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:56:50 PM (2013·06-18 14:56:50 UTC)
dosapp.fon                                            7/13/2014 6:18;36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:56:50 PM (2013.06·18 14:56:50 UTC)
dos869Jon                                             7/13/2014 6:18:96 AM (201.4-07-13 06:18:36 UTC)   6/18/2013 2:56:50 PM (2013-06-18 14:56:50 UTC)
dos737.fon                                            7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:56:50 PM (2013-06-1814:56:50 UTC)
cvgasys.fon                                           7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:56:35 PM (2013-06-18 14:56:35 UTC)
cvgaOx.fon                                            7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)    6/18/2013 2:56:35 PM (2013-06-18 14:56:35 UTC)
cga80woa.fon                                          7/13/2014 6:18:36 AWt (2014-07-13 06:18:36 UTC)   6/18/2013 2:56:23 PM (2013-06-1814:56:23 UTC)
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cga80869.fon                                      7/13/2014 6:18:36 AM (201~7-13 06:18:36 UTC)       6/18/2013 2:56:23 PM (2013-06-18 14:56:23 UTC)
cga80866.fon                                      7/13/2014 6:18:36 AM (201~7-13 06:18:36 UTC)       6/18/2013 2:56:23 PM (2013-{]6-18 14:56:23 UTC)
cga80857.fon                                      7/13/2014 6:18:36 AM (2014-<l7-13 06:18:36 UTC)    6/18/20132:56:23 PM (2013--06·1814:56:23 UTC)
cga80852.fon                                      7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     6/18/20132:56;23 PM (2013-{]6-1814;56:23 LTTC)
cga80850.fon                                      7/13/2014 6:18:36 AM (201~7-13 06:18:36 UTC)       6/18/2013 2:56:23 PM (2013-<l&-18 14:56:23 UTC)
cga80737.fon                                      7/13/2014 6:18:36 AM (201~7-13 06:18:36 UTC)       6/18/2013 2:56:23 PM (2013·06-1814:56:23 UTC)
csa40woa.fon                                      7/13/2014 6:18:36 AM (2014-07, 13 06:18:36 UTC)    6/18/2013 2:56:23 PM (2013-06-1814:56:23 UTC)
cga40869.fon                                      7/B/2014 6:18:36 AM (201~7-13 06:18:36 UTC)        6/18/2013 2:5E:23 PM (2013-06-18 14:56:23 UTC)
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c8514sys.fon                                      7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     6/18/2013 2:56:35 PM (2013-<l&-1814:56:35 UTC)
c8514oem.fon                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:56:35 PM (2013-06-1814:56:35 UTC)
c8514fi-.fon                                      7/13/2014 6:18;36 AM (2014·07·13 06:18:36 UTC)     6/18/2013 2:56:35 PM (20l3-<l6·18 14:56:35 UTC)
couf1257 .fon                                     7/13/2014 6:18:36 AM (2014-07-19 06:18:36 UTC)     6/18/2013 2:56:48 PM (2013-06-18 14:56:48 UTC)
couf1256.fon                                      7/13/2014 6:18:36 AM (2014-07·19 06:18:36 UTC)     6/18/2013 2:56:18 PM (2013-06-18 14:56:18 UTC)
couf1255.fon                                      7/13/2014 6:18:36 AM {2014-07·13 06:18:36 UTC)     6/18/2013 2:56:56 PM (2013-<l6-.18 14:56:56 UTC)
coue1257.fon                                      7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     6/18/2013 2:56:48 PM (2013-06-1814:56:48 UTC)
couel256.fon                                      7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     6/18/2013 2:56:18 PM (2013-06·1814:56:18 UTC)
coue125S.fon                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:56.56 PM {2013-<lG-18 14:56:56 UTC)
courbd.ttf                                        7/13/2014 6:18:36 AM (201~7-13 06:18:36 UTC)       8/3/2013 4:38:.'!1 AM (2013.()8-03 04:38:31 UTC)
cour.ttf                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/3/2013 4:38:31 AM (2013-<l8.()3 04:38:31 UTC)
COPRGTLTTF                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/201412:22:38 PM (2014-0S--1912:22:38 UTC)
COPRGTB.TTF                                       7/13/2014 6 ;18:36 AM (2014-<l7-13 06:18:36 UTC)   5/19/201412:22:38 PM (2014-()S--1912:22:38 UTC)
COOPBl.TTf                                        7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     5/19/201412:21:38 PM (2014.()5·1912:22:38 UTC)
COLONNA.TTF                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/2014 12:22:38 PM (2014-05·19 12:22:38 UTC)
CHILLER.TTF                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/2014 12:22:38 PM (2014·05·19 12:22:38 UTC)
CENTURV.TTF                                       7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     5/19/2014 12:22:38 PM (2014-05·19 12:22:38 UTC)
CENTAUR.TTf                                       7/13/2014 6:18:36 AM {2014-07-13 06:18;36 UTC)     5/19/2014 12:22:38 PM (2014-<l5-1912:22:38 UTC)
CEN5CBK.TTf                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/2014 12:22:38 PM (2014-05-19 12:22;38 UTC)
CASTELAR.TTf                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/201412:2.2:38 PM (2014-0S--19 12:22:38 UTC)
CALISTI.TTF                                       7/13/2014 6:18:36 AM {2014-07-13 06:18:36 VTC)     5/19/201412:22:38 PM (2014-05-19 12:22:38 UTC)
CALISTBI.TTf                                      7/13/2014 6:18:36 AM (2014-07-3.3 06:18:36 VTC)    5/19/201412:22:38 PM {2014-<lS-19 12:22:38 UTC)
CAUSTB.TTf                                        7/B/2014 6:18:36 AM (2014-<l7-13 06:18:36 UTC)     5/19/2014 12:22:38 PM (2014-05-1.9 12:22:38 UTC)
CALIST.TTF                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/201412:22:38 PM (2014-05-1912:22:38 UTC)
CALIFR.TTF                                        7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     5/19/2014 12:22:38 PM (2014-0S--1912:22:38 UTC)
CALIFI.TTF                                        7/13/2014 6:18:36 AM (201~7-13 06:18:36 UTC)       5/19/2014 12:22:38 PM (2014-0S--19 12:22:38 UTC)
CALIFB.TTf                                        7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     5/19/2014 12:22:38 PM (2014-05·19 12:22:38 UTC)
BS5YM7.TTF                                        7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     5/19/201412:22:38 PM {2014-<lS-1912:22:38 UTC)
BRU5HSCI.TTF                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/201412:22:38 PM (2014-0S--1912:22:38 UTC)
courbd.ttf                                        7/13/2014 6:18:36 AM (2014-{)7-.13 06:18:36 UTC)   8/3/2013 4:38:31 AM (2013-<JB-03 04;38:3'1 UTC)
cour.ttf                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/3/2013 4:38:31 AM (2013-<lB-03 04:38:31 UTC)
cordlaz.ttf                                       7/13/2014 6:18:36 AM (20.14-07-13 06:18:36 UTC)    8/22/2013 3:34:57 PM (2013--08-22 15:34:57 UTC)
cordlauz.ttf                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/22/20133:35:00 PM (2013·08-2215:35:00 UTC)
cordiaul.ttf                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36lJ1'C)    8/22/2013 3:35:03 PM (2013-<lB-22 15:35:03 UTe)
cordlaub.ttf                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/22/2013 3:35:03 PM (2013.()8-22 15:35:03 UTC)
cordlau.ttf                                       7/13/2014 6:18:36 AM {2014-07-13 06:18:36 UTC)     8/22/2013 3:35:03 PM (2013-08-22 15:35:03 UTC)
cordlal.ttf                                       7/13/2014 6:18:36 AM (2014-{]7-13 06:18:36 UTC)    8/22/2013 3:34:59 PM (2013-<lB-22 15:34:59 UTC)
cordlab.ttf                                       7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     8/22/2013 3:35:04 PM (2013-<lB-2215:35:04 VTC)
cordla.ttf                                        7/13/2014 6:18:36 AM (2014-<l7·13 06:18:36 UTC)    8/22/2013 3:35:00 PM (2013-08-2215:35:00 UTC)
                  Case 2:11-cr-00070-RAJ Document 427-16 Filed 09/08/16 Page 30 of 41


c~rbelz.ttf                                          7/13/2014 6:18:36 AM {2014-07·13 06:18:36 UTC)     8/22}2013 3:35:03 PM (2013-08-2215:35:03 UTC)
corbeli.ttf                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/22/2013 3:34:58 PM (2013.()8-22 15:34:58 UTC)
corbelb.ltf                                          7/13/2014 6:18:36 AM {2014-07·13 06:18:36 UTC)     8/22/2013 3:35:03 PM (2013.()8-22 15:35:03 UTC)
corbel.ttf                                           7/13/2014 6:18:36 AM (201.4-07·13 06:1B:36 UTC)    8/22/2013 3:35:00 PM (2013.()8-22 15:35:00 UTC)
constanz.ttf                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/22/2013 3:35:00 PM (2013-·08-2215:35:00 UTC)
constanl.ttf                                         7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC}     8/22/2013 3:34:57 PM (2013.()8-2215:34:57 UTC)
conmnb.ttf                                           7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/22/2013 3 34:57 PM (2013-oB-2215:34:57 UTC)
con5tan.ttf                                          7/13/2014 6:18:36 AM (2014.()7-13 06:18:36 UTC)    8/22/2013 3.34:56 PM (2013.()8-2215:34:56 UTC)
comlcz.ttf                                           7/13/2014 6:18:36 AM (21h4-07·13 06;18:36 UTC)     8/22/2013 3:34:59 PM (2013·08·22 15:34:59 UTC)
comlci.ttf                                           7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     8/22/2013 3:35:03 PM (2013-08-22 15:35:03 UTC)
comicbd.ttf                                          7/B/2014 6:18:36 AM (2014.()7-13 06:18:36 UTC)     8/22/2013 3:35:03 PM (2013.()8-22 15:35:03 UTC)
comlc.ttf                                            7/13/2014 6:18:36 AM (2014·07-13 06:18:36 UTC)     8/22/2013 3:35:011'M (2013-08·22 15:35:01 UTC)
Ca ndaraz.ttf                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/22/2013 3:35:00 PM (2013-08-22 15:35;00 UTC)
Canclaral.ttf                                        7/13/2014 6:18:36 AM (2014.()7-13 06:18:36 UTC)    8/22/2013 3:35:03 PM (2013-08-22 15;35:03 UTC)
Candarab.ttf                                         7/13/2014 6:18:36 AM {2014-07·13 06:18;36 UTC)     8/22/2013 3:35:03 PM (2013·08-22 15:35:03 UTC)
Candara.ttf                                          7/13/2014 6:18:36 AM (2014-07·13 05:18:36 UTC)     8/22/2013 3:35:03 PM (2013-08-22 15:35:03 urq
cambrlaz.ttf                                         7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     8/22/2013 3:35:02 PM (2013.()8-22 15:35:02 UTC)
cambrlal.ttf                                         7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     8/22/2013 3:34:58 PM (2013.()8-22 15:34:58 UTC)
cambrlab.ttf                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/22/2013 3:34:58 PM (2013.()8-22 15:34:58 UTC}
callbrlz.ttf                                         7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     8/22/2013 3:35:02 I'M (2013.()8-2215:35:02 UTC)
callbrlll.ttf                                        7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     8/22/2013 3:35:03 PM (2013·08-22 15:35:03 UTC)
callbrll.ttf                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/22/2013 3:35:02 PM (2013.()8-22 15:35:02 UTC)
callbrll.ttf                                         7/13/2014 6:18:36 AM (2014.()7-13 06:18:36 UTC)    8/22/2013 3:34:58 PM (2013-08-2215:34:58 UTC)
callbrlb.ttf                                         7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     8/22/2013 3:34:58 PM (2013.()8-2215:34:58 UTC)
callbrl.ttf                                          7/13/2014 6:18:36 AM (2014-o7·13 06:18:36 UTC)     8/22/2013 3:35:03 PM (2013-08-2215:35:03 UTC)
bmwaz.ttf                                            7/13/2014 6:18:36 AM (2014.()7·13 06:18:36 UTC)    8/22/2013 3:35:00 PM (2013.()8-2215:35:00 UTC)
browauz.ttf                                          7/13/2014 6:18:36 AM (2014·07-13 06:18:36 UTC)     8/22/2013 3:35:02 PM (2013-08·22 15:35:02 UTC)
browaul.ttf                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/22/2013 3:35:03 PM (2013-08-22 15;35:03 UTC)
browaub.ttf                                          7/13/2014 6:18:36 AM (2014.()7-13 06:18:36 UTC)    8/22/2013 3:35:00 PM (2013-08-22 15:35:00 UTC)
browau.ttl                                           7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/22/2013 3:35:03 PM (2013-08-22 15:35:03 UTC)
browal.ttr                                           7/13/2014 6:18:36 AM (2014.()7· 13 06:18:36 UTC)   8/22/2013 3:34:57 PM (2013.()8-22 15:34:57 UTC)
cambrla.ttc                                          7/13/2014 6:18:36 AM {2014-07·13 06:18:36 UTC)     8/22/2013 3:35:00 PM (2013-oB-2215:35:00 UTC)
coufU57 .fan                                         7/13/2014 6:18:36 AM {2014-07-13 06:18:36 UTC)     6/18/2013 2:56:48 PM (2013.()6-1814:56:48 UTC)
coufl2S6.fo11                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:S6:18 PM (2013.()6-1814:56:18 UTC)
couf1255.fon                                         7/13/2014 6:18:36 AM (2014-07·13 06:18;36 UTC}     6/18/2013 2:56:56 PM (2013-06-18 14:56:56 UTC)
coue1257.fon                                         7/13/2014 6:18:36 AM (2014.()7-13 06:18;36 UTe)    6/18/2013 2:56:48 PM (2013-06-1814:56:48 UTC}
coue1256.fon                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:S6:18 PM (2013.()6-18 14:56:18 UTC)
couell55.fon                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:56:56 I'M (2013-06-1814:56:56 UTC)
consolal.ttf                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/22/2013 3:35:00 PM (2.013.()8-22 15:35:00 UTC)
consolal.ttf                                         7/13/2014 6:18:36 AM (2014.()7-13 06:18:36 UTC)    8/22/2013 3:35:03 PM {2013.()8-22 15:35:03 UTC)
consolab.ttf                                         7/13/2014 6:18:36 AM (2014.()7-13 06:18:36 UTC)    8/22/2013 3:35:03 PM {2013-08-2215:35:03 UTC)
consola.ttf                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:35 UTC)     8/22/2013 3:35:03 PM (2013·08-2215:35:03 UTC)
cga80woa.fon                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:56:23 PM (2013-06-18 14:56:23 UTC)
cga80869.1on                                         7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC}     6/18/2013 2:56:23 PM (2013.()6-18 14:56:23 UTC)
cga80866.fon                                         7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     6/18/2013 2;56:23 PM (2013-06-1814;56;23 UTC)
cga80 85 7 .ron                                      7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     6/18/2013 2:56:23 PM (2013.()6-1814:56:23 UTC)
cga80852.fon                                         7/13/2014 6:18:36 AM (2014.()7-13 06:18:36 UTC)    6/18/2013 2:56:23 PM {2013.()6-1814:56:23 UTC)
cga808SO.fon                                         7/13/2014 6:18:36 AM (2014.()7-13 06:18:36 UTC)    6/18/2013 2:56:23 PM (2013-06-1814:56:23 UTC)
cga80737.fon                                         7/13/2014 6:18:36 AM {2014-07·13 06:18:36 UTC)     6/18/2013 2:56:23 PM (2013-06•1814:56:23 UTC)
 cga40woa.fon                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:55:23 PM (2013-06-18 14:56:23 UTC)
 cga40869.fon                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:55:23 PM (2013-06-1814:56:23 UTC)
 cga40866.fon                                        7/13/2.014 6:18:36 AM (2014.()7-13 06:18:36 UTC)   6/18/2013 2:56:23 PM (2013-06-1814:56:23 UTC)
                Case 2:11-cr-00070-RAJ Document 427-16 Filed 09/08/16 Page 31 of 41


cga40857.fon                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 VTC)     6/18/2013 2:56:23 PM (2013-<lG-1814:56:23 UTC)
cga40852.fof\                                    7/13/2014 6:18:36 AM (2014-{)7-13 06:18:36 VTC)    6/18/2013 2:56:23 PM (2013·06-1814:56:23 UTC)
cga40850.fon                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 VTC)     6/18/2013 2:56:23 PM (2013-06-18 14:56:23 UTC)
cga40737 .fon                                    7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:56:23 PM (2013-06-18 14:56:23 VTC)
c8514sys.fon                                     7/13/2014 6:18:36 AM {2014·07-13 06:18:36 UTC)     6/18/2013 2:56:35 PM (2013--06-18 14:56:35 UTC)
c8514oem.fon                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:56:35 PM (~013--06-18 14:56:35 UTC)
c8S140x.fon                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:56:35 PM (2013--06-1814:56:35 UTC)
batang.ttc                                       7/13/2014 6:18:36 AM (2014-{)7·13 06:18:36 UTC)    6/18/2013 2:57:15 PM (2013-{)6-18 14:57:15 UTC)
arlall.ttf                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     8/3/2013 4:38:24 AM (2013-{)8-03 04:38:24 UTC)
arla lbl.ttf                                     7/13/2014 6:18:36 AM (2014-{)7-13 06:18:36 UTC)    8/3/2013 4:38:21 AM (2013-{)8-{)3 04:38:21 UTC)
arialbd.ttf                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36lJTC)     8/3/2013 4:38:21 AM (2013-{)8-{)3 04:38:21 VTC)
artal.ttf                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36lJTC)     8/3/2013 4:38:21 AM (2013-{)8-{)3 04:38:21 VTC)
app950.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36lJTC)     6/18/2013 2:56:35 PM (2013-()6.1814:56:35 VTC)
app949.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 VTC}     6/18/2013 2:57:15 PM (2013..()6-1814:57:15 VTC)
app936.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:56:23 PM (2013.06-1814:56:23 UTC)
app932.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36lJTC)     6/18/2013 2:57:00 PM (2013-{)6-1814:57:00 UTC)
app866.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:56:16 PM (2013-{)6-1814;56:16 LJTC)
app857.fon                                       7/13/2014 6:18:36 AM {2014-07·13 06:18:36 UTC)     6/18/2013 2:56:16 PM (2013·0&-18 14:56:16 UTC)
app855.fon                                       7/13/2014 6:18:36 AM (2014-{)7-13 06:18:36 UTC)    6/18/2013 2~6:16 PM {2013-06·1814:56:16 lJTC)
app852.fon                                       7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     6/18/2013 2:56:16 PM {2013-06·1814:56:16lJTC)
app850.fon                                       7/13/2014 6:18:36 AM (2014•07-13 06:18:36 UTC)     6/18/2013 2~6:16 PM (2013-{)G-1814:56:16 lJTC)
app77S.fon                                       7/13/2014 6:18:36 AM (2014-{)7-13 06:18:36 UTC)    6/18/2013 2:56:16 PM {2013.06-1814:56:16 UTC)
85s874.fon                                       7/13/2014 6:18:36 AM (2014-{)7-13 06:18:36 UTC)    6/18/2013 2:57:30 PM (2013.06·1814:57:30 UTC)
85s1257 Jon                                      7/13/2014 6:18:36AM (2014-{)7-13 06:18:36 VTC)     6/18/2013 2:56:16 PM (2013-D&-1814:56:16 VTC)
8Ss1256.fon                                      7/13/20146:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:56:16 PM (2013-{)6-1814:56:16lJTC)
8Ss12SS.fon                                      7/13/20146:18:36 AM (2014-07-13 06:18:36 UTC)      6/18/2013 2:56:56 PM {2013.()6..1814:56:56 UTC)
8514syst.fon                                     7/13/2014 6:18:36 AM {2014-07-13 06:18:36 VTC)     6/18/2013 2:56:16 PM (2013-{)6-1814:56:16 UTC)
8514sysr.fon                                     7/13/2014 6:18:36 AM {2014-07-13 06:1.8:36 VTC)    6/18/2013 2:56:16 PM (2013-{)6-18 14:56:16 VTC)
8514sysg.fon                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 VTC)     6/18/2013 2:56:16 PM (2013.0&-18 14:56:16 LITC)
8585S.fon                                        7/13/2014 6:18:36 AM {2014-{)7-13 06:18:36 UTC)    6/18/2013 2:56:16 PM (2013.0&-1814:56:16 UTC)
85775.fon                                        7/13/2014 6:18:36 AM {2014-07-13 06:18:36 UTC)     6/18/2013 2:56:16 PM (2013-0&-1814:56:16\JTC)
85f874.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:57:30 PM (2013-{)G-1814:57:30 UTC)
85f1257.fon                                      7/13/2014 6:18:36 AM (2014-{17-1.3 06:18:36 UTC)   6/18/2013 2:56:16 PM (2013-{)G-1814:56:16 LITC)
85f1256.fon                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:56:16 PM (2013-{)6-1814:56:16 UTC)
85f1255.fon                                      7/13/2014 6:18:36 AM (2014-{)7-13 06:18:36lJTC)    6/18/2013 2:56:56 PM (2013-{)6-1814:56:56 UTC)
BROAOW.TTF                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/2014 12:22:38 PM (2014-05-1912:22:38 VTC)
BRLN5R.TTF                                       7/13/2014 6:1.8:36 AM (2014-{)7-13 06:18:36lJTC)   5/19/201412:22:38 PM (2014-05-1912:22:38 VTC)
BRLNSOB.TTF                                      7/13/2014 6:18:36 AM (2014-{17-13 06:18:36 VTC)    5/19/2014 12:22:38 PM {2014-05-1912:22:38 VTC)
BRLNSB.TTF                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 VTC)     5/19/201412:22:38 PM (2014-{)5-19 12:22:38 VTC)
BRITANIC.TTF                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/201412:22:38 PM (2014-05-1912:22:38lJTC)
BRADHITC.rrF                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/201412:22:38 PM (2014-05-1912:22:38 VTC)
BOOI<OSI.rrF                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 VTC)     5/19/201412:22:38 PM (2014-05·1912:22:38lJTC)
BOOKOSBI.TTF                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/201412:22:38 PM (201+05-19 12:22:38 lJTC)
BOOKOSB.HF                                       7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     5/19/2014 12:22:38 PM (2014-05-1912:22:38lJTC)
BOOK05.TTF                                       7/13/2014 6:18:36 AM {2014-07-13 06:18:36 UTC)     5/19/2014 12:22:38 PM (2014·05-19 12:22:38 UTC)
BOD_R.TIF                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/19/2014 12:22:38 PM (2014-05-19 12:22~38 UTC)
aoo_psrc.m                                       7/13/2014 6:18:36 AM (2014-{)7-13 06:18:36 UTC)    S/19/201412:22;38 PM (2014-{)5-19 12:22:38lJTC)
BOD_I.TTF                                        7/13/2014 6:18:36 AM {2014-07-13 06:18:36 UTC)     5/19/201412:22:38 PM {2014-{)5-1912:22:38 UTC)
BOD_CR.TIF                                       7/13/2014 6:18:36 AM (2014-{)7-13 06:18:36 UTC)    5/19/201412:2.2:38 PM (2014-05-l912:22:38LJTC)
BOD_CI.TTF                                       7/13/2014 6:18:36 AM (20~4-{)7-13 06:18:36 UTC)    5/19/2014 12:22:38 PM (2014-05-19 12:22:38 UTC)
BOO_CBI.TTF                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 VTC)     5/19/2014 12:22:38 PM (2014-05-1912:22:38 UTC)
BOD_CB.TTF                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36lJTC)     5/19/201412:22:38 PM {2014-05-1912:22:38 UTC)
               Case 2:11-cr-00070-RAJ Document 427-16 Filed 09/08/16 Page 32 of 41


BOO~BLAR.lTF                                     7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)    S/19/2014 12:22:38 PM (2014-05·1912:22:38 UTC)
BOD_BLAI.TTF                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    S/19/2014 12:22:38 PM (201.-4-05-1912:22:38 UTC)
OOD_BI.lTF                                       7/13/2014 6:18:36 AM (2014-07-13 06!18:36 UTC)    5/19/2014 12:22:38 PM (20~4-05-1912:22:38 UTC)
BOD_B.lTF                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/19/201412:22:38 PM (201-4-05-1912:22:38 UTC)
BKANT.lTF                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/19/20lA 12:22:38 PM (2014-05-}..912:22:38 UTC)
BERNHC.TTF                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/19/201412:22:38 PM (2014-05·1912:22:38 UTC)
BELU.m                                           7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/19/201412:22:38 PM {2014-05-1912:22:38 UTC}
BELLB.lTF                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/19/201412:22:38 PM (2014-05·1912:22:38 UTC)
BELLTTF                                          7/13}2014 6:18:36 AM {2014-()7-13 06:18:36 UTC)   5/19/201412:22:38 PM (2014-05-1912:22:38 UTC)
BAUH593.lTF                                      7/13/2014 6:18:36 AM {2014-()7-13 06:18:36 UTC)   5/19/201412:22:38 I'M (2014-()5-1912:22:38 UTC)
BASKVIll.lTF                                     7/13/2014 6:18:36 AM (2014..07·13 06:18:36 UTC)   5/19/201412:22:38 PM (2014-05-19 12:22:38 UTC)
ARLRDBD.m                                        7{13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    S/19/201412:22:38 PM (2014-05-1912:22:38 UTC)
ARIALUNI.lTF                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/19/201412:22:38 PM (2014-05·19 12:22:38 UTC)
ARIALNI.TTF                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/19/201412:22:37 PM (2014-05-1912:22:37 UTC)
ARIALNBI.lTF                                     7/13/2014 6:18:36 AM {2014-07-13 06:18:36 UTC)    5/19/201412:22:37 PM (2014-0.5 -19 12:22:37 UTC)
ARIALNB.m                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/19{201412:22:37 PM (2014-05-1912:22:37 UTC)
ARIALN.lTF                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/19/201412:22:37 PM (2014-05-19 12:22:37 UTC)
ANTQUAI.lTF                                      7/13/20lA 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/19/201412:22:37 PM (2014-05-19 12:22:37 UTC)
ANTQUABI.lTF                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    S/19/2014 12:22:37 I'M (2014-05-],912:22:37 UTC)
ANTQUAB.lTF                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/19/2014 12:22:37 PM (2014-05-19 12:22:37 UTC)
ALGER.TTF                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/19/2014 12:22:37 PM (2014-05·1~ 12:22:37 UTC)
AGENCYR.ffi                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/19/201412:22:37 PM (2014-05·19 12:22:37 UTC)
AGENCYB.TTF                                      7/13/2014 6:18:36 AM (201.4-07-13 06:18:36 UTC)   5/19/201412:22:37 PM (2014-05·19 12:22:37 UTC)
browab,ttf                                       7/13/20lA 6:18:36 AM (2014-07·13 06:18:361JTC)    8/22/2013 3:35:03 PM (2013-()8-22 15:35;03 UTC)
browa.ttf                                        7/13/2014 6:18:36 AM (2014-()7-13 06:18:36 UTC)   8/22/2013 3:35:03 PM (2013-08-2215:35:03 UTC}
aoblk.ttf                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    8/22/2013 3:35:00 PM (2013-08-22 15:35:00 UTC)
arlall.ttf                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    8/3/2013 4:38:24 AM (2013-08-{)3 04:38:24 UTC)
arlalbi.ttf                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    8/3/2013 4:38:21 AM (2013"08.{)3 04:38:21 UTC)
arlalbd.ttf                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    8}3/2013 4:38:21 AM (2013-()8-03 04:38:21 UTC)
arial.ttf                                        7/13/2014 6:18:36 AM (2014.{]7-13 06:18:36 UTC)   8}3/2013 4:38:Zl AM (2013-08-03 04:38:21 UTC)
arabtype.ttf                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 VTC)    8/22/2013 3:34:57 PM (2013~8-2215:34:57 UTC)
aparajl.ttf                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    8{22/2013 3:34:56 PM (2013-08-2115:34:56 UTC)
aparajbi.ttl                                     7/13/2014 6:18:36 AM (2014-o7-13 06:18:36 VTC}    8/22/2013 3:34:57 PM (2013-08-22 15:34:57 UTC)
aparajb.ttf                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 VTC)    8/22/2013 3:35:02 PM (2013-08-22 15:35:02 UTC)
aparaj.ttf                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    8/22/2013 3:35:03 PM (2013-08-22 15:35:03 UTC)
angsaz.ttf                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    B/22/2013 3:95:00 PM (2013-08-22 15:35:00 UTC)
angsauz.ttf                                      7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)    8/22/2013 3:34:56 PM (2013-08-22 15:34:56 UTC)
angsaul.ttf                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    8/22/2013 3:34:58 PM (2013-08-2215:34:58 UTC)
angsaub.ttf                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    8/22/2013 3:35:03 PM (2013-08-22 15:35:03 UTC)
angsau.ttf                                       7/13/2014 6:18:36 AM {2014-07-13 06:18:36 UTC)    8/22/2013 3:35:03 PM (2013-08-22 15:35:03 UTC)
angsai.ttf                                       7/13/2014 6:18:36 AM {2014-07-13 06:18:36 UTC)    8/22/2013 3:34:57 PM (2013-08-22 15:34:57 UTC)
al'lgsab.ttf                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    8/22/2013 3:35:03 PM {2013-08-22 15:35:03 UTC)
a11&5a.ttf                                       7/13/2014 6:18:36 AM {2014-07-13 06:18:36 UTC)    8/22/2013 3:3~58 PM {2013-08-2215:34:58 UTC)
andlso.ttf                                       7/13/2014 6:18:36 AM {2014.{]7-13 06:18:36 UTC}   8/22/2013 3:3~59 PM (2013-08-2215:34:59 UTC)
aldhabl.ttf                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    8}22/2013 3:34:56 PM (2013-08·22 15:34:56 UTC)
ahronbd.ttf                                      7/13/2014 6:18:36 AM {2014-07-13 06:18:36 UTC)    8/22/2013 3:35:00 PM (2013-08-22 15:35:00 UTC)
batang.ttc                                       7/13/2014 6:18:36 AM {2014-07, 13 06:18:36 UTC)   6/18/2013 2:57:15 PM (2013-06-1814:57:15 UTC)
app950Jon                                        7/13/2014 6:18:36 AM {2014.{)7-13 06:18:36 UTC}   6/18/2013 2:56::15 PM (2013-oG-18 14:56:35 UTC)
app949.fon                                       7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)    6/18/2013 2:57:15 PM (2013-06-18 14:57:15 UTC)
app936.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC}    6/18/2013 2:56:23 PM (2013-()6-18 14:56:23 UTC)
app932.fon                                       7/13/2014 6:18:36 AM {2014-07-13 06:18:36 UTC)    6/18/2013 2:57:00 PM (2013-06-1814:57:00 UTC)
app866.fon                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:56:16 PM (2013-06-1814:56:16 UTC)
                       Case 2:11-cr-00070-RAJ Document 427-16 Filed 09/08/16 Page 33 of 41


app857.fon                                               7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:55:16 PM (2013.06-18 14:56:16 UTC)
app8SS.fon                                               7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:55:16 PM (2013-06-1814:56:16 UTC)
app852.fon                                               7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:55:16 PM (2013.06-1814:56:16 UTC}
app8SO.fon                                               7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC}    6/18/2013 2:55:16 PM (2013.06-1814:56:16 UTC)
app775.fon                                               7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:56:16 PM {2013.06-1814:56:16 UTC)
85s874.fon                                               7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:57:30 PM {2013.06-1814:57:30 UTC)
85s1257.fon                                              7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:56:16 PM (2013.06-18 14:56:16 UTC)
85s1256.fon                                              7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:56:16 PM (2013.06-18 14:56:16 UTC)
8Ss125S.fon                                              7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:56:56 PM {2013.06-1814:56:56 UTC)
8Sf874.fon                                               7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:57:30 PM {2013.06-1814:57:30 UTC}
8511257.fon                                              7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:56:16 PM {2013.06-18 14:56:16 UTC)
8Stl.256.fon                                             7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:56:16 PM {2013.06·18 14:56:16 UTC)
85f1255.fon                                              7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:56:56 PM (2013-06-1814:56:56 UTC)
858SS.fon                                                7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:56:16 PM {2013.06-18 14:56:16 UTC)
85775.fon                                                7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:56:16 PM {2013-06·18 14:56:16 UTC)
8514syst.fon                                             7/13/2014 6:18:36 AM (2014-{17-13 06:18:36 UTC)   6/18/2013 2:56:16 PM {201.3..()6-1814:56:16 UTC)
8514sysr.fon                                             7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:56:16 PM (2013.06-1814:56:16 UTC)
8514sysg.fon                                             7/13}2014 6:1~36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2:56:16 PM (2013-06-1814:56:16 UTC)
8514syse.fon                                             7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:56:16 PM {2013.06-1814:56:16 UTC}
8514sys.fon                                              7/13(2014 6:18:36 AM {2014-07-13 06:18:36 UTC)    6/18/2013 2:56:16 PM (2013..06·18 14:56:16 UTC)
8514oemt.fon                                             7/13/2014 6:18t36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:56:16 PM (2013..06-18 14:56:16 UTC)
8514oemr.fon                                             7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:56:16 PM (2013-06-1814:56:16 UTC)
8514oemg.fon                                             7/13/2014 6:18:36 AM {2014-07-13 06:18:36 UTC)    6/18/2013 2:56:16 PM (201Hl6-1814:56:16 UTC)
8514oeme.fon                                             7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)    6/18/2013 2:56:16 PM (2013·06-1814:56:16 UTC)
851Aoem.fon                                              7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:56:16 PM {2013.06-1814:56:16 UTC)
8514fixtfon                                              7/13/2014 6:18:36 AM {2014-07-13 06:18:36 UTC)    6/18/2013 2:56:16 PM (2013·06-1814:56:16 UTC)
8514ftxt.fon                                             7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:56:16 PM {2013-06-1814:56:16 UTC)
8514fll<g.fon                                            7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:56:16 PM (2013.06-1814:56:16 UTC)
8514fixe.fon                                             7/13/20146:18:36 AM (2014-07-13 06:18:36 UTC)     6/18/2013 2;56:16 PM {2013.06-1814:56:16 UTC)
851.4fix.fon                                             7/13/2014 6:18:36 AM (2014.07-13 06:18:36 UTC)    6/18/2013 2:56:16 PM (2013-<lb-1814:56:16\JTC)
8514syse.fon                                             7/13}2014 6:18:36 AM (2014-{17-13 06:18:36 UTC)   6/18/2013 2:56:16 PM (2013.06-1814:56:16 UTC)
B514sys.fon                                              7/13/2014 6:18:36 AM (2014.07-13 06:18:36 UTC)    6/18/2013 2:56:16 PM (2013-06-1814:56:16 UTC)
8S14oemt.fon                                             7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:5€:16 PM (2013·06-1814:56:16 UTC)
8514oemr.fon                                             7/13/2014 6:18:36 AM {2014.07-13 06:18:36 UTC)    6/18/2013 2:56:16 PM (2013.06-1814:56:16 UTC)
8514oemg.fon                                             7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:56:16 PM (2013·06-18 14:56:16 UTC)
8514oeme.fon                                             7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:56:16 PM (2013.06-18 14:56:16 UTC)
8514oem.fon                                              7/13}2014 6:18:36 AM {2014-07-13 06:18:36 UTC)    6/18/2013 2:56:16 PM (2013.06-18 14:56:16 UTC)
8514fixt.fon                                             7/13/2014 6:18:36 AM {2014-07-13 06:18:36 UTC)    6/18/2013 2:56:16 PM (2013•06-1814:56:16 UTC)
8514f1xr.fon                                             7/13/2014 6:18:36 AM {2014-07-13 06:18:36 UTC)    6/18/2013 2:56:16 PM (2013·06-1814:56:16 UTC)
8514fixg.fon                                             7/13/2014 6:18:36 AM {2014-07-13 06:18:36 UTC)    6/18/2013 2:56:16 PM (2013.06-1814:56:16 UTC)
8514fixe.fon                                             7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2013 2:56:16 PM (2013.06-1814:56:16 UTC)
8514fix.fon                                              7/13/2014 6:18:36 AM (2014-{17-13 06:18:36 UTC)   6/18/2013 2:56:16 PM {20U..Q6-1814:56:16 UTC)
INetCache                                                7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/3/2014 9:25:19 AM {2014-06-03 09:25:19 UTC)
$130                                                     7/13/2014 6:18:36 AM {2014-07·13 06:18:36 UTC)    6/3/2014 9:25::9 AM (2014-06-03 09:25:19 UTC)
counters.dat                                             7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/16/2014 4:35:19 AM (2014-05-16 04:35:19 UTC)
Startup                                                  7/13/201.4 6:18:36 AM (2014-07-13 06:18:36 UTC)   5/16/2014 4:35:22 AM (2014-05-16 04:35:22 UTC)
desktop.inl                                              7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/16/2014 4:35:22 AM {2014-05-16 04:35:22 UTC)
Administrative Tools                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/16/2014 4:35:22 AM (2014-05·16 04:35:22 UTC)
desktop.ini                                              7/13/2014 6:18:36 AM (2014-()7-13 06:18:36 UTC)   5/16/2014 4:35:22 AM (2014-{15-16 04:35:22 UTC)
Documents                                                7/13/2014 6:18:36 AM {2014-07-13 06:18:36 UTC)    5/27/20141:45:47 PM (2014-05-2713:45:47 UTC)
$130                                                     7/13/2014 6:18:36 AM {2014-07-13 06:18:36 UTC)    5/27/20141:45:47 PM (2014-05-27 13:45:47 UTC)
sd.dat                                                   7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/15/2014 12:48:37 PM (2014-05-1512:48:37 UTC)
                                                   Case 2:11-cr-00070-RAJ Document 427-16 Filed 09/08/16 Page 34 of 41


c!esklop.lnl                                                                                                             7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/16/2014 4:35:22 AM (201~5-16 04:35:22 UTC)
Downloads                                                                                                                7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)    7/2/20144:47:19 PM (2014-<l7~2 16:47:19 UTe)
$130                                                                                                                     7/13/2014 6:18:36 AM (2014-{)7-13 06:18:36 UTC)   7/2/20144:47:19 PM (2014-07~216:47:19 UTC)
LosangelesCA SandlegoCA Newyork Michigan Ohlo.zip                                                                        7/13/2014 6:18:36 AM (2014·07·13 06:18:36 UTC)    5/31/2014 10·12:40 AM (2014-05·3110:12:40 UTC)
Zone,identifier                                                                                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/3l/2014 10 12:40 AM (2014-05-3110:12:40 UTC)
torbrowser-lnstall-3.6.1_en-US.exe                                                                                       7/13/20146:18:36 AM (2014-07·13 06:18:36 UTC)     5/31/2014 9;19:06 AM (2014-05--31 09:19:06 UTC)
New WlnRAR ZIP archlve(l).zip                                                                                            7/1.3/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)   6/30/2014 4:10:12 PM (2014-<lG-30 16:10:12 UTC)
Zone .Identifier                                                                                                         7/13/2014 6:1.8:36 AM (2014-07-13 06:18:36 UTC)   6/30/2014 4:10:12 PM (2014-<lG-30 16:10:12 UTC)
sorted.rar                                                                                                               7/13/2014 6:18:36 AM (2014~7-13 06:18:36 UTe)     6/3/2014 6;41:04 AM (2014-06-{)3 06:41:04 UTC)
Zone.ldenllfler                                                                                                          7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTe)    6/3/2014 6:41:04 AM (2014·06-<>3 06:41:04 UTC)
t1.r11r                                                                                                                  7/13/2014 6:18:36 AM (2014-<l7·13 06:18:36 UTe)   5/20/20l412:44:20 PM (2014-<lS-20 12~44:20 UTC)
Zone.ldentlfier                                                                                                          7/13/2014 6:18:36 AM (201.4-07·13 06:18:36 UTC)   S/20/2014 12:44:20 PM (2014-<lS-20 12:44:20 UTC)
OregonToronto.zlp                                                                                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/9/201410:2.9:34 AM (2014-{)6.09 10:29:34 UTC)
Zone.ldentlfler                                                                                                          7/13/2014 6:18:36 AM (201~7-13 06:18:36 UTC)      6/9/201410:29:34 AM (2014-06·09 10:29:34 UTC)
The Pirate Fairy.2014.D.BDRip.Oeadmauvlad.avi                                                                            7/13/20146:18:36 AM (2014-07-13 06:18:36 UTC)     5/17/2014 4:42:20 PM (2014~5-1716;42:20 UTe)
RoboCop.2014.WES..DL.l080p.mkv                                                                                           7/13/2014 6:18:36 AM (201.4-07-13 06:18:36 UTC)   6/12/201412:46:53 PM (2014~6-1212:46:53 UTC)
mirinda·im-v0.10.23·unlcode.exe                                                                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/11/201411:35:58 AM (201.4-06-1111:35:58 UTC)
z44.zip                                                                                                                  7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTe)    6/24/2014 4:24:35 PM (2014-06-24 16:24:35 UTe)
Zone.ldentlfler                                                                                                          7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)    6/24/2014 4:24:35 PM (2014-06-2416:;!4:35 UTe)
fl-D2f:lf:l, i'J(D"f:lO!!D~ !'l.2.D>0"£)±{),N€0 ,O~f:l,N<. fil€D'D·f:lfDl40"• Mlndsca pe .B DRip.1080p.N NM..ClUB.m kv   7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)    5/25/2014 8:05:38 PM (2014-05-25 20:06:38UTC)
uTorrent.exe                                                                                                             7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTe)    5{16/201411:37:25 AM (2014·05·1611:37:25 UTe) .
vh:-2·l-4.dmg                                                                                                            7/13/2014 6:18:36 AM (2014-{)7-13 06:18:36 UTC)   5/26/2014 8:09:17 AM (2014-<lS-26 08:09:17 UTC)
Zone.ldentlfier                                                                                                          7/13/2014 6:18:36 AM (2014-<l7·13 06:18:36 UTC)   5/26/2014 8:09:17 AM (2014-<lS-26 08:09:17 UTC)
5pyHunter-lnstaller.exe                                                                                                  7/13/2014 6:18:36 AM (2014-<l7·13 06:18:36 UTC)   S/17/2014 3:2G:S1 PM (2014·05·1715:2G:SllJTC)
Trance.2013 .x264.BDRip.1.45GB.NNM-CLUB.mkv                                                                              7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/29/2014 4:28:30 PM (2014-06·29 16:28:30 lJTC)
New WlnRAR ZIP archlve.zip                                                                                               7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/26/2014 7:50:04 AM (2014-<lS-26 07:50:04UTC)
Zone.ldentifler                                                                                                          7/13/2014 6:18:36 AM (2014-{)7-13 06:18:36 UTC)   5/26/2014 7:50:04 AM (2014-05-26 07:50:04 UTC)
KMP1ayer_3.8.0.120.zlp                                                                                                   7/13/2014 6:18:36 AM (2014-<l7-13 06:18:36 UTCj   5/25/2014 9:43:41 AM (2014-05-25 09:43:41 UTe)
Zone. Identifier                                                                                                         7/13/2014 6:1,8:36 AM (2014-07-13 06:18:36 UTC)   S/25/2014 9:43:41 AM (2014-05-25 09:43:41 UTe)
multlbit-0.5.18-windows-setup,exe                                                                                        7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)    5/15/201410:31:44 AM (2014-05-1510:31:44 UTe)
TuukleChatSetup.exe                                                                                                      7/13/2014 6:18:36 AM (2014-{)7-13 06:18:36 UTC)   5/15/201410:18:51 AM (2014-05-1510:18:51 UTe)
TuuldeChatSetupB.exe                                                                                                     7/13/2014 6:18:36 AM (2014-<l7·13 06:18:36 UTC)   5/15/201410:09:35 AM (2014>{)5-15 10:09:35 UTC)
psi-plus~.16361.-win32-setup.exe                                                                                         7/13/2014 6:18:36 AM (2014-<l7·13 06:18:36 UTC)   5/15/2014 9:49:58 AM (2014.05·15 09:49:58 UTC)
wlnrir·x64-S1b4.exe                                                                                                      7/13/2014 6:18:36 AM (2014-{)7-13 06:18:36 UTC)   5/15/2014 9:40:18 AM (2014-<lS-15 09:40:18 UTC)
winrar-x64-500br.exe                                                                                                     7/13/2014 6:18:36 AM (2014·07-13 06:18:36 UTC)    5/15/2014 9:38:50 AM (2014-0S-15 09:38:50 UTC)
Wnks                                                                                                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    S/19/201412:23:58 PM (2014-05-1912:23:58 UTC)
$130                                                                                                                     7/13/2014 6:18:36 AM (201~7-13 06:18:36 UTC)      5/19/201412:23:58 PM (2014-05·1912:23:58UTC)
Oownloads.lnk                                                                                                            7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)    5/16/2014 4:35:22 AM (2014-05-16 04:35:22 UTC)
Desktop.lnk                                                                                                              7/13/2014 6:18:36 AM (2014-<l7·13 06:18:36 UTe)   S/16/2014 4:35:22 AM (2014-<l5·16 04:35:22 UTC)
RecentPiaces.lnk                                                                                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/16/2014 4:35:22 AM (2014·05-16 04:35:22 UTC)
desktop.lni                                                                                                              7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/16/2014 4:35:22 AM (2014-05-16 04:35:22 UTe)
5kyDrive.lnk                                                                                                             7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/19/201412:23:58 PM (2014-<>5-1912:23:58 UTC)
5avedGames                                                                                                               7/13/2014 6:18:36 AM (2014-<>7·13 06:18:36 UTC)   5/16/2014 4:35:22 AM (2014-05-16 04:35:22 UTe)
desktop.lnl                                                                                                              7/13/2014 6:18:36 AM (2014-<l7·13 06:18:36 UTC)   5/16/2014 4:35:22 AM (2014-05-16 04:35:22 UTC)
lpm.dat                                                                                                                  7/13/2014 6:18:36 AM (2014·07·1.3 06:18:36 UTe)   5/25/201410:06:20 AM (2014-<>5·2510:06:20 UTC)
Burn                                                                                                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/16/2014 4:37:19 AM (2014-<l5·16 04:37:19 UTC)
desktop.lni                                                                                                              7/13/2014 6:18:36 AM (2014-<l7·13 06:18:36 UTC)   S/16/2014 4:37:19 AM (2014-<lS-16 04:37:19 UTC)
Printer Shortcuts                                                                                                        7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)    7/26/2012 8:12:58 AM (2012~7-26 08:12:58 UTC)
Recent                                                                                                                   7/13/2014 6:18:36 AM (2014-<l7·13 06:18:36 UTC)   7/3/2014 11:48:36 AM (2014-07-<>311:48:36 UTC)
$1:l0                                                                                                                    7/13/2014 6:18:36 AM (2014~7-13 06:18:36 UTC)     7/3/201411:48:36 AM (2014--07-0311:48:36 UTC)
out.rar.ink                                                                                                              7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTe)    7/l/2014 11:38:20 AM (2014~7~111:38:20 UTC)
out.txt.lnk                                                                                                              7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTe)    7/1/2014 11:34:34 AM (2014-<l7-<lll1:34:34 UTC)
                                            Case 2:11-cr-00070-RAJ Document 427-16 Filed 09/08/16 Page 35 of 41


Votf.Messlne.04.serija.2009.XvlO.OVDRip.avi.lnk                                                             7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/24/2014 3:49:54 PM (2014-05-2415:49:54 UTC)
1maee004.Jpg.lnk                                                                                            7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/3/20141:06:21 PM (2014-0G-o313:06:21 UTC)
lmage005.jpg.lnk                                                                                            7/13/2014 6:18:36 NV! (2014-07-13 06:18:36 UTC)   6/3/20141:06:23 PM (2014-0G-o3 13:06:23 UTC)
image003.Jpg.lnk                                                                                            7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)    6/3/2014 1:06:19 PM (2014-06.0313:06:19 UTC)
Stationerv.flles.lnk                                                                                        7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)    6/3/2014 1:06:28 PM (2014-06.03 13:06:28 UTC)
lmage002.jpg.lnk                                                                                            7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC}    6/3/20141:05:55 PM (2014-06.03 13:05:55 UTC)
msr206.jpg.lnk                                                                                              7/1'3/2014 6:18:36 AM (2014-07-13 06:18:36 UTC}   6/3/201410:37:32 AM (2014-06.0310:37:32 UTC)
themedata.thmx.lnk                                                                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC}    6/3/20141:06:28 PM (2014-0G-o3 13:06;28 UTC)
D'D»D'ill-SDl! f;i f;ito>o~,o·o~o•. docdnk                                                                  7/13/2014 6:18:36 AM (2014-07-13 06:18:36 VTC}    6/3/2014 9:28:57 AM (2014-06.03 09:28:57 UTC)
Templates.lnk                                                                                               7/13/2014 6:18:36 NV! (2014-07-13 06:18:36 VTC)   6/3/2014 9:2857 AM (2014-06.03 09:28:57 UTC)
D'NfDliDIIDI!A,.dotx.lnk                                                                                    7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/3/2014 9:25:19 AM (2014{)6.03 09:25:19 UTC)
http-www.odnoklassnlkl.ru·dkcmd:ologEKternal&st.cmd•ologExternal&st.name=frlendMail&st.llnk=http%3A%2F%2Fv. 7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/18/2014 3:04:48 PM (2014-06-1815:04:48 UTC)
profile-skype-coms_don.t.touch.me_s.lnk                                                                     7/13/2014 6:18:36 AM (2014-07-B 06:18!36 UTC)     6/24/2014 7:51:37 PM (2014-06-2419:51:37 UTC)
sorted.rar.lnk                                                                                              7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    7/l/201410:51:45 AM (2014-07-0110:51:45 UTC)
Volf.Me5Sing.03.serija.2009.XviO.DVDRip.avi.lnk                                                             7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/24/2014 2:56:49 PM (2014-05-24 14:56:49 UTC)
logo.png,lnk                                                                                                7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/4/2014 11:20:03 AM (2014-06-04 11:20:03 UTC)
z44.zlp.lnk                                                                                                 7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/24/2014 4:24:35 PM (2014-06-2416:24:35 UTC}
New WinAAR ZIP archive(l).zip.lnk                                                                           7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/30/2014 4:10:12 PM (2014{)6-30 16:10:12 UTC)
l)ttp-www.exist.ru-getnewpass.aspxa"F66C1433.0E8A·4A91-ABC4-476816AOBCCOOC6003CC·73B6·4438·94EO·OE8l 7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)           5/31/2014 6:56:57 AM (2014-05-31 05:56:57 UTC}
TempSt,ate.lnk                                                                                              7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)    6/20/2014 12:27:13 PM (2014-06·20 12:27:13 UTC)
lexicon2.txt.lnk                                                                                            7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTe)    6/26/2014 11:36:01 AM (2014-06-2611:36:01 UTC}
rav3JABBER(Iow valld).rar.lnk                                                                               7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/23/2014 2:22:14 PM (2014-06-23 14:22:14 UTC}
http-www.mamba.ru·tips-tlp=passwordrecovery&Jogln=mb920878908&secret=MOOPlrpyWyNOOkbF&token:16S_e 7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)              6/15/2014 3:59:09 PM (2014-06-15 15:59:09 UTC)
https-eul.badoo.com-access.phtmiUI0~93970307&secret=nGiwR63KYh&g=38-0-2.&m=43&mld=53944208000000: 7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)              6/8/2014 10:59:27 AM (2014-0G-o810:59:27 UTC}
https-eu1.badoo.com-access.phtmiUI0=:293970307&secret=nGhvR63KYh&g,.J8-5-l&m=-43&mld=S39bcfaf0000001: 7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)          6/15/2014 3:54:13 PM (2014.06-15 15:54:13 UTC}
https-www.oplala .info-delivery-delivery_email.aspguld=F31409DA8EA74653BB29084A3 FFlOlEF.Ink                7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)    5/19/2014 12:00:31 PM (2014-05-19 12:00:31 UTC)
KINGSTON (O).I!'Ik                                                                                          7/13/20146:18:36 AM (2,014-07-13 06:18:36 UTC)    5/16/2014 2:lg:10 PM (2014-05-1614:13:10 UTC}
Wolf.Messlng.l/idevshiy.skvoz.vremya.(16.se(lj.iz.16).2009.XviO.OVORip.lnk                                  7/13/20146:18:36 AM (2014-07·13 06:18:36 UTC)     5/24/2014 3:45:54 PM (2014-05-24 15:49:54 UTC)
http-ezxcess.anllabs.com-log1n-lnde)(.anturl=http%3~~2Fwww%2Emsftncsi'J£2Ecom%2Fredlrect.lnk                7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTe}    6/21/2014 4:47:56 PM (2014-06-2116:47:56 UTC}
PLUTUS.Ink                                                                                                  7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/25/201411:52:21 AM (2014-06-25 11:52:21 UTC}
www.lnk                                                                                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/10/2014 1:44:24 PM (2014{)6-10 13:44:24 UTC)
fil£.1nk                                                                                                    7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC}    6/3/2014 1:07:08 PM (2014.06.03 13:07:08 UTC)
screenshot.png.lnk                                                                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/25/2014 3:56:49 PM (2014·05-25 15:56:49 UTC)
image001.glf.lnk                                                                                            7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)    6/3/20141:05:51 PM (2014-06.03 13:05:52 UTC)
JULY.lnk                                                                                                    7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC}    7/3/201411:48:36 AM (2014-07-0311:48:36 UTC)
Statlonery.htm.lnll                                                                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/6/2014 5:20:58 AM (2014.06-06 05:20:58 UTC)
https- secure.booklng.com-gr_guest_response.htmlrequest_ld=2828872&code=5659da250302b03bf570d2a638976i 7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)         6/18/2014 8:11:32 AM (2014-06-18 08:U:32 UTC)
OregonToronto.zlp.lnk                                                                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/9/201410:30:36 AM (2014-0G-o9 10:30:36 UTC)
t>lfC~tfiliD'fii,O'N,fiiCE.Ink                                                                              7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/20/201412:33;36 PM (2014-06-20 12:33:36 UTC)
https-secure.booking.com-myreser\latlons.ru.htmlbn=765219236;plncodec6277;source=conf_email;pbsource=conf. 7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/20/201412:28:42 PM (2014-06-20 12:28:42 UTC)
Screen.png,lnk                                                                                              7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/26{201411:10:07 AM (2014-05-26 11:10:07 UTC)
index.html.lnk                                                                                              7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/3/2014 1:07:08 PM (2014-06-0.l13:07:08 UTC)
D"DIIDJ'O'ADXRc D'D• C'D.D~filto, (CiDJ!D-{l~t>X 2) Oa Vinci's Demons (2014) HDTVRip • LostFIIm.lnk         7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)    5/17/2014 2:15:18 PM (2014-05-1714:15:18 UTC)
Volf.Messlng.01.serlja.2009.XvlO.OVDRip.lnk                                                                 7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/16/2014 2:36:31 PM (2014.Q5-16 14:36:31 UTC)
may.lnk                                                                                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC}    7/1/20141:56:51 PM (2014-07-0113:56:51 UTC)
http--mail.seleznev.ru-.lnk                                                                                 7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC}    6/18/2014 6:08:39 PM (2014-06-18 18:08:39 UTC)
http-www.viber.com-.lnk                                                                                     7/13/2014 6:18:36 AM (2014-07-B 06:18:36 UTC}     5/15/20141:54:10 PM (2014-05-15 13:54:10 UTC)
vlc-2-14.dmg.lnk                                                                                            7/13/2014 6:18:36 AM (2014-07-13 06:.18:36 UTC)   5/26/2014 8:09:17 AM (2014.05·26 08:09:17 UTC)
https-sg.megafon.ru-.lnk                                                                                    7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/3/2014 5:05:04 PM (2014-06-03 17:05:04 UTC)
DND%0.RNfOl'Of.lO~N,iih.lnk                                                                                 7/13/2014 6:18:36AM (2014-07-13 06:18:36 UTC)     5/15/201412:48:37 PM (2014-05·15 12:48:37 UTC)
sd.dat.lnk                                                                                                  7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/15/2014 12:48:37 PM (2014-05-15 12:48:37 UTC)
 ms-wlndows-storelnstaiiProgressPFN~Microsoft.SkypeApp_kzf8qd38~gSc.lnk                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/15/201410:54:04 AM (2014-05-15 10:54:04 UTC)
                                             Case 2:11-cr-00070-RAJ Document 427-16 Filed 09/08/16 Page 36 of 41


http-www,odnoklassnikr.ru-dkcmd•ofogExternal&stcmd=logE>Iternal&sl.name=frlendMall&st.llnk•http%3A%2F%2Fv. 7/13/2014 6:18:36 AM (2014.07-13 06:18:36 l!TC)             6/14/201411:32:36 AM (2014-<l6-1411:32:36l!TC)
https-slgnup.live,com-signup.aspxmkt=ri.I-RU.Ink                                                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36l!TC)    5/15/201410:43:35 AM (2014-05-15 10:43:35 UTC)
losangelesCA SandlegoCA Newyork Michigan Ohlo.xlsx.lnk                                                               7/13/2014 6:18:36 AM (2014-()7-13 06:18:36l!TC)   6/2/2014 2:44:33 PM (2014-06-o214:44:33 UTC)
lexicon.txtlnk                                                                                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36l!TC}    6/24/20141:24:55 PM (2014-06-2413:24:55 UTC)
https-pay.megafon.ru-.lnk                                                                                            7/13/2014 6:18:36 AM {2014-07-13 06:18:36l!TC)    5/25/2014 9:58:08 AM (2014-05-25 09:58:08 UTC)
lingp1ng.lnk                                                                                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/12/2014 12:08:35 PM (2014-06-12 12:08:35 UTC)
lhe Pirate Fairy.2014.D.BDRip.Oeadmauvlad.avl.lnk                                                                    7/13/2014 6:18:36 AM (2014-()7-13 06:18:36 UTC)   5/19/2014 2:i2:02 AM (2014·05-19 02:22:02 UTC)
£l-D'01 1it€t::ifD·D20.Jnk                                                                                           7/13/2014 6:18:36 AM (2014-()7-13 06:18:36 UTC)   7/2/2014 4:50t16 PM (2014-07-02 16:50:16 UTC)
ms-windows-storePOPPFN~JSCMegafon.MegaFon_yny85satd79nr.lnk                                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    S/16/20141!>.25:40 AM (2014.05-1610:25:40 UTC)
SOME HINTS FOR DISCOVER DUMPS to GET AlAILABLE BALANCE.docx.lnk                                                      7/13/2014 6:18:36 AM (2014-o7-13 06:18:36l!TC)    6/22/2014 7:14:57 PM (2014-06-2219:14:57 UTC)
D±OIJO·O.OJ(OI-Ltxt.lnk                                                                                              7/13/2014 6:18:36 AM (2014-07-13 06:18:36l!TC)    6/27/2014 12:49:31 PM (2014-06-27 12:49:31 UTC)
O-f>Bt::ilit,fitro•fitololDMI\i.2.0>0'0±0,Iit€i>,O)iN,Iilc.lit€O'O·fitfOl'D'· Mlndscape.BDRip.1080p.NNM-CLUB.mkv.lnk 7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/26/2014 4:10:57 AM (2014-05-26 04:10:S7 UTC)
Searches                                                                                                             7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    S/16/2014 4:35:53 AM (2014-05-16 04:35:53 UTC)
$130                                                                                                                 7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/16/2014 4:35:53 AM (2014.05-16 04:35:53 UTC)
Everywhere.searct'>-ms                                                                                               7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/15/201.4 9:23:02 AM (2014-05-15 09:23:02 UTC)
Indexed Locatlons.search-ms                                                                                          7/13/2014 6:18:36 AM (201.4-07-la 06:18:36 UTC)   S/15/2014 9:23:02 AM (2014-05-15 09:23:02l!TC)
desktop.lni                                                                                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/16/2014 4:35:22 AM (2014-o5-16 04:35:22 UTC)
winrt-{5-1-5·21-872295761-2623846239·3737112615-1001}-.SEarct'>connector-ms                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36l!TC)    5/16/2014 4:35:53 AM (2014-05-16 04:35:53 UTC)
2pac_sold.rar                                                                                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    7/2/2014 4:47:19 PM (2014-07.02 16:47:19 UTC)
Zone. Identifier                                                                                                     7/13/2014 6:18:36 AM (2014-01· 13 06:18:36 UTC)   7/2/2014 4:47:19 PM (2014-07 -02 16:47:19 UTC)
dsjajdsaj.zl p                                                                                                       7/13/2014 6:18:36 AM (2014-o7-13 06:18:36 UTC)    7/1/2014 4:36;55 PM (2014-07-0116:36:55 UTC)
Zone.ldentlfler                                                                                                      7/13/2014 6:18:36 AM (2014-()7-13 06:18:36l!TC)   7/1/2014 4:36:55 PM (2014-07-0116:36:55 UTC)
ct21.zlp                                                                                                             7/13/2014 6:18:36 AM (2014-07-13 06:18:36l!TC}    7/1/2014 8:02:08 AM (2014-07·01 08:02:08 UTC)
Zone.tdentiller                                                                                                      7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)    7/1/2014 8:02:08 AM (2014-07.01 08:02:08l!TC)
concord.zlp                                                                                                          7/13/2014 6:18:36 AM (2014-07·13 06:18:36l!TC)    6/18/201410:35:50 AM (2014-06-1810:35:50 UTC)
Zone.ldentlfler                                                                                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36l!TC}    6/18/201410:35:50 AM (2014-06-18 10:35:50 UTC)
300.Rise.Of.An.Empire.2014.0.80Rip.720p.NNM·CLUB.mkv                                                                 7/13/2014 6:18:36 AM (2014-07-13 06:18:36l!TC)    6/9/201411:57:45 AM (2014-()6.0911:57:45 UTC)
01_valld.txt                                                                                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36l!TC)    5/21/2014 3:04:56 PM (2014-oS-2115:04:56 UTC)
Zone .Identifier                                                                                                     7{13/2014 6:18:36 AM (2014-07-13 06:18:36l!TC)    5/21/2014 3:04:56 PM (2014.05·2115:04:56 UTC)
crm.zJp                                                                                                              7/13/2014 6:18:36 AM (2014-o7·13 06:18:36l!TC)    6/20/2014 9:34:44 AM (2014-06-20 09:34:44 UTC)
Zone.tdentlfler                                                                                                      7/13/2014 6:18:36 AM (2014-o?-13 06:18:36l!TC)    6/20/2014 9;34:44 AM (2014-06-20 09:34:44 UTC)
eav_trial64_rus.exe                                                                                                  7/13/2014 6:18:36 AM (2014-o7-13 06:18:36l!TC)    5/17/201412:28:18 PM (2014-05-1712:28:18 UTC)
Desktop.zip                                                                                                          7/13/2014 6:18:36 AM (2014-o7·13 06:18:36l!TC)    6/24/20141:59:15 PM (2014-06-2413:59:15 UTC)
Zone. Identifier                                                                                                     7/13/2014 6:18:36 AM (2014-o7-13 06:18:36 UTC)    6/24/2014 1:59:15 PM (2014-06-24 13:59:15 UTC)
8RAZ1Lzlp                                                                                                            7/13/2014 6:18:36 AM (2014-07-13 06:18:36l!TC}    6/24/2014 5:5!1:35 AM (2014-06-24 OS:58:35 liTC)
Zone.ldentlfler                                                                                                      7/13/2014 6:18:36 AM (2014-o7-13 06:18:36 UTC)    6/24/2014 5:58:35 AM {2014-06-24 05:58:35 UTC)
doctor.zlp                                                                                                           7/13/2014 6:18:36 AM (2014-o7-13 06:18:36l!TC)    6/10/201411:29:11 AM (2014-06-10 11:29:11l!TCJ
Zone.ldentlfler                                                                                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36l!TC)    6/10/201411:29:11 AM (2014-()6-10 11:29:11l!TC)
 Homeftont.2013.BDRip.1080p.mkv                                                                                      7/13/2014 6:18:36 AM (2014-07-13 06:18;36 UTC)    5/17/20148:42:22 PM (2014.05-17 20:42:22 UTC)
Chrome5etup.exe                                                                                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/22/2014 5:05:23 PM (2014-()6-2217:05:23 UTC)
DivXInslaller.exe                                                                                                    7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    S/25/2014 9:55:25 AM (2014-05-2-5 09:55:25 UTC)
DownloadManagersetup.exe                                                                                             7/13/2014 6:18:36 AM (2014-07-13 06:18:36l!TC}    5/25/2014 9:52:10 AM (2014-()5-25 09:52:10 UTC)
ac3filter_2_6_0b_llte.exe                                                                                            7/13/2014 6:18:36 AM (2014-07-13 06:18:36l!TC)    5/25/2014 10:54:41 AM (2014-05-2510:54:41l!TC)
 feathercoln-setup-Q.8.6.2.exe                                                                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36l!TC)    5/15/2014 12:31:54 PM (20l4-05-1S 12:31:54 UTC)
 123.pfx                                                                                                             7/13/2014 6:18:36 AM (2014-07-13 06:18:36l!TC)    5/15/201411:55:30 AM (2014-05-1511:55:30 UTC)
zone.ldentlfler                                                                                                      7/13/2014 6:18:36 AM (201.4-0743 06:18:36 UTC)    5/15/201411:55:30 AM (2014-05-15 11:55:30 UTC)
 Far30b3900.x86.20140513.msl                                                                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/15/2014 9:32:42 AM (2014-05·15 09:32:42 UTC)
 Firefox Setup Stub 29.0.l.exe                                                                                       7/13/2014 6:18:36 AM (2014-<l7-13 06:18:36 UTC)   S/lS/2014 9:28:49 AM (2014-o5-15 09:28:49 UTC)
 deslctop.inl                                                                                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/17/2014 2:09:50 PM (2014-o5-17 14:09:50 UTC)
 Blue5tacks_downloader_by_Biue5tacks.exe                                                                             7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    5/16/20144:.54:51 AM (2014.05-16 04:54 :51l!TC)
 3 Days to KIII.2014.BDRip.AVC.mkv                                                                                   7/13/2014 6:18:36 AM (2014-07-13 06:18:36l!TC)    6/15/2014 10:09:36 AM (2014-06-15 10:09:36 UTC)
 Local                                                                                                               7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)    6/17/2014 1M7:50 AM (2014-06-17 10:37:50 UTC)
                 Case 2:11-cr-00070-RAJ Document 427-16 Filed 09/08/16 Page 37 of 41


$130                                              7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/17/201410:37:50 AM (2014-06-1710:37:50 UTC)
Roamfngn!es                                       7/13/2014 6:18:36 AM (201.4-(}7- 13 06:18:36 UTC)   5/15/2014 9:22:4-6 AM (201.4-05·15 09:22:46 UTC)
History                                           7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      5/15/2014 9:26:58 AM (2014-QS-15 09:26:58 UlC)
desktop.lni                                       7/13/2014 6:18:36 AM (2014·07-13 06:18:36 UTC)      5/lS/2014 9:25:58 AM (2014-0S-15 09:25:58 UTC)
INetCookles                                       7/13/2014 6:18:36 AM (2014..07-13 06:18:36 UTC)     7/4/2014 4:28:26 PM (2014-07.0416:28:26 LITC)
$130                                              7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      7/4/2014 4:28:26 PM (2014-07.0416:28:26 LITe)
11W8QK8N.txt                                      7/13/2014 6;18;36 AM (2014-07-13 06:18:36 LITC)     7/4/20144:28:26 PM (201<H>7.0416:28:26lJTC)
NM129PQK.txt                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/26/2014 8:32:53 PM (2014.06-26 20:32:53 UTC)
EPNOZUDU.txt                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/17/2014 8:57:16 AM (201.4.06--17 08:57:16 UTC)
MRBOMOFA.txt                                      7/13/2014 6:18:36 AM (2014.07-13 06:18:36 UTC)      6/17/2014 8:56:57 AM (2014-06-17 08:56:57 UTC)
SOOFEMXS.txt                                      7/13/2014 6:18:36 AM (2014.07·13 06:18:36 UTC)      6/16/2014 4:54:55 PM (2014-06-1616:54:55 UTC)
MM95AEIX.txt                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/16/2014 4:54:41 PM (2014.06-1616:54:41 UTC)
21SH6PX3.txt                                      7/13/2014 6 :18:36 AM (201.4..07-13 06:18:36 UTC)   6/16/2014 4:54:37 PM (2014-06·16 16:54:37 UTC)
2TClNN5H.txt                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/16/2014 4:54:37 PM (2014-06-1616:54:37 UTC)
9CNOBUOI.txt                                      7/1?./2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/30/2014 4:10:19 PM (2014-06-30 16:10:19 UTC)
AHL3400A.txt                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      5/16/201412:27:39 PM (2014-05-1612:27:39lJTC}
KOOTAKGY.txt                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      5/16/201412:27:37 PM (2014-05-1612:27:37 UTC)
1ZF4AQIK.txt                                      7/13/2014 6:18:36 AM (2014.07-13 06:18:36 UTC)      5/16/201412:26:44 PM (2014-05-1612:26:44 UTC)
08RU726M.txt                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      5/16/201412:26:24 PM (2014-05-1612:26:24 UTC)
l l ZGZ81Y.txt                                    7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      5/16/201412:26:08 PM (2014.05-1612:26:08 UTC)
TMQ4LP4W.txt                                      7/13/2014 6:18:36 AM (2014..07·13 06:18:36 UTC)     5/16/201412:32:03 PM (2014-05-1612:32:0~ UTC)
71KS8GKC.txt                                      7/13/2014 6:18136 AM (2014.07-13 06:18:36 UTC)      5/16/201412:25:52 PM (2014-05-1612:25:52 UTC)
QGATUJEG.txt                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      5/16/201412!25:10 PM (2014-0S-1612:25:10 UTC)
T3XS6VQR.txt                                      7/13/2014 6 :18:36 AM (2014.07-13 06:18:36 UTC)     5/17/201412:26:01 PM (2014-05-1712:26:01 UTC)
GCS6W9XO.txt                                      7/13/2014 6:18:36 AM (2014.07-13 06:18:36 UTC)      5/16/2014 5:34:.U PM (2014-05-1617:34:41 UTC)
YQQWLIBM.txt                                      7/13/2014 6:18:36 AM (2014·07-13 06:18:36 UTC)      6/21/20141:30:52 AM (2014.06-21 01.:30:52 UTC)
TOW3WCTH.txt                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      5/16/2014 4:42:10 PM (2014-05-1616:42:10 UTC)
MPMOH86K.txt                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      5/16/201.411:39:21 AM (2014-05-1611:39:21 UTC)
ST3YYA6H.txt                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      5/16/201411:39:16 AM (2014-05-1611:39:16 UTC)
JHT6BNOG.txt                                      7/13/2014 6:18:36 AM (2014-(}7·13 06:18:36 UTC)     5/16/201411:06:23 AM (201-4-05·16 11:06:23 UTC)
MRLLI3XP .txt                                     7/13/2014 6:18:36 AM (2014-07--13 06:18:36lJTC)     5(16/2014 10:41:57 AM (2014-05-1610:41:5 7 lJlC)
VW3RE00t'l.txt                                    7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      5/16/201410:41:55 AM (2014-(}5-1610:41:55 UTC)
527 ASALV.txt                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 lJTC)     5/16/2014 10:41:59 AM (201A-05-16 10:41:59 UTC)
MP1TA40N.txt                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      5/16/201410:41:26 AM (2014-QS-1610:41:26 UTC)
G7DU9NKJ.txt                                      7/13/2014 6:18:36 AM (2014.07-13 06:18:36 UTC)      5/16/201410:41:26 AM (2014-05-1610:41:26 UTC)
V9X9FIVB.txt                                      7/13/2014 6:18:36 AM (2014-{}7-13 06:18:36 UTC)     5/16/2014 12:24:23 PM (2014-oS-16 12:24:23 UTC)
S7MOAEHO.txt                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      5/25/2014 9:54:09 AM (2014-05-25 09:54:09 UTC)
ULSTSOUX.txt                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/27/201412:48:30 PM (2014-06·27 12:48:30 UTC)
CQ6f5167.txt                                      7/13/2014 6:18:36 AM (2014.07-13 06:18:36 UTC}      6/27/201412:47:57 PM (2014-(}6-2712:47!57 UTC)
XI2RQIVA.txt                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      5/16/2014 9:14:17 AM (2014.05-16 09:14:17 UTC)
AT8SRHK5.txr                                      7/13/2014 6:18:36 AM (201.4-07-13 06:18:36 UTC)     5/16/2014 9:14:15 AM (2014-05-16 09:14:15 UTC)
LXZZA7N9.txt                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      5/16/2014 9:13:56 AM (2014-05-16 09:13:56 UTC}
21T7CSGM.txt                                      7/13/2014 6:18:36 AM (2014.07-13 06:18:36 UTC)      5/25/2014 9:54:08 AM (2014-05-25 09:54:08 UTC}
V04EBD2F.txt                                      7/13/2014 6:18:36 AM (2014-07-13 06:18!36 UTC)      6/27/201412:48:30 PM (2014-06-27 12:48:30 UTC}
1SLFOPB1.txt                                      7/13/2014 6:18:36 AM (2014"07-13 06:18:36 UTC)      6/27/201411:p2:20 AM (2014.06-271.1:32:20 lJTC)
KTOB2VVF.txt                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      5/16/2014 6:12:06 AM (2014-05-16 06:12:06 UTC)
FURJNKJ8.txt                                      7/13/2014 6:18:36 AM (2014'-07-13 06:18!36 UTC)     5/16/2014 4:54:24 AM (2014-05•16 04:54:24 lire)
lconCa€he.db                                      7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      7/5/2014 2:24:48 AM (2014-07.05 02:24:48 UTC)
nsh79CF.tmp                                       7/13/2014 6:18:36 AM (2014-07-13 06:18!36 UTC)      5/16/2014 6:11:56 AM (2014-05-16 06:11:56 UTC)
Roaming                                           7/13/2014 6 :18:36 AM (2014· 07-13 06:18:36 UTC)    S/25/2014 10:02:47 AM (2014-05-25 10:02:47 UTC)
$130                                              7/13/2014 6:18:36 AM (2014·07·13 06:18:36 UTC)      5/25/201410:02~47 AM (2014.05-25 10:02:47 UTC)
SenciTo                                           7/13/2014 6:18:36 AM (201A-07· 13 06:18:36 UTC)     5/15/2014 9:01:11 PM (2014-05 ,15 21:01:11 UTC)
                                            Case 2:11-cr-00070-RAJ Document 427-16 Filed 09/08/16 Page 38 of 41



$130                                                                          7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)      S/15/2014 9:01:11 PM (2014-05-15 21:01:11 UTC)
Compressed (zipped) Folder.ZFSendToTarget                                     7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      8/22/2013 3:34:52 PM (2013·0&-2215:34:52 UTC)
Deskto p (crea~e shortcut).OeskLink                                           7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)      8/22/2013 3:34:52 PM (2013..{)8-22 15:34:52 UTC)
Desktop.ini                                                                   7/13/2014 6:18:36 AM (2014..07·13 06:18:36 UTC)     8/22/2013 3:35:52 PM (2013..08·22 15:35:52 UTC)
Fax Recipient Ink                                                             7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)      8/22/2013 7:00:54 AM (2013..{)8-22 07:00:54 UTC)
Mall Reclpienl.MAP1Mail                                                       7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)      8/22/2013 3:34:52 PM (2013·08·2215:34:52 UTC)
Start Menu                                                                    7/13/2014 6:18:36 AM (2014..{)7-13 06:18;36 UTC)    5/16/2014 11:39:05 AM (2014-05-16 11:39:05 UTC)
$130                                                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      5/16/2014 1139:05 AM (2014.05-16 11:39:05 UTC)
Programs                                                                      7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)      5/25/2014 9:53:02 AM (2014-05·25 09:53:02 UTC)
$130                                                                          7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)      5/25/2014 9:53:02 AM {2014.05·25 09:53:02 UTC)
DU>"'Iil€0·tl .Dl-ID•Jnk                                                      7/13/2014 6:18:36 AM (2014..07·13 06:18:36 UTC)     5/17/20141:46:41 PM (2014..()5-1713:46:41 UTC)
desktop.ini                                                                   7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      S/17/20141:46:41 PM (2014..05·1713:46:41 UTC)
Oocuments.lnk                                                                 7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)      3/18/201410:08:35 AM (2014-03·18 10:08:35 UTC)
Pictures.lnk                                                                  7/13/2014 6:1.8:36 AM (2014-07-13 06:18:36 UTC)     3/18/201410:08:35 AM (2014-03·1810:08:35 UTC)
SkyOrive.lnk                                                                  7/13/2014 6:18:36 AM (2014..{)7-13 06:18:36 UTC)    5/19/201412:23:58 PM (2014·05· 19 12:23:58 UTC)
Internet Explorer.lnk                                                         7/13/2014 6:18:36 AM (2014..07·13 06:18:36 UTC)     5/16/2014-4:35:1.9 AM (2014-05· 16 04:35:19 UTC)
A.I!Torrent.lnk                                                               7/13/2014 6:18:36 AM (2014-07-19 06:18:36 UTC)      5/16/201411:39:05 AM (2014-05-16 11:39:05 UTC)
desktop.ini                                                                   7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)      S/16/2014 4:35:22 AM (2014-05-16 04:35:22 UTC)
Libraries                                                                     7/13/2014 6:18 :36 AM (2014..Q7·13 06:18:36 UTC)    5/17/2014 2:14:44 PM (2014-05·1714:14:44 UTC)
$130                                                                          7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      5/17/2014 2:14:44 PM (201.4--,05-1714:14:44 UTC)
Documents.llbrary-ms                                                          7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)      5/17/2014 2:14:44 PM (2014-05-17 14:14:44 UTC)
desktop.lni                                                                   7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)      5/16/2014 4:35:22 AM (2014-05-16 04:35:22 VTC)
Plctures.library·ms                                                           7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      5/17/2014 2:09:50 PM (2014·05-17 14:09:50 UTC)
Mus1c.library-ms                                                              7/13/2014 6:18:36 AM (2014·07·13 06:18:36 UTC)      5/17/2014 2:14:44 PM (2014-05·17 14:14:44 UTC)
V1deos.llbrary-ms                                                             7/13/2014 6:18:36 AM (2014..{)7-13 06:18:36 UTC)    5/17/2014 2:09:50 PM {2014-05·1714:09:50 UTC)
Network Shortcuts                                                             7/13/20146:18:36 AM (2014-07·13 06:18:36 UTC)       7/26/2012 8:12:59 AM (20U-{)7-26 08:12:59 UTC)
DrumStick_ NY_PA.rar.lnk                                                      7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)      7/3/201411:48:36 AM (2014-07.03 11:48:36 UTC)
2pac_sold.rar.lnk                                                             7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      7/2/2014 4:50:16 PM (2014-07-02 16:50:16 UTC)
COLORADO.txt.lnk                                                              7/13/2014 6:18:36 AM (2014..{)7-13 06:18:36 UTC)    7/2/2014 11:58:40 AM (2014-07..{)211:58:40 UTC)
dsjajdsaj.zip.1nk                                                             7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      7/1/2014 4:36;55 PM (2014-07..{)116:36:55 UTC)
55k.rar.lnk                                                                   7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)      7/1/20141:56:51 PM (2014-07..{)113:56:51 UTC)
donge.rar.lnk                                                                 7/13/2014 6:18 :36 AM (2014..{)7-13 06:18:36 UTC)   7/1/2014 11:04:35 AM (2014-07..{)111:04:35 UTC)
42PACC.Ink                                                                    7/13/2014 6:18:36 AM (2014..{)7-13 06:18:36 UTC)    7/1/201410:Sk4SAM (2014..{)7..{)110:51:45 UTC)
ct21.zlp.lnk                                                                  7/13/2014 6:18:36 AM {2014-07-13 06:18:36 UTC)      7/1/2014 8:03:11 AM {2014-07..01 08:03:11 UTC)
concord.zlp.lnll                                                              7/13/2014 6:18:36 AM {2014-07·19 06:18:36 UTC)      6/18/201410:35:50 AM (2014-06-18 10:35:50 UTC)
74161.pdf.lnk                                                                 7/13/2014 6:18t36 AM (2014-07-13 06:18:36 UTC)      6/18/201411:04:06 AM (2014..06-1811:04:06 UTC)
74161 Booklns.com Seleznev RU (2).pdf.lnk                                     7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)      6/17/2014 10:47:15 AM (2014..06·17 10:47:15 UTC)
74161 Booking,com Seleznev RU.pdf.lnk                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/17/201410:38:34AM (2014-06-1710:38:34 UTC)
Atmosphere kanifushi Maldives Vaca tion Planner.pdf.lnk                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/17/201410:37:50 AM (2014-06·17 10:37:50 UTC)
7416i Confirmation Letter for Booking.com Seleznev RU.pdf.lnk                 7/13/2014 6:18:36 AM (2014..{)7-13 06:18:36 UTC)    6/18/2014 8:36:30 AM (2014-06-18 08:36:30 UTC)
e-dump24.txt.lnk                                                              7/13/2014 6:18:36 AM (2014·07·13 06:18:36 UTC)      6/25/201411:38:59 AM (2014·06-25 11:38 :59 UTC)
74161 Booklng.com AMENOED.pdf.lnlc                                            7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)      6/18/2014 8:36:14 AM (2014-06-18 08:36:14 UTC)
CA1.txt.lnk                                                                   7/13/2014 6:18:36 AM (2014..{)7-13 06:18:36 UTC)    6/25/2014 11:52:21 AM (2014-06-25 11:52:21 UTC)
header.htm.lnk                                                                7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)      6/3/2014 1:05:49 PM (2014-06.03 13:05:49 UTC)
1itellst.xml.lnk                                                              7/1.3/2014 6:18:36 AM (2014..{)7-13 06:18:36 UTC)   6/3/20141:05:~ PM (2014·06·03 13:05:46 UTC)
Frozen (2013) BDRip+s ub.lnk                                                  7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)      5/23/20143:29:11 PM {2014-05·2315:29:11 UTC)
Frozen (2013) BDRip.avi.lnk                                                   7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)      5/23/2014 3:29:11 PM (2014-05·23 15:29:11 UTC)
banner .gif.lnk                                                               7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)      6/3/201410:41:51 AM {2014-06..{)310:41:51 UTC)
co1orschememapplng.xml.lnk                                                    7/13/2014 6:18:36 AM (2at4-07-li3 06:18:36 UTC)     6/3/20141:05:43 PM (2014·06-03 13:05:43 UTC}
EDU MP50 kNEWWWWWW.txt.lnk                                                    7/13/2014 6:18:36 AM (2014-07-13 06cl8:36 UTC)      6/30/2014 11:29:06 AM {2014-06-30 11:29:06 UTC)
300.RI.s e.Of.An.Emplre.2014.D.BDRip.720p.NNM·CLUB.mkv.lnk                    7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)      6/9/201412:43:00 PM (2014-06..{)912:43:00 UTC)
BRA21Ldp.lnk                                                                  7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)      6/24/2014 5;58:35 AM (2014-06·24 05:58:35 UTC)
                                               Case 2:11-cr-00070-RAJ Document 427-16 Filed 09/08/16 Page 39 of 41


Desktop,zlp.lnk                                                                  7/13/2014 6;18:36 AM (2014·07-13 06:18:36 UTC)     G/24/2014 1:59:15 PM (201+06-2413:59:15 UTC)
70kpay.rar.lnk                                                                   7/13/2014 6;18:36 AM (2014-C7-13 06:18:36 UTC)     6/26/2014 5:5S:55 PM (2014-06-2617:58:55 UTC)
Booking.com Confirmation.htm.lnk                                                 7/13/2014 6;18;36 AM (2014-07-13 06:18:36 UTC)     6/20/201412:29:40 PM (2014-06-20 12:29:40 UTC)
CTm:zip.lnk                                                                      7/13/2014 6:18:36 AM (2014{17-13 06:18:36 UTC)     6/20/2014 9:34:44 AM (2014-06-20 09:34:44 UTC)
74161 (2).pdf.lnk                                                                7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     6/20/201412:27:24 PM (2014-06-20 12:27:24 UTC)
dumpsster.rar.lnk                                                                7/13/2014 6:18:36 AM (2014-C7-13 06:18:36 UTC)     6/26/201412:34:34 PM (2014-06-26 12:34:34 UTC)
added.lnk                                                                        7/13/2014 6:18:36 AM (2014·07-13 06:18 :36 UTC)    6/8/2014 7:58:38 AM (2014-06-08 07:58:38 UTC)
doctor.zlp.lnk                                                                   7/13/20146:18:36 AM (2014-C7-13 06:18:36 UTC)      6/10/2014 11:29:11 AM (2014{16-10 11:29:11 UTC)
braziiBuDDA.Ink                                                                  7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/11/2014 1:30:30 PM (2014{16-1113:30:30 UTC)
dumpsster.txt.lnk                                                                7/13/20146:18:36 AM (2014-07-13 06:18:36 UTC)      6/24/2014 1.:39:31 PM (2014-C6-2U.3:39:31 UTC)
5k.csv.lnk                                                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     S/28/2014.1:35:54 PM {2014-05-28 13:35:54 UTC)
aliba.lnk                                                                        7/13/2014 6:18:36 AM (2014{17-13 06:18:36 UTC)     6/3/20141:43:09 PM (2014-06{1313:43:09 UTC)
Oday.lnk                                                                         7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     7/2/2014 11:58:40 AM (2014-07-02 1'1:58:40 UTC)
Da,Vincis.Demons.S02E05.rus.lostFIIm.TV.avi.lnk                                  7/13/2014 6:18:36 AM (2014{17-13 06:18:36 UTC)     S/17/2014 2:15:18 PM (2014{15-17 14:15:18 UTC)
Oa,Vincis.Oemons.S02E06.rus.LostFIIm .'TV.avi.lnk                                7/1.3 /2014 6:18:36 AM (2014-07-13 06:18:36 UTC)   5/17/2014 2:15:11 PM (2014-05-1714:15:11 UTC)
3 Days to 1011.2014.80Rip.AVC.mkv.lnk                                            7/13/2014 6:18;36 AM (2014-07-13 06:18:36 UTC)     6/15/201410:10:08 AM (2014{16-15 10:10:08 UTC)
EDUMP50ktxt.rar .Ink                                                             7/13/2014 6:18:36 AM (2014{17-13 06:18:36 UTC)     6/27/2014 5:01:02 PM (2014-06·2717:01:02 UTC)
e-dump26.txLink                                                                  7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/26/201411:43:43 AM (2014{16-2611:43:43 UTC)
brono.lnk                                                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     7/1/201411:38:20 AM (2014-07·0111:38:20 UTC)
glftJPG.Ink                                                                      7/13/2014 6:18:36 AM (2014-C7-13 06:18:36 UTC)     6/4/201411:02!08 AM (2014-06-0411:02:08 UTC)
ALL2014.1nk                                                                      7/13/2014 6:18:36 AM (2014{17-13 06:18:36 UTC)     5/15/2014 12:52:28 PM (2014{15-15 12:52:28 UTC)
FTCWALLET.Ink                                                                    7/H/2014 6:18:36 AM (2014{17-13 06:18:36 UTC}      5/15/201412:52:28 PM (2014-05-1512:52:28 UTC)
Homefront.2013,BDR1p.1080p.mkv.lnk                                               7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     5/25/2014 10:55:37 AM (2014-05-1.5 10:55:37 UTC)
U3.1nk                                                                           7/13/2014 6:18:36 AM (2014{17·13 06:18:36 UTC)     5/15/2014 11:59:11 AM (2014{15-15 11:59:11 UTC)
desktop.lnl                                                                      7/13/2014 6:1.8:36 AM (2014-07·13 06:18:36 UTC}    5/16/2014 4:35:22 AM (2014-05-16 04:35:22 UTC)
wlnscp.rnd                                                                       7/13/2014 6 :18:36 AM (2014-07-13 06:18:36 UTC)    7/5/2014 2:23:35 AM (2014-07-05 0 2;23:35 UTC)
aps.unlnstall.scan.results                                                       7/13/2014 6:18:36 AM (2014{17·13 06:18:36 UTC)     5/16/2014 6:13:31 AM (2014-05-16 06:13:31 UTC)
Desktop                                                                          7/B/2014 6:18:36 AM (2014{17-13 06:18:36 UTC)      6/20/2014 2:10:26 PM (2014{16-20 14:10:26 UTC)
$130                                                                             7/13/2014 6:18:36 AM (2014-07·13 06:18:36 UTC)     6/20/2014 2:10:26 PM (2014{16·20 14:10:26 UTC)
logo.png                                                                         7/13/2014 6:18:36 AM (2014{17·13 06:18:36 UTC)     5/31/2014 3:54:39 PM (2014{15-3115:54:39 UTC)
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msr206.Jpg                                                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/3/201410:37:32 AM (2014-06-0310:37:32 UTC)
Zone. Identifier                                                                 7/13/2014 6:18:36 AM (2014..07-13 06:18:36 UTe)    6/3/201410:37:32 AM (2014{16{13 10:37:32 UTC)
banner.glf                                                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/3/201410:41:51 AM (2014-06-03 10:41:51 UTC)
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Thumbs.db                                                                        7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     6/3/2014 5:21:17 PM (2014{16{13 17:21:17 UTC)
encryptable                                                                      7/13/2014 6:18:36 AM (2014{17-13 06:18:36 UTC)     6/3/2014 5:21.:17 PM (2014..06{1317:21:17 UTC)
5pyHunter.lnk                                                                    7/13/2014 6:18:36 AM (2014{17-13 06:18:36 UTC)     5/17/2014 3:29:05 PM (2014·05-17 15:29:05 UTC)
~~tTorrent.lnk                                                                   7/13/2()14 6:18:36 AM (2014{17-13 06:18:36 UTC)    5/16/201411:39:05 AM (2014{15-1611:39:05 UTC)
MlPony.lnk                                                                       7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     5/25/2014 9:53:03 AM {2014-C5-25 09:53:03 UTC)
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OivX Movies.lnk                                                                  7/13/2014 6:18:36 AM (2014-07-13 06:18;36 UTC)     5/25/2014 10:02:58 AM (2014-05·25 10:02:58 UTC)
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Tuukle Chat.lnk                                                                  7/13/2014 6:18:36 AM (2014·07-13 06:18:36 UTC)     5/15/201410:10:19 AM (2014{15-15 10:10:19 UTC)
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O±Ell!fl·O.Ell'D14.txt                                                           7/13/2014 6:18:36 AM (2014-07-13 06:18:36 UTC)     7/5/2014 2:23:32 AM (2014{17{15 02:23:32 UTC)
Favorites                                                                        7/13/201A 6:18:36 AM (2014{17·13 06:18:36 UTC)     5/16/2014 4:35:22 AM (2014{15·16 04:35:22 UTC)
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desktop.lnl                                                                 7/13/2014 6:18:36 AM {2014.07-13 06:18:36 tiTC)    5/16/2014 4:35:22 AM (2014-Cs-16 04:35:22 UTC)
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{f7cf148d-d988-4bc!HlObO·al71096ed4e3}                                      7/12/2a1411:33:14 PM {2014-07·12 23:33:14 UTC)     6/27/2014 11:02:06 AM (2014-06-27 11:02:06 UTC)
(9d74fb20-2aad-4e69-863b-752065ab3e04}                                      7/12/201411:33:14 PM (201W7·12 23:33:14 UTC)       6/29/2014 4:19:48 PM (2014-06-2916:19:48 UTC)
{0828c608·e090-4f2c·ac80.fbd9436ec0b0)                                      7/1.2 /201411:33:14 PM (2014-07·12 23:33:14 UTC)   6/29/2014 9:41:18 AM {2014-06-29 09:41:18 UTC)
(711a2547-e047-47Sl-b1e().6cbb7afa46fc}                                     7/12/201411:33:14 PM (2014-07·12 23:33:14 UTC)     6/26/2014 9:51:59 AM (2014-06-26 09:51:59 UTC)
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$130                                                                        7/11/201411:13:32 PM (2014.07-1123:13:32 UTC)      7/11/201411:08:31 PM (2014-07-11 23:08:31 UTC)
SVCHOST.EXE-255675EF.pf                                                     7/11/201411:13:02 PM (201W7-1123:13:02 UTC)        7/ll/201411:13:02 PM (2014-07·11 23:13:02 UTe)
tokens.dat                                                                  7/11/201411:13:02 PM (2014-07-1123:13:02 UTC)      7/11/2014 5:41:42 PM (2014-07·1117:41:42UTC)
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$130                                                                        7/11/201411:08:31 PM {2014-07-1123:08:31 UTC)      6/11/2014 2:46:02 AM (2014-06·11 02:46:02 UTC)
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$130                                                                        7/11/201411:08:01 PM (2014-07·1123:08:01 UTC)      8/22/2013 3:38:32 PM (2013.08-22 15:38:32 UTC)
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WSServlce.dll                                                               7/11/20141l:a8:00 PM (2014-07·1123:08:00 UTC)      3/18/201410:08:32 AM (2014-03-1810:08:32 UTC)
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ncrypt.dll                                                                  7/U/201411:08:00 PM (2014-07-11 23:08:00 UTC)      8/22/2013 12:41:43 PM (2013,.08-22 12:41:43 UTC)
wsservlce.dll                                                               7/11/201411:08:00 PM (2014-07·1123:08:00 UTC)      3/18/201410:08:32 AM (2014-03-18 10:08:32 UTC)
ntasn1.dll                                                                  7/11/201411:08:00 PM (2014-07-1123:08:00 UTC)      8/22/201312:41:44 PM (2013·08-2212:41:44 UTC)
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wevtapl .dll                                                                7/11/2014 11:08:00 PM {2014-07-11 23:08:00 UTC)    8/22/201312:42:49 PM (2013,.08-2.2 12:42:49 UTC)
wer.dll                                                                     7/11/201411:08:00 PM {201.4-07-1123~08:00 UTC)     3/18/201410:08:42 AM (2014-03·18 10:08:42 UTC)
wevtapl.dll                                                                 7/11/201411:08:00 PM (2014-07·1123:08:00 UTC)      8/22/2013 12:42:49 PM (2013-08·22 12:42:49 UTC)
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userenv.dll                                                                 7/11/201411:08:00 PM (2014-07·1123:08:00 UTC)      S/lS/2014 8:56:35 PM (2014-05·15 20:56:35 UTC)
AppXOeploymentServer.dll                                                    7/11/2014 11:08:00 PM (2014-07-1123:08:00 UTC)     5/15/2014 8:56;35 PM (2014,.05·15 20:56:35 UTC)
trlh.dll                                                                    7/11/201411:08:00 PM (2014-07·1123:08:00 UTC)      3/18/2014 10:08:26 AM (2014·03·18 10:08:26 UTC)
SHCore.dll                                                                  7/11/201411:08:00 PM (2014-07-11 23:08:00 UTC)     3/18/201410:08:39 AM (2014-03-1810:08:39 UTC)
AppXDeployment5erver.dll                                                    7/11/201411:08:00 PM (2014-07·1123:08:00 UTe)      5/15/2014 8:56 35 PM (2014-C5·15 20:56:35 UTC)
                                   Case 2:11-cr-00070-RAJ Document 427-16 Filed 09/08/16 Page 41 of 41


userenv .dll                                                        7/ll/201411:08:00 PM (2014-<l7-ll23:08:00 UTC)       5/15/2014 8:56:35 PM (2014-<JS·lS 20:56:35 UTC)
tdh.dll                                                             7/11/2014 11:08:00 PM (2014-<J7-U 23:08:00 UTC)      3/18/2014 10:08;26 AM (2014-<J3-18 10:08:26 UTC)
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aabf4faa69f07ebde9e8599a28c5fc35                                    7 /ll/2014 11:08:00 PM {2014-<J7-ll 23:08:00 UTC)    6/11/2014 2:46:56 AM (2014.06-11 02:46:S6lfTC)
$130                                                                7/U/'201411:08:00 PM (2014..07-U 23:08:00 UTC)       6/11/2014 2:46:56 AM (2014..06-U 02,46:56 UTC)
msctf.dll                                                           7/11/201-411:07:00 PM (2014-<J7-U 23:07:00 UTC)      3/18/201410:08:42 AM (2014-03-18 10:08:42 UTC)
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lrnm32.dll                                                          7/11/201411:07:00 PM (2014-07-11 23:07:00 UTC)       3/18/2014 10:08:42 AM (2014,03-18 10:08:42 UTC)
imrnS2.dll                                                          7/11/201411:07:00 PM {2014-<J7-1123:07:00 UTC)       3/18/2014 10:08:42 AM {2014..03-18 10:08:42 UTC)
slpts.dll                                                           7/11/2014 6:05:45 PM {2014-<J7-l118:05:45 UTC)       3/18/201410;08:22 AM {2014-<03-1810:08:22 UTC)
slpts.dll                                                           7 /ll/201.4 6:05:45 PM (2014-<J7-1.118:05:4S Ul'C)   3/18/2014 10:08:22 AM (2014-<J3-1810:08:22 UTC)
radardt.dll                                                         7/11/2014 6:05:45 PM (2014-07-1118:05:45 UTC)        8/22/2013 11:33:16 AM {2013-08-2211:33:16 UTC)
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srumapi.dll                                                         7/11/2014 6:05:45 PM (2014-{)7-1118:05:45 UTC)       8/22/2013 10:01:34 AM (2.013.08-22 10:01:34 UTC)
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appsruprov.dll                                                      7/ll/20l-4 6;05:45 PM (2.014-<J7-1.118:05:45 UTC)    8/22/2.013 10:00:51 AM (2013-<J8-22 10:00:51 UTC)
appsruprov.dll                                                      7/11/2014 6:05:45 PM (2014-<J7-1118:05:45 UTC)       8/22/2013 10:00:51 AM (2013..08-2.210:00:51 UTC)
nduprov.dll                                                         7/11/2014 6:05:45 PM (2014-<J7-1118:0S:4S UTC)       8/22/2013 9:53:t<O AM (2013-08-22 09:53:40 UTC)
nduprov.dll                                                         7/11/2014 6:05:45 PM (2014,{17-1118:05:45 UTC)       8/22/2013 9:53:t10 AM {2013-08-22 09:53:40 UTC)
wdlasqmmodule.dll                                                   7/11/2014 6:05:45 PM (2014-{)7-1118:05:45 UTC)       8/22/20131.1:25:38 AM (2013~8-22 11:25:38 UTC)
wdiasqmmodule.dll                                                   7/11/2014 6:05:45 PM (2014-<J?-U 18:05:45 UTC)       8/22/201311:25:38 AM (2013-{)8.-22 11:25:38 UTC)
srumsvc.dll                                                         7/11/2014 6:05:45 PM (2.014-<J?-1118:05:45 UTC)      8/22/2013 9:49:34 AM (2013..08-2.2 09:49:34 UTC)
srumsvc.dll                                                         7/U/2014 6:05;45 PM (2014-<J7-U 18:05:45 UTC)        8/22/2013 9:49:34 AM (2013-08-22. 09:49:34 UTC)
dps.dll                                                             7/11/2014 6:05:45 PM {2014-07-1118:05:45 UTC)        8/22/2013 9:53;33 AM (2013-08-22 09:53:33 UTC)
dps.dll                                                             7/11/2014 6:05:45 PM (2014-<J7-U 18:05:45 UTC)       8/22/201.9 9:53:33 AM (2013-08-22 09:53:33 UTC)
MrmCoreR.dll                                                        7/11/2014 6:05:45 PM (2014-<J7-1118:05:45 UTC)       5/15/2014 8:54,09 PM (20.;1.4-05-15 20:54;09 UTC)
MrmCoreR.dll                                                        7/11/2014 6:05:45 PM {2014..07-1118:05:45 UTC)       5/15/2014 8:54:09 PM (2014-05-15 20:54:09 UTC)
MrmCoreR.dll                                                        7/11/2014 6:05:45 PM (2014-{)7.1118:05:45 UTC)       5/15/2014 8:54:09 PM (2014-05-15 20:54:09 UTC)
MrmCoreR.dll                                                        7/11/2014 6:05:45 PM {2014-07-U 18:05:45 UTC)        5/15/2014.8:54:09 PM (2014-05-15 20:54:09 UTC)
MrmCoreR.dll                                                        7/11/2014 6:05:45 PM (201.4·07-1118:05:45 UTC)       5/15/2014 8:54:09 PM (2014-05-15 20:54:09 UTC)
MrmCoreR.dll                                                        7/11/2014 6:05:45 PM (2014-{)7-1118:05:45 UTC)       5/15/2014 8:54:09 PM (2014-05-15 20:54:09 UTC)
wfapigp.dll                                                         7/11/2014 6:05:44 PM {2014..07-1118:05:44 UTC)       8/22/2013 9:58:12 AM {2013-08-22 09:58:12 UTC)
wfapigp.dll                                                         7/11/2014 6:05:44 PM (2014-07-111.8:05:44 UTC)       8/22/2013 9:58:12 AM {2013-{)8-22 09;58:12 UTC)
adhapi.dll                                                          7/11/2014 6:05:44 PM (2014-07-1118:05:44 UTC)        8/22/2013 10:02:39 AM (2013.08-22 10:02:39 UTC)
adhapi.dll                                                          7/11/2014 6:05:44 PM {2014-{)7-1118:05:44 UTC)       8/22/201'3 10:02:39 AM (2013-<J8-22 10:02:39 UTC)
MPSSVC.dll                                                          7/11/20146:05:44 PM (2014-07-1118:05:44 UTC)         8/22/2013 9:23:55 AM (2013-08-22 09:23:55 UTC)
MPSSVC.dll                                                          7/11/2014 6:05:44 PM (2014-07-1118:05:44 UTC)        8/22/2013 9:23:55 AM (2013•08-22 09:23:55 UTC)
BFE.OLL                                                             7/11/2014 6:05:44 PM (2014..07-1118:05:44 UTC)       5/15/2014 8:56:35 PM {2014-05-15 20:56:35 UTC)
BFE.OLL                                                             7/11/2014 6:05:44 PM (2014-<J7-1118:05:44 UTC)       5/15/2014 8:56:35 PM (2014-05·15 20:56:35 UTC)
wwanprotdim.dll                                                     7/11/2014 6:05:44 PM (2014..07-1118:05:44 UTC)       8/22/2013 11:25:44 AM (2013-<JB-22 11:25:44 UTC)
wwanprotdlm.dU                                                      7/11/2014 6:05:44 PM (2014-07-1118:05:44 UTC)        8/22/2013 11:25:44 AM (2013..08--2211:25:44 UTC)
wwansvc.dll                                                         7/11/2014 6:05:44 PM (2014-<J7·1118:05:44 UTC)       8/22/2013 9:25:07 AM (2013·08-22 09:25:07 UTC)
wwansvc.!lll                                                        7/U/2014 6:05:44 PM (2014..07-1118:05;44 U'fC)       8/22/2013 9:25:07 AM (2013·08-22 09:25:07 UTC)
SVCHOST.EX£-809F46M.pf                                              7/11/2014 5:44:43 PM (2014-<J7-U 17:44:43 UTC)       7/11/2014 5:44:{.3 PM (2014-07-1117:44;43 UTC)
